Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page1of 121

EXHIBIT 1

DIP Credit Agreement

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Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 2of121

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DEBTOR-IN-POSSESSION CREDIT AGREEMENT
Dated as of August [__], 2016
among
LOGAN’S ROADHOUSE, INC.,
as Debtor and Debtor-In-Possession,
The Other Loan Parties Party Hereto,

CORTLAND CAPITAL MARKET SERVICES LLC,
as Administrative Agent and Collateral Agent,

and

The Other Lenders Party Hereto

22505703.11.BUSINESS
Section 1.01
Section 1.02
Section 1.03
Section 1.04
Section 1.05
Section 1.06

Section 2.01
Section 2.02
Section 2.03
Section 2.04
Section 2.05
Section 2.06
Section 2.07
Section 2.08
Section 2.09
Section 2.10
Section 2.11
Section 2.12

Section 3.01
Section 3.02
Section 3.03
Section 3.04
Section 3.05
Section 3.06
Section 3.07

Section 4.01
Section 4.02
Section 4.03

22505703.11. BUSINESS

Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 3of121

TABLE OF CONTENTS

- ARTICLEL
DEFINITIONS AND ACCOUNTING TERMS

Defined Terms .0....ccc:cccccccccssssessescesneceeceseenseesssscsusssseecentennascaeeasenseniceraaeenssasensesaerass
Other Interpretive Provisions
Accounting Terms
Rounding
Times Of Day....c.eceseesesssesessessscsssesressrensseseacensnenseneneerenesssusesssnecarnenenssnenaasaneceneaeens 32
Currency Equivalents Generally

errr rr rr er ett terrier er Titi ee

ea AA a RRR S TORE E TEER ORR TTT ERA H TEES SE SBE R SF EUM ERASE ERTS EET ASE OER ETHERS OSES ETE TEES ATT EES

Sea ene ences reese een t eee Nese enna era ere rer esses eennseseea renee renee esas

ARTICLE II.
THE COMMITMENTS AND CREDIT EXTENSIONS

The Facilities...c..ccccccccsccscssscscsscessssceseeceterereeceesesssneesessensssreenessceaussunsnsesensassenseaneaneays
Borrowings, Conversions and Continuations of Loans
Disbursements from Segregated Pre-Funding ACCOUM...........::::sccsssssteeteeetereees
Prepayments
Repayment of Loans
INteTeSt.......ccccccccccoccvesssessessceseecessceesneeteeterseceseaesserenseseaecseuensessranessssusscsnaeasanearerssaas

eee een eet RRS Ree ETE RHEE SAE

Computation of Interest and Fees
Evidence of Debt
Payments Generally; Administrative Agent’s Clawback
Sharing of Payments by Lenders
Defaulting Lenders

eke Rr eet ema ee re A ERRNO FORME REE RES EES SSS MM ERT T EE ORTH HERS BEER E ESE E ES

eee n emma a eerste Pees SE UE ee ene tere rena she bssunenteraereernsesebeannseracnaenusssensaneransassanas

ARTICLE III.
TAXES, YIELD PROTECTION AND ILLEGALITY

penne semen nahh Renee R RON OSC OO RAPED THEE AHS SHORE TERS ET TEP a TT RA esE REE BETTE ESET Emon nar e sae rUNTee Eases ss hasseessssyasens

Ilegality
Inability to Determine Rates
Increased Costs; Reserves on Eurodollar Rate Loans
Compensation for Losses
Mitigation Obligations; Replacement of Lenders
Survival

ARTICLE IV.
CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

Conditions of Initial Credit Extension .............c:ccssccccesseeeeeneeeeesoteeesnaeenennererneesss
Conditions to Delayed Draw Borrowing
Conditions to all Credit Extensions

eee emer ee eee ASE eR T eRe ee ee OMEN TEER T ERO EEA EEE

eee ae nae eee eae ERA E ERE S RETRO SPARE THESES ERE SEEN ESET EON w RTOs e TEES

it
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 4of121

ARTICLE V.
REPRESENTATIONS AND WARRANTIES

Section 5.01 Existence, Qualification and Power .....c.....ccccccccccsssccssssscrescescssseasesecsessesgeceescesseseece 55
Section 5.02 Authorization; No Contravention ..........c.cccccccsesscsessscescesecescescesceeteseseeceeuseceeseeeesces 56
Section 5.03 Governmental Authorization; Other Consents, ...........cccccccsccccscesssceseessecsesssssscsesscee 56
Section 5.04 Binding Effect... eesessccsesesescsesesessseseecseseceseesssscacacsestscevscacstsvacsessiseessssneessraes 56
Section 5.05 Financial Statement ...............ccccccsssssesescscssecseceecececescaceecacssssesaessaceatscesvsceneresteansers 56
Section 5.06 Litigation... eecesssseesssssscssesceenevsscscseseseessssessstussvassesegsesassuseesessessitececeesusseseseseasacs 57
Section 5.07 No Material Adverse Effect ......ccccccccsscssssccsscssssssssssesecescseesescasacaceesavstaseseetatevecens 57
Section 5.08 Ownership of Property; Liens; Investments .0......0..0.c.ccescscssssessssesesesscneseonesesecseees 57
Section 5.09 Environmental Compliance .00........c.ccccescsssssssseessessssesecssssessssversecssessesacsesversecararee 57
Section 5.20  [msurance oo... ecccccssssscsseessssececeessessnacsevscscsecacavenenevavecseetesesasassasavecsreausassssatstssseceees 58
Section 5.11 Taxes... cecscssccsscsssssesessescscscsssssscsssosssssacsvacscsssavavevacecsussvacavessusasatscaceasssecsstsavscesees 58
Section 5.12 ERISA Compliance.........cccsessssssesssesssssscssssscscesscsssscevscsesceasevarevacsesseacausssatacaveceases 59
Section 5.13 Subsidiaries; Equity Interests; Loan Parties .......0..ccccccscscscccssscsescsesesecesssverseseecen, 59
Section 5.14 Margin Regulations; Investment Company ACct .........c.csccscsscssssecsesesesesvsesesrsesvees 60
Section 5.15 Disclosure ........cc.ccccsccesccesssseesscscsesssacsescscscsssevscstsescrsensassencessasasasassessacseasscessascenecee 60
Section 5.16 Compliance with Laws ........cccccccsscsccsesssssscsssctscecssssssestscscssececseseaesecsceesesesecneseees 60
Section 5.17 Intellectual Property; Licenses, Etc. ..csccccscssscsssesssessscsssssesesesnsrssseseseseessestevsecassaes 60
Section 5.18 Labor Matters .........cssssssccssssssecssssssessscsescssssssssnesssevsrsssstecscavessavasnsvsusecseacersasecsenes 61
Section 5.19 Foreign Assets Control Regulations; Anti-Money Laundering; Anti-Corruption

Practices; Anti-Terrorism Laws..........ccccccccseccccsssscssscscssesscesecscceussssscssansessatsstessesscccesseceveace 61
Section 5.20 No Defaullts.. ......ccccecesscssssscscscsscssscssssscsocssavscavevscsesavasasensusasassescessacsececasatstcavevenes 62

ARTICLE VI.
REPORTING COVENANTS
Section 6.01 Financial Statements ..........00.cccccesccsscseccsscceeceseecsecsceseacsceacsevscasseeacaceessscacsersvarsass 62
Section 6.02 Other Events..........ccscccesccscsessssecvscssssessscsssesevseseavscsecsvscstsceseasassessnscscacsaracsvetacseesses 65
Section 6.03 Copies of Notices and Reports.....c.ccccccccsssscscesssesesccsessececsrsveresveacresestsasarsesasseensars 65
Section 6.04 Taxes ....ccccceccscssssssssrsssserssessssssescsssecsssssvscscsccessestivsenesecavarecsesaacavassevssacsusasapsescaneaves 66
Section 6.05 Labor Matters ........ccccsccsscssssssesessscssscessssscssscsesesscsvasssvevasavacsesssusasscacsenasasscessessscesees 66
Section 6.06 Lender Calls .......cccccccccscesccssscsescsssscessvsessssneacsceuseencevstausesscaeauausapasseatsustecesesseceevevenes 66
ARTICLE VII.
AFFIRMATIVE COVENANTS

Section 7.01 Certificates; Other Information ............cccccecscseccscesesssesssecsssssessssssssenessessuceneessecsees 66
Section 7.02 Notices 0... cecssccsscssessecessssessscesesceccscacsssseseveeacsaenevsvacaecagaseesacsagecerseessesesessvaceecaveneaes 68
Section 7.03 Payment of Taxes.........c.cccssssesssssecssssccssessssssssssessesssssscesssessesasesessverereseeavscvarssesacs 69
Section 7.04 Preservation of Existence, Etc. ....ccccccccesssscccscescscssescscssessesesersarscsseserseseeatscrevasevsusa 69
Section 7.05 Maintenance of Properties .0........cccccsccessscscseceessesscesscseseececveassessrsestessestarstseseecsessens 69
Section 7.06 Maintenance of Insuramce .........c.c.cccccccssecccsescscececsecesscsvevsesssssavsssessscatsusavstscessasee 69
Section 7.07 Compliance with Laws .........ccccccsscssssssessesesscsvessteesscrsescsevesserseaveceavacseaevaneasaresearees 70
Section 7.08 Books and Records .........ccccccscsesssscssscscesssesoescscsscsenscscsesecacaesscassecacessaesasasssvacaeeseecs 70
Section 7.09 Inspection Rights 00... cccsscsssssssessccssceecsssssevsesecsscsesvessuecsersesssessstersvstecsesesvarseavars 70

22505703.1] BUSINESS iit
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page5 of 121

Section 7.10 Use of Proceeds... .cesscesssessssssssesessssescssscscscscessesssssessesassuessvsssessacavavsseeustarsens 71
Section 7.11 Information Regarding Collateral ......0....ccccccssssssscsssssssscscsesscscsvecsssssasscsvsssersecseesees 71
Section 7.12 Covenant to Guarantee Obligations and Give Security 0... ccccccssesssesteseersteeeeeees 72
Section 7.13 Compliance with Environmental Laws...........0.00cccccccessssssessssseseessssseststscscscseseeseaces 73
Section 7.14 Further Assurances.........c.cccsccsssssssesssssesescscesserscsssesecsersssassesscsesssevscarseneravatscasuneenaeas 74
Section 7.15 Post-Closing Covenant............ccccscccsssseseesssssssesescscsscscsusssssscsesesssspsssssesevsessecsensnseaees 74
Section 7.16 Compliance with Milestones........cccccccscsscsscssssavcscsesesserserecsscesseseascesessseassacessseces 74
Section 7.17 Opposition to Certain Motions ..........cccccccsssesessscsessseseecssscssscssssssscssseceseavenscavsereass 75
Section 7.18 Priority and Liens... cesessssssscsscsssescssescscsssnsscsssssccsscecessesesevevecaceessvavaeetsenssases 76
ARTICLE VIII.
NEGATIVE COVENANTS
Section 8.02 Liens... eesessssscsesssssesssseescenssessesscecessssscssucesesssvscscavecscavasaesvassuavacaeararseasseaaseses 77
Section 8.02 Investments oe secessecssssesessssssssssesesccccesescecsesececsssevsessscsesssacsescsesecsvavsenanenasaees 78
Section 8.03 Indebtedness... eeeesssssesssssssesenesrseseersesevsssvscscsvscsssvesscssseseavsessavsuleapacavaveceaesaes 78
Section 8.04 Fundamental Changes .....c...ccccsssssscsssescsesesssesescssscssscsssessseacscseesseacacreavasesssarsestseees 78
Section 8.05 Dispositions... ceceesssesesssssescssessesccesessessssesssssvsoseevenscavacsusnasseanscsuetsesearsessacssaeaes 79
Section 8.06 Restricted Payment.........c.ccccccssesssssssssssseccceseverscesvacvevaceevavsecavecsevatensavscsarsesateccesars 80
Section 8.07 Change in Nature of Business...........ceccscssssscsssssesessscssscsescsssesesvssassesestavsesesereesers 80
Section 8.08 Transactions with Affiliates ..........cccccessccssessssessessssessestsvarsorsersestsssertenseseseseecseaes 80
Section 8.09 Burdensome Agreements ..........ccccccccessssecsscssesessesecseesersesesssesssaressavasessasesssesssseceaes 81
Section 8.10 Use of Proceeds... ceccccesssssssssssesseeseseerseacscsessensssssssssssssssasseseassessassesuavseseecevseeses 82
Section 8.11 Capital Expenditures... ccc ccccccecsesceseseessesssrecessevavsvscsessussssscassaazsesecenenasaeaees 83
Section 8.12 Amendments of Organization Document..........:.cccccsssesesessecsesssssestecacevecncneseseatacs 83
Section 8.13 Accounting Changes ..0........ccccccsscsssssssscssssssesssssecscsescssesessacececssereesscsteseccseseassasasaeas 83
Section 8.14 Prepayments, Etc. of Indebtedness ........cccssesssescsssecsccseerscesssscesecscessssceseesseeseasees 83
Section 8.15 Holding Company .......ccccccsssssssssssscssesscecseseevevsecsestsnsvsusacueevecausnsacatacavenseceesearaes 83
Section 8.16 Bankruptcy Provisions ............cccccccecccceesssscsesssssesscevscsesscsvacsesenseevseacsenecacerscaevavacacas 84
Section 8.17 Compliance with Budget Coverant...........c:cccccccesesssessesescssecscessrecrcrearecseseeasasacers 84
Section 8.18 Foreign Subsidiaries... ecccsccccsecssssesssesesssessosssscssssecesecsversesusssestsvsvststacseacseseseaes 84
Section 8.19 Real Property. ......c.cccsccssscssscssssssssssesssssscscsssesevsrsencrsscsecsescsesasavasstessususavasstessaceceesees 85
ARTICLE IX.
EVENTS OF DEFAULT AND REMEDIES
Section 9.01 Events of Default -.........cccccssssssesssssssssessssesssceesesssrsacacsesvensesesavarstsesesasseaestsesncavarass 85
Section 9.02 Remedies upon Event of Default ......0....ccscccscsssssescessscseersessesesvsesseccesrsecescnsessaess 88
Section 9.03 Application of Funds........c..ccccsccccsssscsssesecseescacercassccerscessseesessssescacesesecassesusasenensens 89
ARTICLE X.
ADMINISTRATIVE AGENT
Section 10.01 Appointment and Authority .........c.ccccssssesssscsssssssesessssssscssersesesesarseseensesesestseseceeees 90
Section 10.02 Rights as a Lender.........ceccsscsscsescsessessecscssesscsscsevscveceessecsessecsesevaceasessersssseesessssceses 91
Section 10.03 Exculpatory Provisions ...........cccccecccccessccsessccccscscssssacseececvescersccecseeversesseeseraeesesesens 91
Section 10.04 Reliance by Administrative A gent........0.c.c.ccccssscsssccsesssrsesesesseecsesssscsesesestsestsssarees 92

22505703.11. BUSINESS Iv
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 6of121

Section 10.05 Delegation of Duties 00... cccesseeseeseenesesenseesenecesseaesacssestecsussaseusenessrserceeeserees 92
Section 10.06 Resignation of Administrative Agent ..0......0....ccccscssesssssctsessessesssssesserssstansucsavsevaes 92
Section 10.07 Non-Reliance on Administrative Agent and Other Lenders.............cccccccessseeseeses 93
Section 10.08 No Other Duties, Ete... cece ccscscssscesecseeseessnsssecsessceccsspssussapancengussssvssensegsseneesease 93
Section 10.09 Administrative Agent May File Proofs of Claim... ...ccccccccccccesseesscsessceessersesneees 93
Section 10.10 Collateral and Guaranty Matters 0.00... cscesccsessssscsesscsecsssecsessssecsessuseeseteeensssessusees 94
Section 10.11 Withholding Tax... scccsscscssssecsesesssecssensesssecssvsesscagesssapansacscsssasecsesnevaenecsaseactens 95
ARTICLE XI.
MISCELLANEOUS

Section 11.01 Amendments, Etc. ......ccccccccesccscessesesestsvenseseaceesacenaececueesseseaeecansenseseessseautesauesaseeaas 95
Section 11.02 Notices; Effectiveness; Electronic Communications .........ccccscccescesceeseecenseeseeees 97
Section 11.03 No Warver; Cumulative Remedies; Enforcement... cccesesseseseessecesecacrsees 99
Section 11.04 Expenses; Indemnity; Damage Waivet..........cccccccccsescesecescessssecseeseeseeseeesrsseseass 100
Section 11.05 Payments Set Aside... ccc cecssscseeeecsecssesteessensersectsneseeseuseecarcasraesseeesecseeansesaseas 102
Section 11.06 Successors and ASSigms..........cccescecssseeecescsesscesesseereseesssseessectsesetecsereeuecnecsssssenestes 102
Section 11.07 Treatment of Certain Information; Confidentiality... ccc ceeseeseeseeeteeeess 105
Section 11.08 Right of Setoff.... ccc cccssesesscsesssssssecssssssssessssssesscsescescesccausaeseesssaesqeesesecsnscteeeneeas 106
Section 11.09 Interest Rate Limitation .....0...cccecscssssscscessesseensesecteccascssctessseteeeaceververeeersasesens 106
Section 11.10 Counterparts; Integration; Effectiveness..............ccccssssscsesssssesscseeseseresssseseeseeseees 107
Section 11.11 Survival of Representations and Warranties .........ccccccesssecsscsssesssssesssessstensereees 107
Section 11,12 Severability 0. cscs tscesssesscssesssssesseessesscsansaesssscesccssceecesaesastvatsausasscessessctseetsdvanses 107
Section 11.13 Replacement of Lenders .........ccccccecsssssesessstseecssescsscesccusraevaseesenceecseccareesssersasens 107
Section 11.14 Governing Law; Jurisdiction; Ete. 0... ccccssssssessssesecssesesessssseseseeressanseetsseessseeacs 108
Section 11.15 Watver of Fury Trial... eccssscseceseesesscsesessescseseesesaessssceesassesesseasesessseseeneesentes 109
Section 11.16 No Advisory or Fiduciary Responsibility 0.00.0... ccseecsesseccsecessssecessescesnetsesserees 109
Section 11.17 Electronic Execution of Assignments and Certain Other Documents............0.... 110
Section 11.18 USA PATRIOT Act... ce cccscsensesesesenennesssesercasssstsscssessetantertasssersssreitanssescecans 110
Section 12.19 Conflicts ccc eeeecsscsssseeseseecsacecectecseceeceasesssseeaessessessssesessesseneesesenesaeetsnesatcsssetece 110
Section 11.20 Acknowledgement and Consent to Bail-In of EEA Financial Institutions. ......... 110
SCHEDULES

2.94 Commitments

5.03 Certain Authorizations

5.13 Subsidiaries and Other Equity Investments; Loan Parties

3.17 Intellectual Property Matters

7,12 Guarantor Subsidiaries

8.01(b) Existing Liens

8.02(a) Existing Investments

8.03(b) Existing Indebtedness

11.02 Administrative Agent’s Office, Certain Addresses for Notices

22505703.1) BUSINESS v
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 7 of 121

EXHIBITS
Form of
A-l Committed Loan Notice
A-2 Notice of Request for Disbursement
B Term Note
Cc Compliance Certificate
D-1 Assignment and Assumption
D-2 Administrative Questionnaire
E Guaranty
F Security Agreement
G U.S. Tax Compliance Certificate
H Prepayment Notice
I Budget
J Interim Order

22505703. 11.BUSINESS vi
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 8 of 121

CREDIT AGREEMENT

This CREDIT AGREEMENT (“Agreement”) is entered into as of August [_], 2016,
among Logan’s Roadhouse, Inc., a Tennessee corporation (the “Borrower”) and a Debtor and
Debtor-In-Possession under the Bankruptcy Code (as defined below), each Guarantor (as defined
below), each lender from time to time party hereto (collectively, the “Lenders” and individually,
a “Lender”), and Cortland Capital Market Services LLC, as Administrative Agent.

PRELIMINARY STATEMENTS:

On August 8, 2016 (the “Petition Date”), the Borrower, and each Guarantor (as defined
below) (each a “Debtor” and collectively, the “Debtors”), filed voluntary petitions with the
Bankruptcy Court initiating their respective cases that are pending under chapter 11 of the Bank-
ruptcy Code (each a “Case” and collectively, the “Cases”);

From and after the Petition Date, the Debtors will continue to operate their respective
businesses and to manage their respective properties as debtors and debtors-in-possession pursu-
ant to Section 1107(a) and 1108 of the Bankruptcy Code;

In connection with the Cases, the Borrower has requested, and the Lenders have agreed to
make available to the Borrower, a senior secured priming and superpriority debtor-in-possession
term loan credit facility (Gunior only to the Pre-Petition First Lien Obligations) in an original
principal amount of $25,000,000, consisting of $10,000,000 in Initial Commitments and
$15,000,000 in Delayed Draw Commitments, the proceeds of which will be used in accordance
with the Budget (as defined below), including the Permitted Variances (as defined below) there-
to;

In consideration of the mutual covenants and agreements herein contained, the parties
hereto covenant and agree as follows:

ARTICLE I.
DEFINITIONS AND ACCOUNTING TERMS

Section 1.01 Defined Terms. As used in this Agreement, the following terms shall have
the meanings set forth below:

“Adequate Protection Claims” has the meaning specified in the DIP Orders.

“Adequate Protection Consenting Parties” means (a) the Pre-Petition First Lien Agent,
(b) the Pre-Petition First Lien Lenders, (c) the Pre-Petition Indenture Trustees and (d) each of
Carl Marks, Marblegate, GSO, Kelso & Company, L.P. or one or more affiliated funds or financ-
ing vehicles (or funds or accounts advised or sub-advised by such Person) of any of them that are
Pre-Petition Indenture Noteholders.

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Adequate Protection Liens” has the meaning specified in the DIP Orders.

22505703.11.BUSINESS
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page9of121

“Adequate Protection Parties” means the Pre-Petition First Lien Agent, the Pre-Petition
First Lien Lenders, the Pre-Petition Indenture Trustees and the Pre-Petition Indenture Notehold-
ers.

“Adequate Protection Payments” means, collectively, the following payments to the Ad-
equate Protection Parties:

(a) all accrued and unpaid fees and disbursements owed to the Adequate Protection
Consenting Parties under the Pre-Petition Debt Documents, including all reasonable and docu-
mented out-of-pocket fees and expenses of counsel and other professionals of the Adequate Pro-
tection Consenting Parties (including Simpson Thacher & Bartlett LLP, King & Spalding LLP,
Debevoise & Plimpton LLP, Dechert LLP and Delaware local counsel retained by each of the
Adequate Protection Consenting Parties (collectively, “Delaware Counsel”)) incurred prior to the
Petition Date in accordance with the Pre-Petition Debt Documents;

(b) when due, current payment of all fees and reasonable and documented out-of-
pocket expenses and indemnities payable to the Adequate Protection Consenting Parties under
the Pre-Petition Debt Documents, including all reasonable and documented out-of-pocket fees
and expenses of counsel and other professionals of the Adequate Protection Consenting Parties
(including Simpson Thacher & Bartlett LLP, King & Spalding LLP, Debevoise & Plimpton LLP,
Dechert LLP and Delaware Counsel);

(c) to the extent of the diminution of value of the interest of the Pre-Petition First
Lien Lenders and the Pre-Petition Indenture Noteholders in the prepetition Collateral, allowed,
super-priority administrative expense claim status in the Case of each Loan Party pursuant to
sections 503(b) and 507(b) of the Bankruptcy Code that (A) in the case of the Pre-Petition First
Lien Lenders’ super-priority claims, is senior to any other claims under section 507(b) of the
Bankruptcy Code, including any such claims held by the Lenders and (B) in the case of the Pre-
Petition Indenture Noteholders’ super-priority claims, is junior in priority only to the Facility su-
per-priority claims and the Pre-Petition First Lien Credit Agreement super-priority claims;

(d) to the extent of the diminution of value of the interests of the Pre-Petition First
Lien Lenders and the Pre-Petition Indenture Noteholders in prepetition Collateral, continuing,
valid, binding, enforceable, non-avoidable and automatically perfected post-petition security in-
terests in and liens on the Collateral pursuant to sections 361, 363(e) and 364(d) of the Bankrupt-
cy Code that are junior only to the Liens securing the Obligations and, in the case of the Pre-
Petition Indentures, Liens securing the obligations under the Pre-Petition First Lien Credit
Agreement; and

(e) upon entry of the Final Order, cash payments of interest at the prescribed default
contract rate pursuant to the terms of the Pre-Petition First Lien Credit Agreement to the Pre-
Petition First Lien Agent and the Pre-Petition First Lien Lenders.

“Additional Roll Up Loans” has the meaning specified in Section 2.01(a).

22505703.11. BUSINESS 2
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 10 of 121

“Administrative Agent” means Cortland Capital Market Services LLC in its capacity as
administrative agent under any of the Loan Documents, or any successor administrative agent
appointed in accordance with the terms hereof.

“Administrative Agent’s Office” means the Administrative Agent’s address and the ac-
count as set forth on Schedule 11.02, or such other address or account as the Administrative
Agent may from time to time notify to the Borrower and the Lenders.

“Administrative Questionnaire” means an Administrative Questionnaire in substantially
the form of Exhibit D-2 or any other form approved by the Administrative Agent.

“Affiliate” means, with respect to any Person, another Person that directly, or indirectly
through one or more intermediaries, Controls or is Controlled by or is under common Control
with the Person specified. Notwithstanding anything herein to the contrary, neither the Adminis-
trative Agent nor any Lender (if not otherwise already an Affiliate of a Loan Party) shall be
deemed an Affiliate of any Loan Party solely by virtue of the transactions contemplated by this
Loan Agreement and the other Loan Documents.

“Agent Fee Letter” means that certain Credit Facility Agent Fee Letter, dated July 29,
2016, between Cortland Capital Market Services LLC and the Borrower, regarding fees payable
in connection with the Facility.

“A oorepate Commitments” means the Commitments of all the Lenders.

“Agreement” means this Credit Agreement.

“Anti-Corruption Laws” has the meaning specified in Section 5.19(c).

“Anti-Money Laundering Law” means any and all laws, judgments, orders, executive or-
ders, decrees, ordinances, rules, regulations, statutes, case law or treaties applicable to a Loan
Party, its Subsidiaries or Affiliates, related to terrorism financing or money laundering including
any applicable provision of Title III of the Uniting and Strengthening America by Providing Ap-
propriate Tools Required to Intercept and Obstruct Terrorism Act (USA PATRIOT Act) of 2001
(Title II] of Pub. L. 107-56) and The Currency and Foreign Transactions Reporting Act (also
known as the “Bank Secrecy Act”, 31 U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b)
and 1951-1959).

“Applicable Rate” means 7.5% per annum for Base Rate Loans and 8.5% per annum for
Eurodoliar Rate Loans.

“Approved Fund” means any Fund that is administered, managed, advised or sub-advised
by (a) a GSO Entity, (b) a Carl Marks Entity, (c) a Marblegate Entity, (d) a Lender, (e) an Affili-
ate of a Lender or (f) an entity or an Affiliate of an entity that administers, manages or sub-
advises a Lender.

“Assignee Group” means two or more Eligible Assignees that are Affiliates of one anoth-
er or two or more Approved Funds managed by the same investment advisor.

22505703.11.BUSINESS 3
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 11 of 121

“Assignment and Assumption” means an assignment and assumption entered into by a
Lender and an Eligible Assignee (with the consent of any party whose consent is required by
Section 11.06(b)), and accepted by the Administrative Agent, in substantially the form of Exhibit
D-1 or any other form approved by the Administrative Agent.

“Attributable Indebtedness” means, on any date, in respect of any Capitalized Lease of
any Person, the capitalized amount thereof that would appear on a balance sheet of such Person
prepared as of such date in accordance with GAAP.

“Audited Financial Statements” means the audited consolidated balance sheet of Hold-
ings and its Subsidiaries for fiscal year 2015, and the related consolidated statements of income
or operations, shareholders’ equity and cash flows for such fiscal year of Holdings and its Sub-
sidiaries, including the notes thereto.

“Avoidance Actions” means the Debtors’ claims and causes of action under sections
502(d), 544, 545, 547, 548, 549 and 550 of the Bankruptcy Code and any other avoidance ac-
tions under the Bankruptcy Code and the proceeds thereof and property received thereby whether
by judgment, settlement or otherwise.

“Backstop Lenders” means Carl Marks, Marblegate, GSO, Kelso & Company, L.P. or
one or more affiliated funds or financing vehicles (or funds or accounts advised or sub-advised
by such Person) of any of them that provide the Initial Loans or the Delayed Draw Loans in the
event that the Pre-Petition First Lien Lenders are not signatories hereto and do not provide any
Initial Loans or Delayed Draw Loans hereunder.

“Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

“Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the Euro-
pean Union, the implementing law for such EEA Member Country from time to time which is
described in the EU Bail-In Legislation Schedule.

“Bankruptcy Code” means the Federal Bankruptcy Reform Act of 1978 (11 U.S.C. 8101,
et seq.).

“Bankruptcy Court” means the United States Bankruptcy Court for the District of Dela-
ware or any other court having jurisdiction over the Cases from time to time.

“Base Rate” means for any day a fluctuating rate per annum equal to the highest of
(a) the Federal Funds Rate plus 1/2 of 1%, (b) the rate of interest quoted in the Wall Street Jour-
nal, Money Rates Section, as the “Prime Rate” in effect from time to time (or if such rate is at
any time not available, the prime rate so quoted by any banking institution selected by the Ad-
ministrative Agent, which rate is not intended to be the lowest rate charged by any such banking
institutions) and (c) the one-month Eurodollar Rate plus 1.00%; provided that in no event will
the Base Rate be lower than 2.00% at any time.

22505703.11. BUSINESS 4
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 12 of 121

“Base Rate Loan” means a Loan that bears interest based on the Base Rate.
“Borrower” has the meaning specified in the introductory paragraph hereto.
“Borrower Materials” has the meaning specified in Section 7.01 {e).

“Borrowing” means a borrowing consisting of Loans made on the same day by the Lend-
ers according to their respective Commitments as set forth by the Borrower on the Committed
Loan Notice therefor.

“Budget” means a statement of the Debtors’ projected receipts and disbursements on a
weekly basis for the period of thirteen weeks commencing with the calendar week during which
the Petition Date occurs, including the anticipated uses of the Loans for each week during such
period, substantially in the form of Exhibit I hereto, and otherwise in form and substance reason-
ably satisfactory to the Required Lenders and the Pre-Petition First Lien Lenders. As used here-
in, “Budget” shall initially refer to Exhibit I (which, for the avoidance of doubt, shall be in form
and substance satisfactory to the Unanimous DIP Lenders and the Pre-Petition First Lien Lend-
ers) and, thereafter, the most recent Budget delivered by the Borrower and approved by the Re-
quired Lenders in accordance with Section 6.01(d).

“Business Day” means any day other than a Saturday, Sunday or other day on which
commercial: banks are authorized to close under the Laws of, or are in fact closed in New York,
New York, and, if such day relates to any Eurodollar Rate Loan, means any such day on which
dealings in Dollar deposits are conducted by and between banks in the London interbank euro-
dolar market.

“Capital Expenditures” means, with respect to any Person for any period, any expenditure
in respect of the purchase or other acquisition of any fixed or capital asset (excluding assets ac-
quired in normal replacements and maintenance which are properly charged to current opera-
tions) that, in conformity with GAAP are required to be included as additions during such period
to property, plant or equipment reflected in the consolidated balance sheet of Holdings and its
Subsidiaries.

“Capitalized Leases” means all leases that have been or should be, in accordance with
GAAP, recorded as capitalized leases; provided that for all purposes hereunder the amount of
obligations under any Capitalized Lease shall be the amount thereof accounted for as a liability
in accordance with GAAP.

“Carl Marks” means Carl Marks Management Company, LLC and its Affiliates and Ap-
proved Funds.

“Carl Marks Entity” means Carl Marks or certain funds and accounts managed or sub-
advised by Carl Marks as the context may require.

“Carve-Out” has the meaning specified in the DIP Orders.

“Case” and “Cases” have the meanings specified in the recitals hereto.

22505703, 11, BUSINESS 5
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 13 of 121

“Cash Collateral Account” means a deposit account subject to a Control Agreement rea-
sonably satisfactory to Administrative Agent and the Pre-Petition First Lien Agent.

“Cash Equivalents” means:

(a) U.S. dollars or, in the case of a Foreign Subsidiary, any other foreign currency
held by such Foreign Subsidiary in the ordinary course of business;

(b) securities issued or directly and fully and unconditionally guaranteed or insured
by the U.S. government or any agency or instrumentality thereof the securities of which are un-
conditionally guaranteed as a full faith and credit obligation of such government with maturities
of 24 months or less from the date of acquisition;

(c} certificates of deposit, time deposits and eurodollar time deposits with maturities
of one year or less from the date of acquisition, bankers’ acceptances with maturities not exceed-
ing one year and overnight bank deposits, in each case with any commercial bank having capital
and surplus of not less than $500.0 million in the case of U.S. banks and, in the case of any For-
eign Subsidiary, $100.0 million (or the U.S. dollar equivalent as of the date of determination) in
the case of non-U.S. banks, and in each case in a currency permitted under clause (a) above;

(d) repurchase obligations for underlying securities of the types described in clauses
(b), (c) and (h) entered into with any financial institution meeting the qualifications specified in
clause (c) above, and in each case in a currency permitted under clause (a) above;

(e} commercial paper rated at least P-2 by Moody’s or at least A-2 by S&P and in
each case maturing within 3 months after the date of creation thereof, and in each case in a cur-
rency permitted under clause (a) above;

(f) marketable short-term money market and similar securities having a rating of at
least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at any time neither Moody’s
nor S&P shall be rating such obligations, an equivalent rating from another Rating Agency) and
in each case maturing within 3 months after the date of creation thereof and in a currency permit-
ted under clause (a) above;

(g) investment funds investing 95% of their assets in securities of the types described
in clauses (a) through (f) above;

(h) readily marketable direct obligations issued by any state, commonwealth or terri-
tory of the United States or any political subdivision or taxing authority thereof having a rating
equal to or higher than Baa3 (or the equivalent) by Moody’s and BBB- (or the equivalent) by
S&P, or, in cither case, an equivalent rating by any other Rating Agency with maturities of 3
months or less from the Closing Date;

(1) Indebtedness or preferred stock issued by Persons with a rating of “A” or higher

from S&P or “A2” or higher from Moody’s with maturities of 3 months or less from the date of
acquisition and in each case in a currency permitted under clause (a) above;

22505703.11. BUSINESS 6
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 14 of 121

(j) Investments with average maturities of 3 months or less from the date of acquisi-
tion in money market funds rated AAA- (or the equivalent thereof) or better by S&P or Aaa3 (or
the equivalent thereof) or better by Moody’s and in each case in a currency permitted under
clause (a) above; and

(k) credit card receivables and debit card receivables so long as such are considered
cash equivalents under GAAP and are so reflected on the Issuer’s balance sheet.

Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in
currencies other than those set forth in clause (a) above, provided that such amounts are convert-
ed into any currency listed in clause (a) as promptly as practicable and in any event within ten
Business Days following the receipt of such amounts.

“Casualty Event” means any event that gives rise to the receipt by any Loan Party or
any Subsidiary thereof of any insurance proceeds or condemnation award in respect of any
equipment, fixed assets or real] property (including improvements thereon) to replace, restore or
repair such equipment, fixed assets or real property.

“CERCLA” means the Comprehensive Environmental Response, Compensation and Lia-
bility Act of 1980.

“CERCLIS” means the Comprehensive Environmental Response, Compensation and Li-
ability Information System, and its successor, the Superfund Enterprise Management System,
maintained by the U.S. Environmental Protection Agency.

“CFC” means a Foreign Subsidiary of the Borrower that is a controlled foreign corpora-
tion under Section 957 of the Code, and any direct or indirect Subsidiary of such a Foreign Sub-
sidiary.

“Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change
in any law, rule, regulation or treaty or in the administration, interpretation, implementation or
application thereof by any Governmental Authority or (c) the making or issuance of any request,
rule, guideline or directive (whether or not having the force of law) by any Governmental Au-
thority; provided that notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall
Street Reform and Consumer Protection Act and all requests, rules, guidelines or directives
thereunder or issued in connection therewith and (y) all requests, rules, guidelines or directives
promulgated by the Bank for International settlements, the Basel Committee on Banking Super-
vision (or any successor or similar authority) or the United States regulatory authorities, in each
case pursuant to Basel III, shall in each case be deemed to be a “Change in Law,” regardless of
the date enacted, adopted or issued.

“Change of Control” means an event or series of events by which:

(a) Permitted Holders, collectively, shall cease to be the “beneficial owner” (as de-
fined in Rules 13d-3 and 13d-5 under the Exchange Act as in effect on the Closing Date) (free
and clear of all Liens except those created under the Collateral Documents and Permitted Liens),

22505703.11.BUSINESS 7
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 15 of 121

either directly or indirectly, of equity securities in Roadhouse Holding representing more than
50% of the combined voting power of all of equity securities entitled to vote for members of the
board of directors or equivalent governing body of Roadhouse Holding on a fuliy-diluted basis
(and taking into account all such securities that the Permitted Holders have the right to acquire,
whether such right is exercisable immediately or only after the passage of time); or

(b) At any time, a majority of the members of the board of directors or other equiva-
lent governing body of Holdings, Roadhouse Holding or the Borrower cease to be composed of
individuals (i) who were members of that board or equivalent governing body on the first day of
such period, (ii) whose election or nomination to that board or equivalent governing body was
approved by individuals referred to in clause (i) above constituting at the time of such election or
nomination at least a majority of that board or equivalent governing body or (iii) whose election
or nomination to that board or other equivalent governing body was approved by individuals re-
ferred to in clauses (i) and (ii) above constituting at the time of such election or nomination at
least a majority of that board or equivalent governing body (excluding, in the case of both clause
(11) and clause (iii), any individual whose initial nomination for, or assumption of office as, a
member of that board or equivalent governing body occurs as a result of an actual or threatened
solicitation of proxies or consents for the election or removal of one or more directors by any
person or group other than a solicitation for the election of one or more directors by or on behalf
of the board of directors); or

(c) Roadhouse Holding shall cease, directly or indirectly, to own and control legally
and beneficially all of the Equity Interests in the Borrower; or

(d) a“change of control” or any comparable term under, and as defined in, any inden-
ture or agreement governing any Pre-Petition Debt shall have occurred.

“Closing Date” means the first date all the conditions precedent in Section 4.01 are satis-
fied or waived in accordance with Section 11.01.

“Code” means the Internal Revenue Code of 1986, as amended.
“Collateral” has the meaning given to such term in the Security Agreement.

“Collateral Documents” means, collectively, the Security Agreement, each Intellectual
Property Security Agreement, the Mortgages, the collateral assignments, Security Agreement
Supplements, security agreements, pledge agreements or other similar agreements delivered to
the Administrative Agent pursuant to Sections 7.11 and 7.12 and each of the other agreements,
instruments or documents that creates or purports to create a Lien in favor of the Administrative
Agent for the benefit of the Secured Parties, each as the Administrative Agent may request.

“Committee” means the official committee of unsecured creditors retained in any Case
whose retention is approved by the Bankruptcy Court pursuant to sections 327, 328 or 1103 of
the Bankruptcy Code.

22505703. 11-BUSINESS 8
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 16 of 121

“Commitments” means, collectively, the Initial Commitments and the Delayed Draw
Commitments. The aggregate principal amount of all Commitments on the Closing Date is
$25,000,000.

“Committed Loan Notice” means a written notice of (a) a Borrowing, (b) a conversion of
Loans from one Type to the other, or (c) a continuation of Eurodollar Rate Loans, pursuant to
Section 2.02(a), which shall be substantially in the form of Exhibit A-1.

“Company IP Rights” means rights in Intellectual Property owned or purported to be
owned by a Loan Party or its Subsidiaries.

“Compliance Certificate” means a certificate substantially in the form of Exhibit C.

“Consolidated” means, with respect to any Person, the accounts of such Person and its
Subsidiaries consolidated in accordance with GAAP.

“Contractual Obligation” means, as to any Person, any provision of any security issued
by such Person or of any agreement, instrument or other undertaking to which such Person is a
party or by which it or any of its property is bound.

“Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise vot-
ing power, by contract or otherwise. “Controlling” and “Controlled” have meanings correlative
thereto.

“Control Agreement” means, with respect to any deposit account, any securities account,
commodity account, securities entitlement or commodity contract, an agreement, in form and
substance satisfactory to the Administrative Agent and the Required Lenders in their sole discre-
tion, effective to grant “control” (as defined under the applicable UCC) over such account to the
Administrative Agent for the benefit of the Secured Parties or otherwise to perfect the security
interest of the Administrative Agent for the benefit of the Secured Parties in such account and to
permit the exercise of collateral remedies with respect thereto.

“Corporate Chart” means a document in form reasonably acceptable to the Administra-
tive Agent and setting forth, as of a date set forth therein, for each Person that is a Loan Party,
that is subject to Section 7.09 or that is a Subsidiary or joint venture of any of them, (a) the full
legal name of such Person, (b) the jurisdiction of organization and any organizational number
and tax identification number of such Person, (c) the location of such Person’s chief executive
office (or, if applicable, sole place of business) and (d) the number of shares of each class of
Stock of such Person authorized, the number outstanding and the number and percentage of such
outstanding shares for each such class owned, directly or indirectly, by any Loan Party or any
Subsidiary of any of them.

“Credit Extension” means a Borrowing.

“Debtor Relief Laws” means the Bankruptcy Code of the United States, and ail other lig-
uidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rear-

22505703.11, BUSINESS 9
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 17 of 121

rangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the United
States or other applicable jurisdictions from time to time in effect and affecting the rights of
creditors generally.

“Default” means any event that is, or with the passage of time or the giving of notice or
both would be, an Event of Default; provided that any Default that results solely from the taking
of an action that would have been permitted but for the continuation of a previous Default will be
deemed to be cured if such previous Default is cured prior to becoming an Event of Default.

“Default Rate” means (a) when used with respect to Obligations consisting of principal,
an interest rate equal to (i) the Base Rate with respect to any Base Rate Loan, or Eurodollar Rate
with respect to any Eurodollar Loan plus (ii) the Applicable Rate for such loan, plus (iii) 3% per
annum, (b) when used with respect to Obligations other than principal, an interest rate equal to
(i) the Base Rate, plus (ii) the Applicable Rate applicable to Base Rate Loans under the Facility,
plus (iii) 3% per annum.

“Defaulting Lender” means any Lender that (a) has failed to fund any portion of the
Loans required to be funded by it hereunder within two Business Days of the date required to be
funded by it hereunder, (b) has otherwise failed to pay over to the Administrative Agent or any
other Lender any other amount required to be paid by it hereunder within two Business Days of
the date when due, unless the subject of a good faith dispute, (c) has notified the Borrower or the
Administrative Agent or any Lender that it does not intend to comply with its funding obliga-
tions or has made a public statement to that effect with respect to its funding obligations, (d) has
failed within three Business Days after request by the Administrative Agent, to confirm in a
manner satisfactory to the Administrative Agent that it will comply with its funding obligations,
or (e) has, or has a direct or indirect parent company that has, (i) become the subject of a pro-
ceeding under any Debtor Relief Law, (11) had a receiver, conservator, trustee, administrator, as-
signee for the benefit of creditors or similar Person charged with reorganization or liquidation of
its business or a custodian appointed for it, (iii) taken any action in furtherance of, or indicated
its consent to, approval of, or acquiescence in any such proceeding or appointment, or (iv) be-
come the subject of a Bail-In Action; provided that, for the avoidance of doubt, a Lender shall
not be a defaulting lender solely by virtue of (i) the ownership or acquisition of any equity inter-
est in that Lender or any direct or indirect parent company thereof by a Governmental Authority
or (ii) in the case of a solvent Person, the precautionary appointment of an administrator, guardi-
an, custodian or other similar official by a Governmental Authority under or based on the law of
the country where such Person is subject to home jurisdiction supervision if applicable law re-
quires that such appointment not be publicly disclosed so Jong as, in any such case, where such
action does not result in or provide such Person with immunity from the jurisdiction of courts
within the United States of America or from the enforcement of judgments or writs of attachment
on its assets or permit such Person (or such Governmental Authority) to reject, repudiate, disa-
vow or disaffirm any contracts or agreements made by such Person. Any determination by the
Administrative Agent that a Lender is a Defaulting Lender under any of one or more clauses (a)
through (e) above shall be conclusive and binding absent manifest error, and such Lender shall
be deemed to be a Defaulting Lender upon delivery of written notice of such determination from
the Administrative Agent to the Borrower and each Lender.

22505703. 11. BUSINESS 10
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 18 of 121

“Delayed Draw Commitment” means, with respect to each Lender, the several (and not
joint or joint and several) commitment of such Lender to make Delayed Draw Loans hereunder
as set forth in the “Delayed Draw Commitments” column on Schedule 2.01, or in the Assign-
ment and Acceptance pursuant to which such Lender assumed its Delayed Draw Commitment, as
applicable, as the same may be (a) reduced from time to time pursuant to Section 2.04 and (b)
reduced or increased from time to time pursuant to assignments by or to such Lender pursuant to
Section 11.06. The aggregate principal amount of all Delayed Draw Commitments on the Clos-
ing Date is $15,000,000.

“Delayed Draw Loan” has the meaning specified in Section 2.01(b).

“Delayed Draw Loan Funding Date” means the later of (a) the Final Order Entry Date
and (b) the date that is forty (40) days after the Interim Order Entry Date.

“DIP Maturity Date” means the earliest of (a) the Effective Date, (b) the date on which a
sale of all or substantially all of the Debtors’ assets under section 363 of the Bankruptcy Code is
consummated, (c) the date of termination in whole of the Commitments or acceleration of the
Loans pursuant to Section 9.02 and (d) November 14, 2016.

“DIP Orders” means the Interim Order and the Final Order.
“Disbursement Date” has the meaning specified in Section 2.03(a).
“Disclosure Statement” has the meaning specified in Section 7.16(e).

“Disqualified Lenders” means any competitor of the Borrower or its Subsidiaries, which
Person has been identified in writing to the Administrative Agent prior to the Closing Date as
being a “Disqualified Lender,” the identities of which will be made available to Lenders upon
request.

“Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition
(including any sale and leaseback transaction) of any property by any Person (or the granting of
any option or other right to do any of the foregoing), including any sale, assignment, transfer or
other disposal, with or without recourse, of any notes or accounts receivable or any rights and
claims associated therewith.

“Disqualified Equity Interests” means any Equity Interest which, by its terms (or by the
terms of any security or other Equity Interests into which it is convertible or for which it is ex-
changeable), or upon the happening of any event or condition (except as a result of a change of
contro] or asset sale so long as any rights of the holders thereof upon the occurrence of a change
of control or asset sale event shall be subject to the prior repayment in full of the Loans and all
other Obligations that are accrued and payable and the termination of the Commitments)
(a) matures or is mandatorily redeemable (other than solely for Qualified Equity Interests), pur-
suant to a sinking fund obligation or otherwise, (b) is redeemable at the option of the holder
thereof (other than solely for Qualified Equity Interests), in whole or in part, (c) provides for the
scheduled payments of dividends in cash, or (d) is or becomes convertible into or exchangeable
for Indebtedness or any other Equity Interests that would constitute Disqualified Equity Interests,

22505703.11.BUSINESS 11
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 19 of 121

in each case, prior to the date that is ninety-one (91) days after the latest then existing DIP Ma-
turity Date.

“Dollar” and “$” mean lawful money of the United States.

“EEA Financial Institution” means (a) any credit institution or investment firm estab-
lished in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institu-
tion described in clause (a) of this definition and is subject to the supervision of an EEA Resolu-
tion Authority, or (c) any financial institution established in an EEA Member Country which is a
subsidiary of an institution described in clauses (a) or (b) of this definition and is subject to con-
solidated supervision of an EEA Resolution Authority with its parent.

“EEA Member Country” means any of the member states of the European Union, Ice-
land, Liechtenstein, and Norway.

“EEA Resolution Authority” means any public administrative authority or any Person en-
trusted with public administrative authority of any EEA Member Country (including any dele-
gee) having responsibility for the resolution of any EEA Financial Institution.

 

“Effective Date” means the effective date of the Reorganization Plan.

“Eligible Assignee” means any Person that meets the requirements to be an assignee un-
der Sections 11.06(b)(iii), (v) and (vi) (subject to such consents, if any, as may be required under
Section 11.06(b)(iii)), and in no event shall include any Disqualified Lender or any Affiliate of
any Loan Party (other than the Equity Investors).

“Environmental Laws” means any and all applicable Federal, state, local, international
and foreign treaties, statutes, laws (including common law), codes, regulations, ordinances, rules,
judgments, orders, decrees, permits, concessions, grants, franchises, licenses, agreements or gov-
ernmental restrictions relating to pollution, the protection of the environment, the protection of
natural resources (including threatened or endangered species), the Release of any Hazardous
Materials into the environment, or the exposure of any person to Hazardous Materials, including
those related to air emissions of Hazardous Materials, management and disposal of solid waste,
and discharges of wastewater to public systems.

“Environmental Liability” means any liability, contingent or otherwise (including any li-
ability for damages, costs of environmental remediation, fines, penalties or indemnities), of the
Borrower, any other Loan Party or any of their respective Subsidiaries directly or indirectly re-
sulting from or based upon (a) violation of any Environmental Law, (b) the generation, use, han-
dling, transportation, storage, treatment or disposal of any Hazardous Materials, (c) exposure to
any Hazardous Materials, (d) the Release or threatened Release of any Hazardous Materials into
the environment or (e) any contract, agreement or other consensual arrangement pursuant to
which liability is assumed or imposed with respect to any of the foregoing.

“Environmental Permit” means any permit, approval, identification number, license or
other authorization required under any Environmental Law.

92505703, ||. BUSINESS 12
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 20 of 121

“Eguity Interests” means, with respect to any Person, all of the shares of capital stock of
(or other ownership or profit interests in) such Person, all of the warrants, options or other rights
for the purchase or acquisition from such Person of shares of capital stock of (or other ownership
or profit interests in) such Person, all of the securities convertible into or exchangeable for shares
of capital stock of (or other ownership or profit interests in) such Person or warrants, rights or
options for the purchase or acquisition from such Person of such shares (or such other interests),
and all of the other ownership or profit interests in such Person (including partnership, member
or trust interests therein), whether voting or nonvoting, and whether or not such shares, warrants,
options, rights or other interests are outstanding on any date of determination.

“Equity Investors” means Kelso & Company, L.P. and any successor in interest thereto
and any of its Affiliates other than any portfolio companies or any Loan Party.

“ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

“ERISA Affiliate” means any trade or business (whether or not incorporated) under
common control with the Borrower within the meaning of Section 414(b) or (c) of the Code (and
Sections 414(m) and (0) of the Code for purposes of provisions relating to Section 412 of the
Code).

“ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a with-
drawal by the Borrower or any ERISA Affiliate from a Pension Plan subject to Section 4063 of
ERISA during a plan year in which it was a substantial employer (as defined in Section
4001(a)(2) of ERISA) or a cessation of operations that is treated as such a withdrawal under Sec-
tion 4062(e) of ERISA; (c) a complete or partial withdrawal by the Borrower or any ERISA Af-
filiate from a Multiemployer Plan or notification that a Multiemployer Plan is in endangered or
critical status under Section 305 of ERISA; (d) the filing of a notice of intent to terminate, the
treatment of a Plan amendment as a termination under Section 4041 or 4041A of ERISA, or the
commencement of proceedings by the PBGC to terminate a Pension Plan or Multiemployer Plan;
(e) an event or condition which constitutes grounds under Section 4042 of ERISA for the termi-
nation of, or the appointment of a trustee to administer, any Pension Plan or Multiemployer Plan;
(f) the imposition of any liability under Title [V of ERISA, other than for PBGC premiums due
but not delinquent under Section 4007 of ERISA, upon the Borrower or any ERISA Affiliate; (g)
a prohibited transaction or violation of the fiduciary responsibility rules with respect to any Plan;
or (h) any Loan Party, any Subsidiary thereof or any ERISA Affiliate engages in a transaction
that could be subject to Section 4069 or 4212(c) of ERISA.

“BU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor Person), as in effect from time to time.

“Furodollar Rate” means, for any Interest Period with respect to any Eurodollar Rate
Loan:

(a) the rate of interest per annum, expressed on the basis of a year of 360 days, de-
termined by the Administrative Agent, which is equal to the ICE Benchmark Administration
Limited LIBOR Rate published by Bloomberg (or any successor thereto as may be selected by
the Administrative Agent) with a term equivalent to such Interest Period, determined as of ap-

22505703.11. BUSINESS 13
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 21 of 121

proximately 11:00 a.m. (London time) two (2) Business Days prior to the first day of such Inter-
est Period, or

(b) if the rates referenced in the preceding subsection (a) are not available, the Ad-
ministrative Agent shall request the principal London office of any three major reference banks
in the London interbank market selected by the Administrative Agent to provide such bank’s of-
fered quotation (expressed as a percentage per annum) to prime banks in the London interbank
market for deposits in U.S. dollars for a term equivalent to such Interest Period as of 11:00 am
London time, on such date for the amounts for a comparable loan at the time of such calculation,
and LIBOR shall be the arithmetic mean of such quotation. In no event will the Eurodollar Rate
be lower than 1.00% at any time.

“Eurodollar Rate Loan” means a Loan that bears interest at a rate based on the Eurodollar
Rate.

“Event of Default” has the meaning specified in Section 9.01.
“Exchange Act” means the Securities Exchange Act of 1934, as amended.
“Excluded Subsidiary” means each (i) CFC and (ii) Transparent Subsidiary.

“Excluded Taxes” means, with respect to the Administrative Agent, any Lender, or any
other recipient of any payment to be made by or on account of any obligation of any Loan Party
under any Loan Document, (a) Taxes imposed on or measured by its overall net income (howev-
er denominated), franchise Taxes imposed on it (in lieu of net income Taxes) and branch profits
Taxes, in each case, imposed by the jurisdiction (or any political subdivision thereof) under the
Laws of which such recipient is organized or in which its principal office is located or, in the
case of any Lender, in which its applicable Lending Office is located, or as the result of any other
connection between such recipient and such jurisdiction (other than any such connection arising
solely from the execution or delivery of, receipt of payments under, receipt or perfection of a se-
curity interest under, enforcement of, becoming a party to, performing its obligations under or
otherwise participating in the transactions contemplated in, or otherwise with respect to, the
Loan Documents), (b) in the case of any Lender (other than an assignee pursuant to a request by
the Borrower under Section 11.13), any U.S. federal withholding Tax that (i) is required to be
imposed on amounts payable to such Lender pursuant to the Laws in force at the time such
Lender becomes a party hereto (or designates a new Lending Office), except to the extent that
such Lender (or its assignor, if any) was entitled, at the time of designation of a new Lending Of-
fice (or assignment), to receive additional amounts from the Borrower with respect to such with-
holding Tax pursuant to Section 3.01(a) or (ii) is attributable to such Lender’s failure to comply
with Section 3.01(e), and (c) any U.S. federal withholding Taxes imposed pursuant to FATCA.

“Exit Facilities” means, collectively, the Exit First Lien Facility and the Exit Second Lien
Facility.

“Exit First Lien Facility” has the meaning specified in the RSA Term Sheet.

2250570311. BUSINESS 14
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 22 of 121

“Exit Second Lien Facility” means a second lien term loan facility to be entered into on
the Effective Date, on terms materially consistent with the second lien exit financing term sheet
attached to the RSA Term Sheet, and otherwise reasonably acceptable to the Debtors, the Re-
quired Supporting Noteholders and the Supporting Lenders.

“Facility” means the New Money Facility and the Roll Up Facility.

“FATCA” means Sections 1471 through 1474 of the Code as of the date of this Agree-
ment, and any amended or successor version that is substantively comparable and not materially
more onerous to comply with, and any current or future Treasury regulations or other official
administrative guidance or interpretations thereof (including any Revenue Ruling, Revenue Pro-
cedure, Notice or similar guidance issued by the Internal Revenue Service} promulgated there-
under.

“FCPA” has the meaning specified in Section 5.19(c).

“Federal Funds Rate” means, for any day, the rate calculated by the New York Fed based
on such day’s federal funds transactions by depository institutions as determined in such manner
as the New York Fed shall set forth on its public website from time to time and published on the
next succeeding Business Day by the New York Fed as the federal funds effective rate; provided
that if such day is not a Business Day, the Federal Funds Rate for such day shall be such rate on
such transactions on the next preceding Business Day as so published on the next succeeding
Business Day.

“Final Order” means a final order entered by the Bankruptcy Court in the Cases after a
final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures approved by the Bank-
ruptcy Court, which order shal] authorize the transactions contemplated by this Agreement and
the use of cash collateral in accordance with the Budget, and shall otherwise be in form and sub-
stance satisfactory to the Administrative Agent, the Required Lenders, the Debtors, the Support-
ing Lenders, the Required Supporting Noteholders, and the Supporting Interest Holders in their
respective sole discretion.

“Final Order Entry Date” means the date on which the Final Order is entered by the
Bankruptcy Court.

“Flood Insurance Laws” means, collectively, (i) the National Flood Insurance Act of
1968 as now or hereafter in effect or any successor statute thereto, (ii) the Flood Disaster Protec-
tion Act of 1973 as now or hereafter in effect or any successor statute thereto, (iii) the National
Flood Insurance Reform Act of 1994 as now or hereafter in effect or any successor statute there-
to and (iv) the Flood Insurance Reform Act of 2004 as now or hereafter in effect or any succes-
sor statute thereto.

“Foreign Lender” means any Lender that is not a “United States person” within the mean-
ing of Section 7701(a)(30) of the Code.

“Foreign Subsidiary” means each Subsidiary of the Borrower that is not organized under
the Laws of the United States, any state thereof, or the District of Columbia.

22505703.11 BUSINESS 14
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 23 of 121

“FRB” means the Board of Governors of the Federal Reserve System of the United
States.

“Fund” means any Person (other than a natural person) that is (or will be) engaged in
making, purchasing, holding or otherwise investing in commercial loans and similar extensions
of credit in the ordinary course of its activities.

“Funding Date” has the meaning specified in Section 2.02(b).

“GAAP” means generally accepted accounting principles in the United States set forth in
the opinions and pronouncements of the Accounting Principles Board and the American Institute
of Certified Public Accountants and statements and pronouncements of the Financial Accounting
Standards Board or such other principles as may be approved by a significant segment of the ac-
counting profession in the United States, that are applicable to the circumstances as of the date of
determination, consistently applied.

“Governmental Authority” means the government of the United States or any other na-
tion, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive, legisla-
tive, judicial, taxing, regulatory or administrative powers or functions of or pertaining to gov-
ernment (including any supra-national bodies such as the European Union or the European Cen-
tral Bank).

“Group Members” means, collectively, the Loan Parties and their respective other Sub-
sidiaries, if any (each such entity individually being a “Group Member”).

“Group Members’ Accountants” means Grant Thornton LLP, Deloitte & Touche LLP or
other nationally-recognized independent registered certified public accountants reasonably ac-
ceptable to the Administrative Agent.

“GSO” means GSO Capital Partners LP and its Affiliates and Approved Funds, including
GSO / Blackstone Debt Funds Management LLC.

“GSO Entity” means GSO or certain funds and accounts managed or sub-advised by
GSO as the context may require.

“Guarantee” means, as to any Person, (a) any obligation, contingent or otherwise, of such
Person guaranteeing or having the economic effect of guaranteeing any Indebtedness payable by
another Person (the “primary obligor”) in any manner, whether directly or indirectly, and includ-
ing any obligation of such Person, direct or indirect, (i) to purchase or pay (or advance or supply
funds for the purchase or payment of) such Indebtedness or other obligation, (ii) to purchase or
lease property, securities or services for the purpose of assuring the obligee in respect of such
Indebtedness or other obligation of the payment or performance of such Indebtedness or other
obligation, (iii) to maintain working capital, equity capital or any other financial statement condi-
tion or liquidity or level of income or cash flow of the primary obligor so as to enable the prima-
ry obligor to pay such Indebtedness or other obligation, or (iv) entered into for the purpose of
assuring in any other manner the obligee in respect of such Indebtedness or other obligation of

22505703.11. BUSINESS 16
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 24 of 121

the payment or performance thereof or to protect such obligee against loss in respect thereof (in
whole or in part), or (b) any Lien on any assets of such Person securing any Indebtedness or oth-
er obligation of any other Person, whether or not such Indebtedness or other obligation is as-
sumed by such Person (or any right, contingent or otherwise, of any holder of such Indebtedness
to obtain any such Lien); provided that the term “Guarantee” shall not include endorsements for
collection or deposit, in either case in the ordinary course of business, or customary and reasona-
ble indemnity obligations in effect on the Closing Date or entered into in connection with any
acquisition or disposition or assets permitted under this Agreement (other than such obligations
with respect to Indebtedness). Except as provided in the definition of Indebtedness, the amount
of any Guarantee shall be deemed to be an amount equal to the stated or determinable amount of
the related primary obligation, or portion thereof, in respect of which such Guarantee is made or,
if not stated or determinable, the maximum reasonably anticipated liability in respect thereof as
determined by the guaranteeing Person in good faith. The term “Guarantee” as a verb has a cor-
responding meaning.

“Guarantor Subsidiaries” means the Subsidiaries of the Borrower listed on Schedule 7.12
and cach other Subsidiary of the Borrower that shall be required to execute and deliver a guaran-
ty or guaranty supplement pursuant to Section 7.12; provided that in no event shall any CFC or
Transparent Subsidiary be considered a Guarantor Subsidiary.

“Guarantors” means, collectively, Roadhouse Holding, Roadhouse Intermediate, Road-
house Midco, Roadhouse Parent, Holdings and the Guarantor Subsidiaries.

“Guaranty” means, the Guaranty, dated as of the date hereof, made by the Guarantors in
favor of the Secured Parties, substantially in the form of Exhibit E, together with each other
guaranty and guaranty supplement delivered pursuant to Section 7.12.

“Hazardous Materials” means all explosive or radioactive substances or wastes and all
hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum dis-
tillates, asbestos or asbestos-containing materials, polychlorinated biphenyls, infectious or medi-
cal wastes and all other hazardous or toxic substances or wastes of any nature regulated pursuant
to any Environmental Law.

“Holdings” means LRI Holdings, Inc., a Delaware corporation.

“Indebtedness” means, as to any Person at a particular time, without duplication, all of
the following, whether or not included as indebtedness or liabilities in accordance with GAAP:

(a) all obligations of such Person for borrowed money and all obligations of such
Person evidenced by bonds, debentures, notes, loan agreements or other similar instruments;

(b) the maximum amount of all direct or contingent obligations of such Person arising
under letters of credit (including standby and commercial), bankers’ acceptances, bank guaran-
ties, surety bonds and similar instruments;

(c} net obligations of such Person under any swap contract;

22505703.) 1-BUSINESS 17
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 25 of 121

(d) all obligations of such Person to pay the deferred purchase price of property or
services (other than trade accounts payable in the ordinary course of business and not past due
for more than 90 days);

(e) indebtedness (excluding prepaid interest thereon) secured by a Lien on property
owned or being purchased by such Person (including indebtedness arising under conditional
sales or other title retention agreements), whether or not such indebtedness shall have been as-
sumed by such Person or is limited in recourse;

(f) all Attributable Indebtedness in respect of Capitalized Leases of such Person;

(g) all obligations of such Person to purchase, redeem, retire, defease or otherwise
make any payment in respect of any Equity Interest in such Person or any other Person or any
warrant, right or option to acquire such Equity Interest, valued, in the case of a redeemable pre-
ferred interest, at the greater of its voluntary or involuntary liquidation preference plus accrued
and unpaid dividends;

(h) all obligations in respect of Disqualified Equity Interests; and
(i) all Guarantees of such Person in respect of any of the foregoing.

For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any
partnership or joint venture (other than a joint venture that is itself a corporation or limited liabil-
ity company) in which such Person is a general partner or a joint venturer, unless such Indebted-
ness is expressly made non-recourse to such Person. The amount of Indebtedness of any Person
for the purposes of clause (e) (or any secured Guarantee thereof) shall be deemed to be equal to
the lesser of (1) the aggregate unpaid amount of such Indebtedness and (ii) the fair market value
of the property encumbered thereby as determined by such Person in good faith.

“Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under any
Loan Document and (b) to the extent not otherwise described in (a), Other Taxes.

“Indemnitees” has the meaning specified in Section 11.04(b).
“Information” has the meaning specified in Section 11.07.

“Initial Commitment” means, with respect to each Lender, the several (and not joint or
joint and several) commitment of such Lender to make Initial Loans hereunder as set forth in the
“Initial Commitments” column on Schedule 2.01, or in the Assignment and Acceptance pursuant
to which such Lender assumed its Commitment, as applicable, as the same may be (a) reduced
from time to time pursuant to Section 2.04 and (b) reduced or increased from time to time pursu-
ant to assignments by or to such Lender pursuant to Section 11.06. The aggregate principal
amount of all Initial Commitments on the Closing Date is $10,000,000.

“Initial Loan” has the meaning specified in Section 2.01(b).

“Initial Roll Up Loans” has the meaning specified in Section 2.01(a).

22505703.11.BUSINESS 18
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 26 of 121

“Intellectual Property” has the meaning specified in the Collateral Documents.

“Intellectual Property Security Agreements” means, collectively, the Copyright Security
Agreement, the Trademark Security Agreement and the Patent Security Agreement (as each such
. term is defined in the Security Agreement).

“Interest Payment Date” means, (a) as to any Eurodollar Rate Loan, the last day of each
Interest Period applicable to such Loan and the DIP Maturity Date; and (b) as to any Base Rate
Loan, the last Business Day of each March, June, September and December and the DIP Maturi-
ty Date.

“Interest Period” means, as to each Eurodollar Rate Loan, the period commencing on the
date such Eurodollar Rate Loan is disbursed or converted to or continued as a Eurodollar Rate
Loan and ending on the date one month thereafter; provided that:

(a) any Interest Period that would otherwise end on a day that is not a Business Day
shall be extended to the next succeeding Business Day unless such Business Day falls in another
calendar month, in which case such Interest Period shall end on the next preceding Business
Day;

(b) any Interest Period that begins on the last Business Day of a calendar month (or
on a day for which there is no numerically corresponding day in the calendar month at the end of
such Interest Period) shall end on the last Business Day of the calendar month at the end of such
Interest Period; and

(c) no Interest Period shal} extend beyond the DIP Maturity Date.

“Interim Order” means an interim order entered by the Bankruptcy Court (as the same
may be amended, supplemented, or modified from time to time after entry thereof in accordance
with the terms hereof} in the form set forth as Exhibit J (as modified in a manner satisfactory to
the Debtors, the Administrative Agent, the Required Lenders, the Supporting Lenders, the Re-
quired Supporting Noteholders and the Supporting Interest Holders in their respective sole dis-
cretion).

“Interim Order Entry Date” means the date on which the Interim Order is entered by the
Bankruptcy Court.

“Investment” means, as to any Person, any direct or indirect acquisition or investment by
such Person, whether by means of (a) the purchase or other acquisition of Equity Interests of an-
other Person, (b) a loan, advance or capital contribution to, Guarantee or assumption of debt of,
or purchase or other acquisition of any other debt or interest in, another Person, or (c) the pur-
chase or other acquisition (in one transaction or a series of transactions) of assets of another Per-
son that constitute a business unit or all or a substantial part of the business of, such Person. For
purposes of covenant compliance, the amount of any Investment shall be the amount actually
invested, without adjustment for subsequent increases or decreases in the value of such Invest-
ment.

22505703.11.BUSINESS 19
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 27 of 121

“IRS” means the United States Internal Revenue Service.

“Laws” means, collectively, all applicable international, foreign, Federal, state and local
statutes, treaties, rules, regulations, ordinances, codes and administrative or judicial precedents or
authorities, including the interpretation or administration thereof by any Governmental Authority
charged with the enforcement, interpretation or administration thereof, and all applicable admin-
istrative-orders, directed duties, licenses, authorizations and permits of, and agreements with, any
Governmental Authority, in each case having the force of law.

“Lender” has the meaning specified in the introductory paragraph hereto.

“Lending Office” means, as to any Lender, the office or offices of such Lender described
as such in such Lender’s Administrative Questionnaire, or such other office or offices as a Lend-
er may from time to time notify in writing to the Borrower and the Administrative Agent.

“Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or preference, priority or other security interest or
preferential arrangement in the nature of a security interest of any kind or nature whatsoever (in-
cluding any conditional sale or other title retention agreement, any easement, right of way or
other encumbrance on title to real property, and any financing lease having substantially the
same economic effect as any of the foregoing).

“Loans” means the loans made by the Lenders to the Borrower pursuant to Section 2.01
(including, for the avoidance of doubt, the Initial Loans, the Delayed Draw Loans and the Roll
Up Loans), in each case, plus any PIK Interest capitalized and added to the principal amount
thereof.

“Loan Documents” means, collectively, (a) this Agreement, (b) the Notes, if any, (c} the
Guaranty, (d} the Collateral Documents, (e) the Agent Fee Letter and (f) any other document ex-
ecuted by or on behalf of any of the Loan Parties that is delivered to the Administrative Agent or
any of the other Secured Parties in connection with the foregoing.

“Loan Parties” means, collectively, the Borrower and each Guarantor.
“Logan’s Kansas” means Logan’s Roadhouse of Kansas, Inc., a Kansas corporation.
“Logan’s Texas” means Logan’s Roadhouse of Texas, Inc., a Texas corporation.

“Marblegate” means Marblegate Asset Management, LLC and its Affiliates and Ap-
proved Funds.

“Marblegate Entity” means Marblegate or certain funds and accounts managed or sub-
advised by Marblegate as the context may require.

“Material Adverse Effect” means a material adverse change in, or a material adverse ef-
fect upon, (a) the operations, business, assets or condition (financial or otherwise) of the Loan
Parties and their Subsidiaries, taken as a whole, other than as customarily occurs as a result of
events leading up to and following the commencement of a proceeding under chapter 11 of the

22505703. 11. BUSINESS 20
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 28 of 121

Bankruptcy Code and the commencement of the Cases, (b) the validity or enforceability of this
Agreement or any other Loan Document or the rights or remedies of the Administrative Agent or
any of the Lenders hereunder or thereunder or the ability of the Loan Parties to perform their re-
spective material obligations hereunder or thereunder, (c) the Collateral or the attachment, per-
fection or priority of any Liens granted pursuant to any Loan Document in the Collateral, or (d)
the Transactions.

“Monthly Operating Reports” has the meaning specified in Section 6.03.
“Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

“Mortgages” means deeds of trust, trust deeds, deeds to secure debt and mortgages, each
in a form satisfactory to the Administrative Agent.

“Multiemployer Plan” means any employee benefit plan of the type described in Sec-
tion 4001(a)(3) of ERISA, to which the Borrower or any ERISA Affiliate makes or is obligated
to make contributions, or during the preceding five plan years, has made or been obligated to
make contributions.

“Net Cash Proceeds” means:

(a) with respect to any Disposition by any Loan Party or any of its Subsidiaries, or
any Casualty Event, the excess, if any, of (i) the sum of cash and Cash Equivalents received by
any Loan Party or Subsidiary thereof in connection with such transaction (including any cash or
Cash Equivalents received by way of deferred payment pursuant to, or by monetization of, a note
receivable or otherwise, but only as and when so received) over (ii) the sum of (A) the principal
amount of any Indebtedness that is secured by the applicable asset and that is required to be re-
paid in connection with such transaction (other than Indebtedness under the Loan Documents),
(B) the reasonable out-of-pocket cash fees and expenses (including attorney’s fees, investment
banking fees, survey costs, title insurance premiums, and related search and recording charges,
transfer taxes, deed or mortgage recording taxes, other customary expenses and brokerage, con-
sulting and other customary fees) incurred by such Loan Party or such Subsidiary in connection
with such transaction, (C) any Taxes paid or reasonably estimated by the Borrower to be payable
with respect to such Disposition; provided that, if the amount of any estimated Taxes pursuant to
subclause (C) exceeds the amount of Taxes actually required to be paid in cash in respect of such
Disposition, the aggregate amount of such excess shall constitute Net Cash Proceeds and (D) any
reserve for adjustment in respect of (x) the sale price of such asset or assets established in ac-
cordance with GAAP and (y) any liabilities associated with such asset or assets and retained by
the Borrower or any Subsidiary after such sale or other disposition thereof, including pension
and other post-employment benefit liabilities and liabilities related to environmental matters or
with respect to any indemnification obligations associated with such transaction, it being under-
stood that “Net Cash Proceeds” shall include (i) any cash or Cash Equivalents received upon the
Disposition of any non-cash consideration by the Borrower or any Subsidiary in any such Dispo-
sition and (ii) upon the reversal (without the satisfaction of any applicable liabilities in cash in a
corresponding amount) of any reserve described in subclause (D) above or if such liabilities have
not been satisfied in cash and such reserve is not reversed within 365 days after such Disposition
or Casualty Event, the amount of such reserve;

22505703. 11. BUSINESS 21
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 29 of 121

(b} — with respect to the incurrence or issuance of any Equity Interest or Indebtedness
by the Borrower or any of its Subsidiaries, the excess of (i) the sum of the cash and Cash Equiva-
lents received in connection with such transaction over (ii) the investment banking fees, under-
writing discounts and commissions, costs and other reasonable and customary out-of-pocket fees
and expenses, incurred by the Borrower or such Subsidiary in connection therewith.

“New Money Facility” has the meaning specified in Section 2.01(b).

“Note” means a promissory note of the Borrower, in substantially the form of Exhibit B,
payable to the order of a Lender, evidencing the Indebtedness of the Borrower to such Lender
resulting from the Loans made to the Borrower by such Lender or its predecessor(s) and “Notes”
means all such notes.

“Notice of Request for Disbursement” means a written notice of request for disbursement
of proceeds of the Initia] Loans and Delayed Draw Loans on deposit in the Segregated Pre-
Funding Account, pursuant to Section 2.03, substantially in the form of Exhibit A-2 or such other
form as may be acceptable to the Administrative Agent and the Required Lenders.

“NPL” means the National Priorities List under CERCLA.

“Obligations” means all Loans, advances to, and debts, liabilities, obligations, covenants
and duties of (including, without limitation, interest (including any PIK Interest), fees, expenses,
indemnities and any prepayment premiums), any Loan Party arising under any Loan Document
or otherwise with respect to any Loan, absolute or contingent, due or to become due, now exist-
ing or hereafter arising and including interest (including, without limitation, any PIK Interest)
and fees that accrue after the commencement by or against any Loan Party or any Affiliate there-
of of any proceeding under any Debtor Relief Laws naming such Person as the debtor in such
proceeding, regardless of whether such interest and fees are allowed claims in such proceeding.

“OFAC” has the meaning specified in Section 5.19(a).

“Organization Documents” means, (a) with respect to any corporation, the certificate or
articles of incorporation and the bylaws (or equivalent or comparable constitutive documents
with respect to any non-US. jurisdiction); (b) with respect to any limited liability company, the
certificate or articles of formation or organization and operating agreement; and (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint ven-
ture or other applicable agreement of formation or organization and any agreement, instrument,
filing or notice with respect thereto filed in connection with its formation or organization with
the applicable Governmental Authority in the jurisdiction of its formation or organization and, if
applicable, any certificate or articles of formation or organization of such entity.

“Other Taxes” means all present or future stamp or documentary Taxes or any other ex-
cise, property, intangible, mortgage recording or similar Taxes arising from any payment made
hereunder or under any other Loan Document or from the execution, delivery or enforcement of,
or otherwise with respect to, this Agreement or any other Loan Document, except any such Tax-
es imposed with respect to an assignment (other than an assignment made pursuant to Section
11.13) that are imposed as a result of a present or former connection between the assignor or as-

22505703.11. BUSINESS 22
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 30 of 121

signee and the jurisdiction imposing such Tax (other than connections arising from such recipi-
ent having executed, delivered, become a party to, performed its obligations under, received
payments under, received or perfected a security interest under, engaged in any other transaction
pursuant to or enforced any Loan Document, sold or assigned an interest in any Loan or Loan
Document).

“Outstanding Amount” means the aggregate outstanding principal amount thereof after
giving effect to any borrowings and prepayments or repayments of Loans as the case may be,
occurring on such date.

“PBGC” means the Pension Benefit Guaranty Corporation.

“Perfection Certificate” means that certain Perfection Certificate, dated on or after the
date hereof, delivered by each Loan Party to the Administrative Agent pursuant to Section 4.01.

“Pension Plan” means any “employee pension benefit plan” (as such term is defined in
Section 3(2) of ERISA), other than a Multiemployer Plan, that is subject to Title IV of ERISA
and is sponsored or maintained by the Borrower or any ERISA Affiliate or to which the Borrow-
er or any ERISA Affiliate contributes or has an obligation to contribute, or in the case of a multi-
ple employer plan or other plan described in Section 4064(a) of ERISA, has made contributions
at any time during the immediately preceding five plan years.

“Permitted Holder” means the Equity Investors, members of management of the Bor-
rower or any direct or indirect parent of the Borrower, any other shareholders who are holders of
Equity Interests of the Borrower (or any of its direct or indirect parent companies) on the Closing
Date, and any group (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange
Act or any successor provision) of which any of the foregoing constitute the majority; provided
that the voting power of the voting stock owned by the Equity Investors shall be greater than the
voting power of the voting stock owned by such groups and/or members of management.

“Permitted Liens” has the meaning specified in Section 8.01, except where otherwise in-
dicated.

“Permitted Refinancing” means, with respect to any Person, any modification (other than
a release of such Person), refinancing, refunding, renewal or extension of any Indebtedness of
such Person; provided that (a) the principal amount (or accreted value, if applicable) thereof does
not exceed the principal amount (or accreted value, if applicable) of the Indebtedness so modi-
fied, refinanced, refunded, renewed or extended except by an amount equal to unpaid accrued
interest and premium thereon plus other reasonable amounts paid, and fees and expenses reason-
ably incurred, in connection with such modification, refinancing, refunding, renewal or extension
and by an amount equal to any existing commitments unutilized thereunder, (b) other than with
respect to a Permitted Refinancing in respect of Indebtedness permitted pursuant to Section 8.03,
such modification, refinancing, refunding, renewal or extension has a final maturity date equal to
or later than the final maturity date of, and has a Weighted Average Life to Maturity equal to or
greater than the Weighted Average Life to Maturity of, the Indebtedness being modified, re-
financed, refunded, renewed or extended and (c) at the time thereof, no Event of Default shall
have occurred and be continuing.

22505703.11.BUSINESS 23
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 31 of 121

“Permitted Tax Distributions” means, for so long as any Group Member is a member ofa
combined, consolidated or unitary tax group of which it is not the parent, payments, dividends or
distributions by such Group Member to its direct or indirect parent, as applicable, to the extent
necessary to allow the payment by such direct or indirect parent of any consolidated, combined
or unitary federal, state or local Taxes not payable directly by such Group Member and its Sub-
sidiaries; provided that the aggregate amount of such payments, dividends or distributions shall
not be greater than the aggregate amount of Taxes that would have been due and owing by such
Group Member had the Group Member and its Subsidiaries filed a combined, consolidated, uni-
tary or similar type return (without including any other persons other than such Group Member
and its Subsidiaries).

“Permitted Variance” means (a) any positive Variance or (b) any negative Variance that,
on a cumulative basis, does not exceed the greater of (i) solely for the first three Variance Re-
ports, $4.5 million and (ii) the dollar amount resulting from multiplying the total operating re-
ceipts in the applicable Budget by six percent (6%) for the applicable week; provided, that any
modification or amendment to the foregoing definition shall require the consent of the Required
Lenders and the Pre-Petition First Lien Lenders in each of their respective sole and absolute dis-
cretion.

“Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

“Petition Date” has the meaning specified in the recitals hereto.
“PIK Interest” has the meaning specified in Section 2.06(c).

“Plan” means any “employee benefit plan” (as such term is defined in Section 3(3) of
ERISA) established by the Borrower or, with respect to any such plan that is subject to Section
412 of the Code or Section 302 or Title IV of ERISA, any ERISA Affiliate.

“Plan Milestones” has the meaning specified in Section 7.16.
“Platform” has the meaning specified in Section 7.01.
“Pledged Securities” has the meaning specified in the Security Agreement.

“Pre-Petition 2010 Indenture” means that certain Indenture, dated as of October 4, 2010,
as amended or supplemented from time to time, by and among the Borrower, the Guarantors par-
ty thereto, the indenture trustee thereunder (the “Pre-Petition 2010 Indenture Trustee”) and the
collateral agent thereunder (the “Pre-Petition 2010 Collateral Agent”).

“Pre-Petition 2010 Indenture Noteholders” means the holders of the notes under the 2010
Indenture.

“Pre-Petition 2015 Indenture” means that certain Indenture, dated as of October 15, 2015,
as amended or supplemented from time to time, by and among the Borrower, the Guarantors par-

22505703.11. BUSINESS 24
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 32 of 121

ty thereto, the indenture trustee thereunder (the “Pre-Petition 2015 Indenture Trustee”) and the
collateral agent thereunder (the “Pre-Petition 2015 Collateral Agent”).

“Pre-Petition 2015 Indenture Noteholders” means the holders of the notes under the 2015
Indenture.

“Pre-Petition Debt” means, collectively, the Indebtedness of each Debtor outstanding and
unpaid under the Pre-Petition First Lien Loan Documents and the Pre-Petition Indenture Docu-
ments.

“Pre-Petition Debt Documents” means, collectively, the Pre-Petition First Lien Loan
Documents and the Pre-Petition Indenture Documents.

“Pre-Petition First Lien Agent” means JPMorgan Chase Bank, N.A., as administrative
agent under the Pre-Petition First Lien Credit Agreement, and any successor in interest thereto.

“Pre-Petition First Lien Credit Agreement” means that certain Credit Agreement, dated as
of October 4, 2010 (as amended by Amendment No. 1, dated as of September 4, 2012, as further
amended by Amendment No. 2, dated as of April 26, 2013, as further amended by Amendment
No. 3, dated as of January 24, 2014, as further amended by Amendment No. 4, dated as of De-
cember 19, 2014, as further amended by Amendment No. 5, dated as of May 28, 2015, Amend-
ment No. 6, dated as of October 15, 2015, as further amended by Amendment No. 7, dated as of
March 28, 2016, as further amended by Amendment No. 8 and Forbearance Agreement, dated as
of June 30, 2016), by and among the Borrower, Holdings, the lenders from time to time party
thereto and the Pre-Petition First Lien Agent.

“Pre-Petition First Lien Lenders” means the “Lenders” under (and as defined in) the
Pre-Petition First Lien Credit Agreement.

“Pre-Petition First Lien Loan Documents” means the “Loan Documents” as defined in
the Pre-Petition First Lien Credit Agreement.

“Pre-Petition First Lien Obligations” means the “Obligations” as defined in the Pre-
Petition First Lien Credit Agreement.

“Pre-Petition First Lien Secured Parties” means, collectively, the Pre-Petition First Lien
Agent and the Pre-Petition First Lien Lenders.

“Pre-Petition Indenture Documents” means, collectively, the Pre-Petition 2010 Indenture,
the Pre-Petition 2015 Indenture, the related notes, and other guarantee, security or other relevant
documentation executed in connection therewith.

“Pre-Petition Indenture Noteholders” means, collectively, the Pre-Petition 2010 Indenture
Noteholders and the Pre-Petition 2015 Indenture Noteholders.

“Pre-Petition Indenture Notes” means, collectively, the notes issued under the Pre-
Petition Indentures, which are the (a) 10.75% Senior Secured Notes due 2017 issued under the
Pre-Petition 2010 Indenture and (b) the Series 2015-1 Senior Secured Zero Coupon Notes due

22505703. 11. BUSINESS 25
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 33 of 121

October 2017 and the Series 2015-2 Senior Secured Notes Due October 2017, each issued under
the Pre-Petition 2015 Indenture.

“Pre-Petition Indenture Secured Parties” means, collectively, the Pre-Petition Indenture
Noteholders and the Pre-Petition Indenture Trustees.

“Pre-Petition Indenture Trustees” means, collectively, the Pre-Petition 2010 Trustee and
the Pre-Petition 2015 Indenture Trustee.

“Pre-Petition Indentures” means, collectively, the Pre-Petition 2010 Indenture and the
Pre-Petition 2015 Indenture.

““Pre-Petition Intercreditor Agreement” means that certain Intercreditor Agreement, dated
as of October 4, 2010 (as amended by Amendment No. 1 to Intercreditor Agreement, dated as of
October 15, 2015), by and among the Pre-Petition First Lien Agent, the Pre-Petition Indenture
Trustees, the Borrower, Holdings, Logan’s Texas and Logan’s Kansas.

“Pre-Petition Intercreditor Agreement Waiver” means that certain Waiver to Intercreditor
Agreement, dated as of the date hereof, by and among the Borrower, Holdings, Logan’s Kansas,
Logan’s Texas, the Pre-Petition First Lien Agent, and each of the Pre-Petition Indenture Trus-
tees.

“Pre-Petition Payment” means a payment (by way of adequate protection or otherwise)
of principal or interest or otherwise on account of any (i) Pre-Petition Debt, (ii) “critical vendor
payments”, (iii) trade payables (including, without limitation, in respect of reclamation claims)
or (iv) other pre-petition claims against any Debtor.

“Primed Liens” has the meaning specified in Section 7.18(a)(iv).

“Priming Liens” has the meaning specified in Section 7.1 8(a)(iv).

“Pro Rata Share” means, with respect to each Lender at any time a fraction (expressed as
a percentage, carried out to the ninth decimal place), the numerator of which is the amount of the
Commitments (or Loans, as applicable) of such Lender under the Facility at such time and the
denominator of which is the amount of the Aggregate Commitments (or aggregate Loans, as ap-
plicable) under the Facility at such time.

“Public Lender” has the meaning specified in Section 7.01(e).

“Qualified Equity Interests” means any Equity Interests that are not Disqualified Equity
Interests.

“Register” has the meaning specified in Section 11.06(c).

“Related Parties” means, with respect to any Person, such Person’s Affiliates and the
partners, directors, officers, members, principals, employees, agents, trustees, advisors and sub-
advisors of such person and of such person’s Affiliates, and with respect to a (a) GSO Entity,
also includes current and prospective investors or funding sources of a GSO Entity, (b) Carl

22505703.11.BUSINESS 26
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 34 of 121

Marks Entity, also includes current and prospective investors or funding sources of a Carl Marks
Entity and (c) Marblegate Entity, also includes current and prospective investors or funding
sources of a Marblegate Entity.

“Release” means, with respect to any Hazardous Material, any spilling, leaking, pumping,
pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping, depositing,
disposing, dispersing, or migrating into or through the environment or within any building,
structure, facility or fixture (including the abandonment or discarding of any barrels, containers
or other closed receptacles containing any Hazardous Material),

“Reorganization Plan” means a plan of reorganization in the Cases implementing the
terms of the Restructuring in accordance with the Restructuring Support Agreement and other-
wise in form and substance reasonably acceptable to the Administrative Agent, the Required
Lenders, the Debtors, the Supporting Lenders, the Required Supporting Noteholders and the
Supporting Interest Holders or that otherwise satisfies the Obligations in full in cash.

“Reportable Event” means any of the events set forth in Section 4043(c) of ERISA, other
than events for which the 30 day notice period has been waived.

“Request for Credit Extension” means with respect to a Borrowing, conversion or contin-
uation of a Loan, a Committed Loan Notice.

“Required Lenders” means Lenders having at such time in excess of 50% of the sum of
the aggregate Commitments then outstanding as of such date plus the Total Outstandings as of
such date, which, in the event that the Backstop Lenders are Lenders under the Facility, shall in-
clude (a) a majority in interest by commitment amount of the Lenders and (b) the funds or fi-
nancing vehicles (or funds or accounts advised or sub-advised by such Person) who are Backstop
Lenders and are affiliated with at least three of the following: (i) Carl Marks, (ii) Marblegate,
(iii) GSO and (iv) Kelso & Company, L.P.; provided, that if any Lender described in the forego-
ing clause (b) subsequently transfers or otherwise disposes of some or all of its Loans prior to the
Effective Date such that it holds less than 5% of all outstanding Loans in the aggregate, such
Lender shall be deemed removed from clause (b), and clause (b) shall be deemed revised to re-
quire consent from a majority in interest of the remaining Lenders described therein.

“Required Supporting Noteholders” means (1) a majority of holders in amount of the out-
standing principal amount of the notes issued pursuant to the Pre-Petition Indentures and (2) in-
cluding funds or financing vehicles (or funds or accounts advised or sub-advised by such Per-
sons) that are Pre-Petition Indenture Noteholders and are affiliated with at least three of the fol-
lowing entities: Carl Marks, Marblegate, GSO and Kelso & Company, L.P.; provided, that if any
Person described in this clause (2) subsequently transfers or otherwise disposes of some or all of
its notes prior to the Effective Date such that it holds less than 5% of all outstanding Pre-Petition
Indenture Notes in the aggregate, such Person shall be deemed removed from clause (2) and
clause (2) shall be deemed revised to require consent from a majority of the remaining Pre-
Petition Indenture Noteholders described therein.

“Responsible Officer” means the chief executive officer, president, vice president, chief
financial officer, treasurer, assistant treasurer, secretary, assistant secretary or controller of a

22505703.11. BUSINESS 27
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 35 of 121

Loan Party. Any document delivered hereunder that is signed by a Responsible Officer of a
Loan Party shall be conclusively presumed to have been authorized by all necessary corporate,
partnership and/or other action on the part of such Loan Party and such Responsible Officer shall
be conclusively presumed to have acted on behalf of such Loan Party.

“Restricted Payment” means any dividend or other distribution (whether in cash, securi-
ties or other property) with respect to any capital stock or other Equity Interest of any Person or
any of its Subsidiaries, or any payment (whether in cash, securities or other property), including
any sinking fund or similar deposit, on account of the purchase, redemption, retirement, defea-
sance, acquisition, cancellation or termination of any such capital stock or other Equity Interest,
or on account of any return of capital to any Person’s stockholders, partners or members (or the
equivalent of any thereof), or any option, warrant or other right to acquire any such dividend or
other distribution or payment.

“Restructuring” has the meaning specified in the Restructuring Support Agreement.

“Restructuring Support Agreement” means that certain Restructuring Support Agree-
ment, dated as of August 8, 2016, by and among the Debtors, the Pre-Petition First Lien Lenders,
the Pre-Petition First Lien Agent, GSO or certain affiliates thereof party thereto, Kelso & Com-
pany, L.P. or certain affiliates thereof party thereto, Carl Marks or certain affiliates thereof party
thereto, and Marblegate or certain affiliates thereof party thereto, in form and substance satisfac-
tory to the Administrative Agent, the Required Lenders and the Unanimous DIP Lenders, as
amended, supplemented, modified, extended, renewed, restated and/or replaced in accordance
therewith, together with any schedules and exhibits thereto.

“Roadhouse Holding” means Roadhouse Holding Inc., a Delaware corporation.
“Roadhouse Intermediate” means Roadhouse Intermediate Inc., a Delaware corporation.
“Roadhouse Midco” means Roadhouse Midco Inc., a Delaware corporation.
“Roadhouse Parent” means Roadhouse Parent Inc., a Delaware corporation.

“Roadhouse Parent Entities” means Roadhouse Holding, Roadhouse Intermediate, Road-
house Midco and Roadhouse Parent.

“Roll Up Affiliate” has the meaning specified in Section 2.01{a).
“Roll Up Facility” has the meaning specified in Section 2.01 (a).
“Roll Up Loans” has the meaning specified in Section 2.01 (a).

“RSA Term Sheet” means the term sheet attached as Exhibit A to the Restructuring Sup-
port Agreement.

“Sanctions” has the meaning specified in Section 5.19(a).
“Sanctioned Country” has the meaning specified in Section 5.19(a).

22505703.11. BUSINESS 28
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 36 of 121

“SDN List” has the meaning specified in Section 5.19(a).

“S&P” means Standard & Poor’s Financial Services LLC, a subsidiary of The McGraw-
Hill Companies, Inc., and any successor thereto.

“SEC” means the Securities and Exchange Commission, or any Governmental Authority
succeeding to any of its principal functions.

“Secured Parties” means, collectively, the Administrative Agent, each Lender, each other
Indemnitee and each other holder of any Obligation of any Loan Party.

“Security Agreement” means that certain Debtor-In-Possession Security Agreement, dat-
ed as of the date hereof, by and among the Loan Parties and the Administrative Agent, substan-
tially in the form of Exhibit F (together with each security agreement supplement delivered pur-
suant to Section 7.12, in each case as amended).

“Security Agreement Supplement” has the meaning specified in the Security Agreement.

“Segregated Pre-Funding Account” means a segregated deposit account maintained by
the Administrative Agent for the benefit of the Lenders into which the proceeds of the Loans un-
der the New Money Facility shall be deposited; provided, that, as of the Closing Date and until a
new account maintained by the Administrative Agent for the benefit of the Lenders is estab-
lished, “Segregated Pre-Funding Account” shall mean the omnibus account at the Administrative
Agent into which the proceeds of the Loans under the New Money Facility shall be deposited
temporarily until such time as the new account can be established.

“Subsidiary” of a Person means a corporation, partnership, joint venture, limited liability
company or other business entity of which a majority of the shares of securities or other interests
having ordinary voting power for the election of directors or other governing body (other than
securities or interests having such power only by reason of the happening of a contingency) are
at the time beneficially owned, or the management of which is otherwise controlled, directly, or
indirectly through one or more intermediaries, or both, by such Person. Unless otherwise speci-
fied, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or
Subsidiaries of Holdings.

“Supporting Interest Holders” means the holders of Equity Interests, directly or indirect-
ly, in Holdings that are signatories to the Restructuring Support Agreement and remain bound by
its terms.

“Supporting Lenders” means the Pre-Petition First Lien Lenders that are signatories to
the Restructuring Support Agreement and remain bound by its terms.

“Tax Affiliate” means, (a) the Roadhouse Parent Entities, Holdings, Borrower and each
of their Subsidiaries and (b) any Affiliate of the Roadhouse Parent Entities, Holdings or the Bor-
rower with which the Roadhouse Parent Entities, Holdings, Borrower or any of their Subsidiaries
files or is eligible to file consolidated, combined or unitary tax returns, but only if and to the ex-
tent that the Roadhouse Parent Entities, Holdings, Borrower or any of their Subsidiaries may be

22505703.11.BUSINESS 29
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 37 of 121

liable for the tax in question of such Affiliate pursuant to Treasury Regulation Section 1.1502-6
(or similar provision of state or local law).

“Taxes” means ali present or future taxes, levies, imposts, duties, deductions, withhold-
ings (including backup withholding), assessments, fees or other charges imposed by any Gov-
ernmental Authority, including any interest, additions to tax or penalties applicable thereto.

“Total Outstandings” means the aggregate Outstanding Amount of al! Loans.

“Transactions” means, collectively, (a) the execution, delivery and performance by the
Loan Parties of the Loan Documents to which they are a party and the making of the Borrowings
hereunder, (b) the entry into the Restructuring Support Agreement, (c) the restructuring transac-
tions contemplated under the Reorganization Plan, (d) the entry of the DIP Orders and (e) the
payment of the fees and expenses related to the foregoing.

“Transparent Subsidiary” means a Subsidiary of the Borrower that is treated as a disre-
garded entity or partnership for U.S. federal income Tax purposes and that has no material assets
other than Equity Interests (held directly or indirectly through other Transparent Subsidiaries) in
one or more CFCs.

“Type” means, with respect to a Loan, its character as a Base Rate Loan or a Eurodollar
Rate Loan.

“UCC” means the Uniform Commercial Code as in effect in the State of New York; pro-
vided that, if perfection or the effect of perfection or non-perfection or the priority of any securi-
ty interest in any Collateral is governed by the Uniform Commercial Code as in effect in a juris-
diction other than the State of New York, “UCC” means the Uniform Commercial Code as in
effect from time to time in such other jurisdiction for purposes of the provisions hereof relating
to such perfection, effect of perfection or non-perfection or priority.

“Unanimous DIP Lenders” means, collectively, (a) any Carl Marks Entity or Lender
hereunder that is affiliated with a Carl Marks Entity for so long as such Carl Marks Entity or Af-
filiate remains a Lender hereunder, (b) any Marblegate Entity or Lender hereunder that is affili-
ated with a Marblegate Entity for so long as such Marblegate Entity or Affiliate remains a Lend-
er hereunder, (c) any GSO Entity or Lender hereunder that is affiliated with a GSO Entity for so
long as such GSO Entity or Affiliate remains a Lender hereunder and (d) Kelso & Company,
L.P. for so long as it remains a Lender hereunder and all Lenders hereunder who are affiliated
with Kelso & Company, L.P.; provided, that if any Backstop Lender described in this definition
subsequently transfers or otherwise disposes of some or all of its Loans prior to the Effective
Date such that it holds less than 5% of all outstanding Loans in the aggregate, such Backstop
Lender shall be deemed removed from this definition, and this definition shall be deemed revised
to require consent from each of the remaining Backstop Lenders described therein.

“Unfunded Pension Liability” means the excess of a Pension Plan’s “benefit liabilities”
(as defined in Section 4001(a)(16) of ERISA), over the current value of that Pension Plan’s as-
sets, determined in accordance with the assumptions used for funding the Pension Plan pursuant
to Section 412 of the Code for the applicable plan year.

22505703.11.BUSINESS 30
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 38 of 121

“United States” and “U.S.” mean the United States of America.
“Variance” has the meaning assigned to such term in the definition of “Variance Report”.

“Variance Report” means a report certified by a Responsible Officer of the Borrower, in
form reasonably satisfactory the Lenders, delivered in accordance with Section 6.01(d), showing
(a) the actual cumulative receipts and disbursements as of the end of the week immediately pre-
ceding the week during which such Variance Report is delivered and (b) commencing with the
second Thursday following the Petition Date, the variance, expressed as both a percentage and as
a dollar amount, of such amounts for ali applicable weeks since the Closing Date, on a rolling
basis (and without giving effect to the making of any Loans or prepayments of any Loans), from
the corresponding anticipated amount therefor set forth in the most recent Budget (each a “Vari-
ance”).

“Weighted Average Life to Maturity” means, when applied to any Indebtedness at any
date, the number of years obtained by dividing: (i) the sum of the products obtained by multiply-
ing (a) the amount of each then remaining installment, sinking fund, serial maturity or other re-
quired payments of principal, including payment at final maturity, in respect thereof, by (b) the
number of years (calculated to the nearest one-twelfth) that will elapse between such date and the
making of such payment by (ii) the then outstanding principal amount of such Indebtedness.

“Write-Down and Conversion Powers” means, with respect to any EEA Resolution Au-
thority, the write-down and conversion powers of such EEA Resolution Authority from time to
time under the Bail-In Legislation for the applicable EEA Member Country, which write-down
and conversion powers are described in the EU Bail-In Legislation Schedule.

Section 1.02 Other Interpretive Provisions. With reference to this Agreement and each
other Loan Document, unless otherwise specified herein or in such other Loan Document:

(a) The definitions of terms herein shall apply equally to the singular and plural
forms of the terms defined. Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms. The words “include,” “includes” and “‘in-
cluding” shall be deemed to be followed by the phrase “without limitation.” The word “will”
shall be construed to have the same meaning and effect as the word “shall.” Unless the context
requires otherwise, (i) any definition of or reference to any agreement, instrument or other doc-
ument (including any Organization Document) shall be construed as referring to such agreement,
instrument or other document as from time to time amended, supplemented or otherwise modi-
fied (subject to any restrictions on such amendments, supplements or modifications set forth
herein or in any other Loan Document), (ii) any reference herein to any Person shall be construed
to include such Person’s successors and assigns, (iii) the words “herein,” “hereof” and “hereun-
der,” and words of similar import when used in any Loan Document, shall be construed to refer
to such Loan Document in its entirety and not to any particular provision thereof, (iv) all refer-
ences in a Loan Document to Articles, Sections, Preliminary Statements, Exhibits and Schedules
shall be construed to refer to Articles and Sections of, and Preliminary Statements, Exhibits and
Schedules to, the Loan Document in which such references appear, (v) any reference to any law
shall include all statutory and regulatory provisions consolidating, amending, replacing or inter-
preting such law and any reference to any law or regulation shall, unless otherwise specified, re-

22505703,11.BUSINESS 31
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 39 of 121

fer to such law or regulation as amended, modified or supplemented from time to time, and (vi)
the words “asset” and “property” shall be construed to have the same meaning and effect and to
refer to any and all tangible and intangible assets and properties, including cash, securities, ac-
counts and contract rights.

(b) In the computation of periods of time from a specified date to a later specified
date, the word “from” means “from and including”; the words “to” and “until” each mean “to but
excluding”; and the word “through” means “to and including.”

(c) Section headings herein and in the other Loan Documents are included for con-
venience of reference only and shall not affect the interpretation of this Agreement or any other
Loan Document.

Section 1.03 Accounting Terms.

(a) Generally. All accounting terms not specifically or completely defined herein
shall be construed in conformity with, and all financial data (including financial ratios and other
financial calculations) required to be submitted pursuant to this Agreement shall be prepared in
conformity with, GAAP applied on a consistent basis, as in effect from time to time, applied in a
manner consistent with that used in preparing the Audited Financial Statements, except as other-
wise specifically prescribed herein.

(b) Changes in GAAP. If at any time any change in GAAP would affect the compu-
tation of any financial ratio or requirement set forth in any Loan Document, and either the Bor-
rower or the Required Lenders shall so request, the Administrative Agent, the Lenders and the
Borrower shall negotiate in good faith to amend such ratio or requirement to preserve the origi-
nal intent thereof in light of such change in GAAP (subject to the approval of the Required
Lenders); provided that, until so amended, (i) such ratio or requirement shail continue to be
computed in accordance with GAAP prior to such change therein and (ii) the Borrower shall
provide to the Administrative Agent and the Lenders financial statements and other documents
required under this Agreement or as reasonably requested hereunder together with a reconcilia-
tion between calculations of such ratio or requirement made before and after giving effect to
such change in GAAP; provided further that such reconciliation shall be required to be provided
only for the four fiscal quarters following such change or such longer period as may be reasona-
bly requested by the Administrative Agent.

Section 1.04 Rounding. Any financial ratios required to be maintained by the Borrower
pursuant to this Agreement shall be calculated by dividing the appropriate component by the oth-
er component, carrying the result to one place more than the number of places by which such ra-
tio is expressed herein and rounding the result up or down to the nearest number (with a round-
ing-up if there is no nearest number).

Section 1.05 Times of Day. Unless otherwise specified, all references herein to times
of day shall be references to Eastern Time (daylight or standard, as applicable).

Section 1.06 Currency Equivalents Generally. Any amount specified in this Agreement
(other than in Articles Il, [IX and X) or any of the other Loan Documents to be in Dollars shall

22305703.11. BUSINESS 32
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 40 of 121

also include the equivalent of such amount in any currency other than Dollars, such equivalent
amount thereof in the applicable currency to be determined by the Administrative Agent at such
time on the basis of the Spot Rate (as defined below) for the purchase of such currency with Dol-
lars. For purposes of this Section 1.06, the “Spot Rate” for a currency means the rate determined
by the Administrative Agent to be the rate quoted by the Person acting in such capacity as the
spot rate for the purchase by such Person of such currency with another currency through its
principal foreign exchange trading office at approximately 11:00 a.m. on the date two Business
Days prior to the date of such determination; provided that the Administrative Agent may obtain
such spot rate from another financial institution designated by the Administrative Agent if the
Person acting in such capacity does not have as of the date of determination a spot buying rate
for any such currency. Notwithstanding the foregoing, for purposes of determining compliance
with Sections 8.01, 8.02 and 8.03 with respect to any amount of Indebtedness or Investment in a
currency other than Dollars, no Default shall be deemed to have occurred solely as a result of
changes in rates of exchange occurring after the time such Indebtedness or Investment is in-
curred; provided that, for the avoidance of doubt, the foregoing provisions of this Section 1.06
shall otherwise apply to such Sections, including with respect to determining whether any In-
debtedness or Investment may be incurred at any time under such Sections.

 

ARTICLE II.
THE COMMITMENTS AND CREDIT EXTENSIONS

Section 2.01 The Facilities.

(a) Roll Up Facility.

{i) Upon entry of the Interim Order, each Lender who is a Pre-Petition Inden-
ture Noteholder, or in the case of each Lender who designates in the “Roll Up Affiliate”
column on Schedule 2.01 a Pre-Petition Indenture Noteholder that is an Affiliate or Ap-
proved Fund of such Lender or a fund or account managed or sub-advised by such Lend-
er or such Affiliate or Approved Fund (each, a “Roll Up Affiliate”), such Roll Up Affili-
ate shall be deemed to have exchanged its Pre-Petition Indenture Notes in an aggregate
principal amount equal to the amount of such Lender’s Initial Commitment which has
been actually disbursed to the Borrower pursuant to Section 2.03, for loans hereunder on
a dollar for dollar basis (each such loan deemed made in exchange for such Pre-Petition
Indenture Notes, an “Initial Rol! Up Loan”, and collectively, the “Initial Roll Up Loans”).
Each Lender that is a Pre-Petition Indenture Noteholder and each Roll Up Affiliate as of
the entry of the Interim Order shall be identified in a schedule delivered to the Adminis-
trative Agent on such date.

(ii) So tong as permitted by the Final Order, upon entry of the Final Order,
each Lender who is a Pre-Petition Indenture Noteholder, or in the case of each Lender
who designates a Roll Up Affiliate, such Roll Up Affiliate, shall be deemed to have ex-
changed additional Pre-Petition Indenture Notes held by it in an aggregate principal
amount equal to the amount of Initia) Loans plus Delayed Draw Loans of such Lender or
such Roll Up Affiliate, as applicable, hereunder which have been actually disbursed to
‘the Borrower pursuant to Section 2.03, for loans hereunder so that the aggregate total of
such loans received by such Lender or such Roll Up Affiliate under this Section ©

22505703.11 BUSINESS 33
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 41 of 121

2.01(a)@) and (ii) in exchange for the applicable Lender’s Pre-Petition Indenture Notes
plus accrued and unpaid interest thereon result in an exchange on a 2:1 basis for every
dollar of the New Money Facility under Section 2.01(b) actually disbursed to the Bor-
rower pursuant to Section 2.03 (each such loan deemed made in exchange for such addi-
tional Pre-Petition Indenture Notes, an “Additional Roll Up Loan”, and collectively, the
“Additional Roll Up Loans”, and the Additional Roll Up Loans together with the Initial
Roll Up Loans, the “Roll Up Loans”). Notwithstanding anything herein or in any other
Loan Document to the contrary, if the terms of the DIP Orders do not permit such addi-
tional exchange, (A) no additional Pre-Petition Indenture Notes shall be exchanged pur-
suant to this clause (11) and (B) no Additional Roll Up Loans shall be deemed to be out-
standing hereunder.

(iii) | All such Pre-Petition Indenture Notes so exchanged shall be deemed re-
paid in full and no longer outstanding. The facility described in this Section 2.01(a) is re-
ferred to herein as the “Roll Up Facility”.

(b) New Money Facility.

(i) Subject to the terms and conditions herein and in the DIP Orders and rely-
ing upon the representations and warranties herein set forth, each Lender agrees, several-
ly and not jointly, to make (i) a single loan to the Borrower on the Interim Order Entry
Date in an aggregate principal amount not to exceed its Initial Commitment (such loans,
each an “Initial Loan” and collectively, the “Initial Loans”) and (ii) a single loan on the
Delayed Draw Loan Funding Date in an aggregate principal amount not to exceed its De-
layed Draw Commitment (such loans, each a “Delayed Draw Loan” and collectively, the
“Delayed Draw Loans”). Following the making of the Initial Loans, the Initial Commit-
ment of such Lender shall terminate, and following the making of the Delayed Draw
Loans, the Delayed Draw Commitment of such Lender shall terminate. Any remaining
Initial Commitments or Delayed Draw Commitments shall automatically terminate on (1)

usiness. Day] following the entry of the Interim Order in the case of the Ini-
tial Loans and (2) the [second Business Day| following the Delayed Draw Loan Funding
Date in the case of the Delayed Draw Loans. Once funded, each Initial Loan and De-
layed Draw Loan shall be a “Loan” for all purposes under this Agreement and the other
Loan Documents. Amounts paid or prepaid in respect of Loans may not be reborrowed.

The facility provided for in this Section 2.01(b) shall be referred to herein as the “New
Money Facility”.

 

(ii) All proceeds from the New Money Facility shall be deposited into the
Segregated Pre-Funding Account and shall be disbursed to the Borrower in accordance
with, subject to and to the extent provided in, Section 2.03. For the avoidance of doubt, it
is understood and agreed that (A) the funds on deposit in the Segregated Pre-Funding Ac-
count shall not be assets of any of the Loan Parties, (B) the Loan Parties shall have no
right, title or interest in amounts on deposit in the Segregated Pre-Funding Account other
than to request a disbursement hereunder in accordance with the terms of this Agreement.

22505703.11.BUSINESS 34
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 42 of 121

Section 2.02 Borrowings, Conversions and Continuations of Loans.

(a) Each Borrowing or each conversion of Loans from one Type to the other, and
each continuation of Eurodollar Rate Loans shall be made upon the Borrower’s irrevocable writ-
ten notice to the Administrative Agent. Each such notice must be received by the Administrative
Agent not later than 11:00 a.m. (i) three Business Days prior to the requested date of any Bor-
rowing of, conversion to or continuation of Eurodollar Rate Loans or of any conversion of Euro-
dollar Rate Loans to Base Rate Loans, and (ii) one Business Day prior to the requested date of
any Borrowing of Base Rate Loans. Not later than 11:00 a.m., one Business Day before the re-
quested date of such Borrowing, conversion or continuation, the Administrative Agent shall noti-
fy the Borrower in writing whether or not the requested Interest Period has been consented to by
all the Lenders. Each written notice contemplated by this Section 2.02(a) shall be made pursuant
to a written Committed Loan Notice, appropriately completed and signed by a duly authorized
officer of the Borrower. Each Borrowing of, conversion to or continuation of Eurodollar Rate
Loans shall be in a principal amount of $100,000 or a whole multiple of $50,000 in excess there-
of (or as otherwise agreed to by the Administrative Agent). Each Borrowing of or conversion to
Base Rate Loans shall be in a principal amount of $100,000 or a whole multiple of $50,000 in
excess thereof (or as otherwise agreed to by the Administrative Agent). Each Committed Loan
Notice shall specify (i) whether the Borrower is requesting a Borrowing or a conversion of Loans
from one Type to the other, or a continuation of Eurodollar Rate Loans, (ii) the requested date of
the Borrowing, conversion or continuation, as the case may be (which shall be a Business Day),
(i) the principal amount of Loans to be borrowed, converted or continued, (iv) the Type of
Loans to be borrowed or to which existing Loans are to be converted, and (v) if applicable, the
duration of the Interest Period with respect thereto. If the Borrower fails to specify a Type of
Loan in a Committed Loan Notice or if the Borrower fails to give a timely notice requesting a
conversion or continuation, then the applicable Loans shall be made as, or converted to, Base
Rate Loans. If the Borrower requests a Borrowing of or continuation of Eurodollar Rate Loans
but fails to specify an Interest Period, it will be deemed to have specified an Interest Period of
one month. Any such automatic conversion to Base Rate Loans shall be effective as of the last
day of the Interest Period then in effect with respect to the applicable Eurodollar Rate Loans.

(b) Following receipt of a Committed Loan Notice, the Administrative Agent shall
promptly notify each Lender of the amount of its Pro Rata Share under the applicable Loans, and
if no timely notice of a conversion or continuation is provided by the Borrower, the Administra-
tive Agent shall notify each Lender of the details of any automatic conversion to Base Rate
Loans described in Section 2.02(a). Each Lender shall make the amount of its Loan available to
the Administrative Agent in immediately available funds at the Administrative Agent’s Office
not later than [2: m.] on the Business Day specified in the applicable Committed Loan No-
tice (each such date, a “Funding Date”). Upon satisfaction of the applicable conditions set forth
in Section 4.02 (and, if such Borrowing is the initial Credit Extension, Section 4.01) and receipt
of each Lender’s Pro Rata Share of such Loans (other than the portion to be funded by a Default-
ing Lender), the Administrative Agent shall make ali funds so received available to the Borrow-
er, subject to the DIP Orders and the Budget (including Permitted Variances), in like funds as
received by the Administrative Agent, provided that such funds be deposited into the Segregated
Pre-Funding Account and only disbursed in accordance with the terms of Section 2.03.

 

22505703.11. BUSINESS 35
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 43 of 121

(c) Except as otherwise provided herein, a Eurodollar Rate Loan may be continued or
converted only on the last day of an Interest Period for such Eurodollar Rate Loan. During the
existence of a Default, no Loans may be requested as, converted to or continued as Eurodollar
Rate Loans without the consent of the Required Lenders.

(d) The Administrative Agent shall promptly notify the Borrower and the Lenders of
the interest rate applicable to any Interest Period for Eurodollar Rate Loans upon determination
of such interest rate. At any time that Base Rate Loans are outstanding, the Administrative
Agent shall notify the Borrower and the Lenders of any change in the prime rate used in deter-
mining the Base Rate promptly following such change.

(ec) After giving effect to all Borrowings, all conversions of Loans from one Type to
the other, and all continuations of Loans as the same Type, there shall not be more than seven
Interest Periods in effect in respect of the Facility, or such greater number of Interest Periods as
may be agreed to by the Administrative Agent.

Section 2.03 Disbursements from Segregated Pre-Funding Account.

(a) From and after the funding of the Initial Loans or the Delayed Draw Loans, the
Borrower may request proceeds from such Loans on deposit in the Segregated Pre-Funding Ac-
count be disbursed from such account to the Borrower on a weekly basis in accordance with the
Budget until the DIP Maturity Date (or more frequently as determined by the Required Lenders
in their sole discretion). To request such disbursement, the Borrower shall deliver to the Admin-
istrative Agent and the Lenders a Notice of Request for Disbursement, which notice must be re-
ceived by the Administrative Agent no later than 11:00 a.m. at least one Business Day prior to
the date of the requested disbursement. Such Notice of Request for Disbursement shall specify:

(i) the amount of the disbursement to be made, which shall be an amount not
to exceed the least of (1} an amount, such that after making such disbursement, the cumu-
lative amount of disbursements so made since the date of the first disbursement would
not exceed the amount set forth in the Budget for such period, (2) the amount permitted
in the DIP Orders and (3) the amount available in the Segregated Pre-Funding Account as
of the date of the proposed disbursement (such date, the “Disbursement Date”); and

(ii) | the Disbursement Date, which shall be a Business Day.

(b) Upon receipt of a Notice of Request for Disbursement, the Administrative Agent
shall promptly notify each Lender of the amount of its Pro Rata Share of the Loans to be dis-
bursed on such Disbursement Date.

(c) Such disbursements shall be made available to the Borrower by wire transfer of
such amount to the account as specified by the Borrower in the Notice of Request for Disburse-
ment to the Administrative Agent, which such account shall be subject to a Control Agreement.
The Borrower shall promptly direct and apply such amounts for the purposes set forth in the
Budget (subject to Permitted Variances).

22505703.11. BUSINESS 36
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 44 of 121

(d) Notwithstanding anything herein to the contrary, (i) there shall not be more than
one (1) disbursement in any calendar week unless otherwise agreed to by the Required Lenders
in their sole discretion, (ii) no disbursement shall be issued during any week when the Budget
does not provide for such a disbursement, unless otherwise consented to by the Required Lenders
and (iii) all conditions precedent set forth in Section 4.03 shall have been fulfilled or waived by
the Required Lenders and the Unanimous DIP Lenders before any such disbursement may be
made.

Section 2.04 Prepayments.

(a) Optional. The Borrower may, upon three (3) Business Days prior written notice
for a Eurodollar Rate Loan and upon one Business Day prior written notice for a Base Rate
Loan, prepay the outstanding principal amount of any Loan in whole or in part at any time (to-
gether with any breakage costs that may be owing pursuant to Section 3.05 after giving effect to
such prepayment); provided, however, that each partial prepayment that is not of the entire out-
standing amount under the Facility shall be in a minimum amount of $[100,000) and increments
of $[30,0
rowed.

 

(b) Mandatory.

(i) (A) if (x) any Loan Party or any Subsidiary thereof Disposes or proposes
to Dispose of any property or assets (other than Net Cash Proceeds of sales or other dis-
positions of inventory in the ordinary course of business as permitted by Section 8.05(a),
Section 8.05(b) and Section 8.05(c) (io the extent constituting a Disposition to a Loan
Party)), (y} any Casualty Event occurs or (z) the Borrower or any Guarantor issues or
proposes to issue any Equity Interest, the Borrower shall (1) promptly notify the Admin-
istrative Agent in writing of such proposed Disposition, Casualty Event or issuance of
Equity Interest (in each case, including a description of such property or assets (if appli-
cable) and the estimated amount of Net Cash Proceeds to be received by a Loan Party or
any Subsidiary thereof in respect thereof and the expected date of prepayment) and (2)
make a prepayment, in accordance with Section 2.04(b)(ii), of an aggregate principal
amount of Loans equal to 100% of all such Net Cash Proceeds realized or received.

(ii} | On each occasion that the Borrower must make a prepayment of the Loans
pursuant to Section 2.04(b)(i), the Borrower shall, within [five (5). Business
the date of realization or receipt of such Net Cash Proceeds, make a prepayment, in ac-
cordance with Section 2.04(b)(v) below, of the principal amount of Loans in an amount

equal to 100% of such Net Cash Proceeds realized or received.

   
 

  

(iii) If any Loan Party or Subsidiary thereof incurs or issues any Indebtedness
not expressly permitted to be incurred or issued pursuant to Section 8.03, the Borrower
shall cause to be prepaid an aggregate principal amount of Loans equal to 100% of all
Net Cash Proceeds received therefrom on the first Business Day following the date of re-
ceipt of such Net Cash Proceeds.

22505703.11.BUSINESS 37
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 45 of 121

(iv) Each prepayment of Loans pursuant to this Section 2.04(b) shall be ap-
plied in accordance with the provisions set forth in Section 9.03.

(v) The Borrower shall notify the Administrative Agent in writing substantial-
ly in the form of Exhibit H of any mandatory prepayment of Loans required to be made
pursuant to clauses (ii) and (iii) of this Section 2.04(b) at least one (1) Business Day prior
to 1:00 p.m. on the date of such prepayment. Each such notice shall specify the date of
such prepayment and provide a reasonably detailed calculation of the amount of such
prepayment. The Administrative Agent will promptly notify each Lender of the contents
of the Borrower’s prepayment notice and of such Lender’s Pro Rata Share of the prepay-
ment,

(c) Interest, Funding Losses, Etc. All prepayments under this Section 2.04 shall be
accompanied by all accrued and unpaid interest thereon, together with, in the case of any such
prepayment of a Eurodollar Rate Loan on a date other than the last day of an Interest Period
therefor, any amounts owing in respect of such Eurodollar Rate Loan pursuant to Section 3.05.

Notwithstanding any of the other provisions of this Section 2.04, so long as no Default or Event
of Default shall have occurred and be continuing, if any prepayment of Eurodollar Rate Loans is
required to be made under this Section 2.04, prior to the last day of the Interest Period therefor,
in lieu of making any payment pursuant to this Section 2.04 in respect of any such Eurodollar
Rate Loan prior to the last day of the Interest Period therefor, the Borrower may, in its sole dis-
cretion, deposit with the Administrative Agent the amount of any such prepayment otherwise
required to be made hereunder until the last day of such Interest Period, at which time the Ad-
ministrative Agent shall be authorized (without any further action by or notice to or from the
Borrower or any other Loan Party) to apply such amount to the prepayment of such Loans in ac-
cordance with this Section 2.04. Such deposit shall constitute cash collateral for the Eurodoliar
Rate Loans to be so prepaid, provided that the Borrower may at any time direct that such deposit
be applied to make the applicable payment required pursuant to this Section 2.04.

22505703.11. BUSINESS 38
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 46 of 121

Section 2.05 Repayment of Loans. On the DIP Maturity Date, (i) if the Reorganization
Plan is not confirmed or if the Restructuring Support Agreement is terminated or otherwise not
in full force and effect, then the Borrower shall repay the Loans, together with all other Obliga-
tions hereunder and under the other Loan Documents (other than contingent indemnification and
expense reimbursement obligations for which no claim has been made), in full in cash and (ii) if
both the Reorganization Plan is confirmed and the Restructuring Support Agreement remains in
full force and effect, all outstanding principal, accrued and unpaid interest and all other Obliga-
tions hereunder (other than contingent indemnification and expense reimbursement obligations
for which no claim has been made) shall be exchanged for an equivalent amount of principal of
loans under the Exit Second Lien Facility and upon such full and complete exchange pursuant to
this clause (ii), the Borrower’s Obligations hereunder and under the other Loan Documents (oth-
er than contingent indemnification and expense reimbursement obligations for which no claim
has been made) shall be deemed to have been satisfied in full; provided, that the Borrower shall
repay any Obligations owing to the Administrative Agent (other than contingent indemnification
and expense reimbursement obligations for which no claim has been made) in full in cash on the
DIP Maturity Date regardless of whether the Restructuring Support Agreement is terminated or
remains in full force and effect or the Reorganization Plan has been confirmed or not confirmed.

Section 2.06 Interest.

(a) Subject to the provisions of Section 2.06(b), (i) each Eurodollar Rate Loan under
the Facility shall bear interest (from the time of disbursement pursuant to Section 2.03) on the
outstanding principal amount thereof for each Interest Period at a rate per annum equal to the Eu-
rodollar Rate for such Interest Period plus the Applicable Rate for the Facility; and (ii) each Base
Rate Loan under the Facility shall bear interest (from the time of disbursement pursuant to Sec-
tion 2.03) on the outstanding principal amount thereof from the applicable borrowing date at a
rate per annum equal to the Base Rate plus the Applicable Rate for the Facility.

(b) (i): If the Borrower shall default in the payment of any principal of or interest on
any Loan or any other amount due hereunder or under any other Loan Document, by acceleration
or otherwise, or any Event of Default shall occur and be continuing, then, until such defaulted
amount shall have been paid in full or such Event of Default shall no longer exist, all Obligations
shall bear interest (after as well as before judgment), payable on demand, at a fluctuating interest
rate per annum at all times equal to the Default Rate.

(ii) | Accrued and unpaid interest on past due amounts (including interest on
past due interest) shall be due and payable upon demand.

(c} Interest on each Loan shall be due and payable in arrears on each Interest Pay-
ment Date applicable thereto and at such other times as may be specified herein. Interest here-
under shall be due and payable in accordance with the terms hereof before and after judgment,
and before and after the commencement of any proceeding under any Debtor Relief Law. Any
interest payable hereunder shall automatically and without further action on the applicable Inter-
est Payment Date be capitalized, compounded and added to the then unpaid principal amount of
the Loans (the “PIK Interest”) and shall thereafter be deemed to be a part of the principal amount
of the Loans. All PIK Interest that has accrued shali be payable in cash on the DIP Maturity
Date. The Borrower shall not issue any additional promissory notes to represent the PIK Inter-

22505703.11.BUSINESS 39
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 47 of 121

est, and, in lieu thereof, the Administrative Agent shall keep a ledger of the amount of PIK Inter-
est that has accrued, which ledger shall be presumed to be correct absent manifest error.

Section 2.07 Fees.

(a) Unused Commitment Fee. The Borrower agrees to pay to each Lender (other than
a Defaulting Lender) a commitment fee on the actual daily amount by which (i) the Initial Com-
mitments of such Lender exceeds its Pro Rata Share of the aggregate outstanding principal
amount of the Initial Loans from the Closing Date to the Final Order Entry Date at a rate per an-
num equal to 0.5% per annum and (ii) the Commitments of such Lender exceeds its Pro Rata
Share of the aggregate outstanding principal amount of the Initial Loans and the Delayed Draw
Loans from and including the Final Order Entry Date through the DIP Maturity Date at a rate per
annum equal to 0.5% per annum, in each case of this clause (1) and (ii), payable in arrears and in
cash (x) on the last Business Day of each month, and (y) on the DIP Maturity Date.

(b) Commitment Fee. The Borrower shall pay on the Closing Date to each Lender
party to this Agreement as a Lender on the Closing Date, as fee compensation for agreeing to
fund such Lender’s Commitments, a commitment fee in an amount equal to 2.0% of the stated
principal amount of such Lender’s Commitments. Such fee shall be in all respects fully earned,
due and payable on the Closing Date and non-refundable and non-creditable thereafter and shall
automatically and without further action be added to the outstanding amount of the Loans as of
the Closing Date.

(c) Backstop Commitment Fee. The Borrower agrees to pay on each Funding Date to
each Backstop Lender party to this Agreement as a Lender on such Funding Date, as fee com-
pensation for the funding of the Commitments held by such Backstop Lender on the Closing
Date, a fee in an amount equal to 3.0% of the stated principal amount of such Commitments
funded on such date (in each case regardless of whether such Commitments are funded by such
Backstop Lender, any assignee of such Backstop Lender, any Affiliate or Approved Fund of such
Backstop Lender or assignee or any combination of the foregoing), payable in cash to such
Backstop Lender. Such fee shall be in all respects fully earned, due and payable on such funding
date and non-refundable and non-creditable thereafter.

(d) | Administrative Agent Fees. The Borrower shall pay to the Administrative Agent
such fees as have been agreed upon in writing as set forth in the Agent Fee Letter.

(e) Other Fees. The Borrower shall pay to the Lenders such fees as shall have been
separately agreed upon in writing in the amounts and at the times so specified. Such fees shall
be fully earned when paid and shall not be refundable for any reason whatsoever.

Section 2.08 Computation of Interest and Fees. All computations of interest for Base
Rate Loans when the Base Rate is determined by the “prime rate” shall be made on the basis of a
year of 365 or 366 days, as the case may be, and actual days elapsed. All other computations of
fees and interest shall be made on the basis of a 360-day year and actual days elapsed (which re-
sults in more fees or interest, as applicable, being paid than if computed on the basis of a 365-day
year). Interest shall accrue on each Loan for the day on which the Loan is made, and shall not
accrue on a Loan, or any portion thereof, for the day on which the Loan or such portion is paid,

22505703.11. BUSINESS 40
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 48 of 121

provided that any Loan that is repaid on the same day on which it is made shall, subject to Sec-
tion 2.10(a), bear interest for one day. Each determination by the Administrative Agent of an
interest rate or fee hereunder shall be conclusive and binding for all purposes, absent manifest
error.

Section 2.09 Evidence of Debt. The Credit Extensions made by each Lender shall be
evidenced by one or more accounts or records maintained by such Lender and by the Adminis-
trative Agent in the ordinary course of business. The accounts or records maintained by the Ad-
ministrative Agent and each Lender shall be conclusive absent manifest error of the amount of
the Credit Extensions made by the Lenders to the Borrower and the interest and payments there-
on. Any failure to so record or any error in doing so shall not, however, limit or otherwise affect
the obligation of the Borrower hereunder to pay any amount owing with respect to the Obliga-
tions. In the event of any conflict between the accounts and records maintained by any Lender
and the accounts and records of the Administrative Agent in respect of such matters, the accounts
and records of the Administrative Agent shail control in the absence of manifest error. Upon the
request of any Lender made through the Administrative Agent, the Borrower shall execute and
deliver to such Lender (through the Administrative Agent) a Note, which shall evidence such
Lender’s Loans in addition to such accounts or records. Each Lender may attach schedules to its
Note and endorse thereon the date, Type (if applicable), amount and maturity of its Loans and
payments with respect thereto.

Section 2.10 Payments Generally; Administrative Agent’s Clawback.

(a) General. All payments to be made by the Borrower shall be made without condi-
tion or deduction for any counterclaim, defense, recoupment or setoff. Except as otherwise ex-
pressly provided herein, all payments by the Borrower hereunder shall be made to the Adminis-
trative Agent, for the account of the respective Lenders to which such payment is owed, at the
Administrative Agent’s Office in Dollars and in immediately available funds not later than 2:00
p.m. on the date specified herein. The Administrative Agent will promptly distribute to each
Lender its Pro Rata Share in respect of the Facility (or other applicable share as provided herein)
of such payment in like funds as received by wire transfer to such Lender’s Lending Office. All
payments received by the Administrative Agent after 2:00 p.m. may be deemed received on the
next succeeding Business Day and any applicable interest or fee shall continue to accrue. If any
payment to be made by the Borrower shall come due on a day other than a Business Day, pay-
ment shall be made on the next following Business Day, and such extension of time shall be re-
flected on computing interest or fees, as the case may be.

(b) (i) Reserved.

(ii) Payments by Borrower; Presumptions by Administrative Agent. Unless

the Administrative Agent shall have received written notice from the Borrower prior to
the time at which any payment is due to the Administrative Agent for the account of the
Lenders hereunder that the Borrower will not make such payment, the Administrative
Agent may assume that the Borrower has made such payment on such date in accordance
herewith and may, in reliance upon such assumption, distribute to the Lenders, as the

 

'NTD: TBD interest accrual.

22505703.11-BUSINESS 41
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 49 of 121

case may be, the amount due. In such event, if the Borrower has not in fact made such
payment, then each of the Lenders, as the case may be, severally agrees to repay to the
Administrative Agent forthwith on demand the amount so distributed to such Lender, in
immediately available funds with interest thereon, for each day from and including the
date such amount is distributed to it to but excluding the date of payment to the Adminis-
trative Agent, at the greater of the Federal Funds Rate and a rate determined by the Ad-
ministrative Agent in accordance with banking industry rules on interbank compensation.

A notice of the Administrative Agent to any Lender or the Borrower with respect to any
amount owing under this subsection (b) shall be conclusive, absent manifest error.

(c) Failure to Satisfy Conditions Precedent. If any Lender makes available to the
Administrative Agent funds for any Loan to be made by such Lender as provided in the forego-
ing provisions of this Article II, and such funds are not made available to the Borrower by the
Administrative Agent because the conditions to the applicable Credit Extension set forth in Arti-
cle IV are not satisfied or waived in accordance with the terms hereof, the Administrative Agent
shall return such funds (in like funds as received from such Lender) to such Lender, without in-
terest from the Borrower or any other Person.

(d) Obligations of Lenders Several. The obligations of the Lenders hereunder to
make Loans and to make payments pursuant to Section 11.04(c) are several and not joint. The
failure of any Lender to make any Loan or to make any payment under Section 11.04(c) on any
date required hereunder shall not relieve any other Lender of its corresponding obligation to do
so on such date, and no Lender shall be responsible for the failure of any other Lender to so
make its Loan or to make its payment under Section 11.04(c).

@) Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain
the funds for any Loan in any particular place or manner or to constitute a representation by any
Lender that it has obtained or will obtain the funds for any Loan in any particular place or man-
ner,

(f Insufficient Funds. If at any time insufficient funds are received by and available
to the Administrative Agent to pay fully all amounts of principal, interest and fees then due here-
under, such funds shall be applied (i) first, toward payment of interest and fees then due hereun-
der, ratably among the parties entitled thereto in accordance with the amounts of interest and fees
then due to such parties, and (ii) second, toward payment of principal then due hereunder, ratably
among the parties entitled thereto in accordance with the amounts of principal then due to such
parties.

Section 2.11 Sharing of Payments by Lenders. If any Lender shall, by exercising any
right of setoff or counterclaim or otherwise, obtain payment in respect of (a} Obligations in re-
spect of the Facilities due and payable to such Lender hereunder and under the other Loan Doc-
uments at such time in excess of its ratable share (according to the proportion of (i) the amount
of such Obligations due and payable to such Lender at such time to (ii) the aggregate amount of
the Obligations in respect of the Facilities due and payable to all Lenders hereunder and under
the other Loan Documents at such time) of payments on account of the Obligations in respect of
the Facilities due and payable to all Lenders hereunder and under the other Loan Documents at

22505703. 11. BUSINESS 42
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 50 of 121

such time obtained by all the Lenders at such time or (b) Obligations in respect of any of the Fa-
cilities owing (but not due and payable) to such Lender hereunder and under the other Loan
Documents at such time in excess of its ratable share (according to the proportion of (i) the
amount of such Obligations owing (but not due and payable) to such Lender at such time to (ii)
the aggregate amount of the Obligations in respect of the Facilities owing (but not due and paya-
ble) to all Lenders hereunder and under the other Loan Documents at such time) of payment on
account of the Obligations in respect of the Facilities owing (but not due and payable) to all
Lenders hereunder and under the other Loan Documents at such time obtained by all of the
Lenders at such time then the Lender receiving such greater proportion shall (a) notify the Ad-
ministrative Agent of such fact, and (b) make such other adjustments as shall be equitable, so
that the benefit of all such payments shall be shared by the Lenders ratably in accordance with
the aggregate amount of Obligations in respect of the Facilities then due and payable to the
Lenders or owing (but not due and payable) to the Lenders, as the case may be, provided that: the
provisions of this Section 2.11 shall not be construed to apply to (A) any payment made by the
Borrower or Holdings pursuant to and in accordance with the express terms of this Agreement or
(B) any payment obtained by a Lender as consideration for the assignment of any of its Loans to
any assignee.

Each Loan Party consents to the foregoing.

Section 2.12 Defaulting Lenders. Notwithstanding any provision of this Agreement to
the contrary, if any Lender becomes a Defaulting Lender, then the Commitments and Outstand-
ing Amount of Loans of such Defaulting Lender shall not be included in determining whether all
Lenders or the Required Lenders or the Unanimous DIP Lenders have taken or may take any ac-
tion hereunder (including any consent to any amendment, waiver or other modification pursuant
to Section 11.01); provided that any waiver, amendment or modification requiring the consent of
all Lenders or each affected Lender which affects such Defaulting Lender disproportionately
when compared to the other affected Lenders, or increases or extends the Commitment of such
Defaulting Lender, or extends the DIP Maturity Date beyond December 14, 2016 or reduces the
principal of the Loans of such Defaulting Lender, shall require the consent of such Defaulting
Lender.

ARTICLE III.
TAXES, YFELD PROTECTION AND ILLEGALITY

Section 3.01 Taxes.

(a) Payments Free of Taxes; Obligation to Withhold; Payments on Account of Taxes.
(i) Any and all payments by or on account of any obligation of any Loan Party hereunder or un-
der any other Loan Document shall to the extent permitted by applicable Laws be made free and
clear of and without reduction or withholding for any Taxes.

(ii) ‘If any applicable withholding agent shall be required by applicable Laws
to withhold or deduct any Taxes from any payment, then (A) the applicable withholding
agent shall withhold or make such deductions as are determined by the applicable with-
holding agent to be required, (B) the applicable withholding agent shall timely pay the
full amount withheld or deducted to the relevant Governmental Authority in accordance

22505703.11. BUSINESS 43
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 51 of 121

with applicable Laws, and (C) to the extent that the withholding or deduction is made on
account of Indemnified Taxes, the sum payable by the applicable Loan Party shall be in-
creased as necessary so that after any required withholding or the making of all required
deductions (including deductions applicable to additional sums payable under this Sec-
tion 3.01) the Administrative Agent or Lender, as the case may be, receives an amount
equal to the sum it would have received had no such withholding or deduction been
made.

(b) Payment of Other Taxes by the Borrower. Without limiting or duplicating the
provisions of subsection (a) above, the Borrower shail timely pay any Other Taxes to the relevant
Governmental Authority in accordance with applicable Laws.

 

(c) Tax Indemnifications. Without limiting or duplicating the provisions of subsec-
tion (a) or (b) above, the Borrower shall indemnify the Administrative Agent and each Lender,
and shall make payment in respect thereof within 10 days after receipt of written demand there-
for, for the full amount of any Indemnified Taxes (including Indemnified Taxes imposed or as-
serted on or attributable to amounts payable under this Section 3.01) paid or payable by the Ad-
ministrative Agent or such Lender, as the case may be, and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legal-
ly imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
any such payment or liability delivered to the Borrower by a Lender (with a copy to the Admin-
istrative Agent), or by the Administrative Agent on its own behalf or on behalf of a Lender, shall
be conclusive absent manifest error.

(d) Evidence of Payments. As soon as practicable after any payment of Taxes by any
Loan Party to a Governmental Authority as provided in this Section 3.01, such Loan Party shall
deliver to the Administrative Agent, the original or a certified copy of a receipt issued by such
Governmental Authority evidencing such payment, a copy of any return required by applicable
Laws to report such payment or other evidence of such payment reasonably satisfactory to the
Administrative Agent.

(e) Status of Lenders; Tax Documentation. (i) Each Lender shall deliver to the Bor-
rower and to the Administrative Agent, at the time or times reasonably requested by the Borrow-
er or the Administrative Agent, such properly completed and executed documentation prescribed
by applicable Laws and such other reasonably requested information as will permit the Borrower
or the Administrative Agent, as the case may be, to determine (A) whether or not payments made
hereunder or under any other Loan Document are subject to withholding or deduction of any
Taxes, (B) if applicable, the required rate of withholding or deduction, and (C) such Lender’s
entitlement to any available exemption from, or reduction of, applicable Taxes in respect of all
payments to be made to such Lender by a Loan Party pursuant to this Agreement or otherwise to
establish such Lender’s status for withholding Tax purposes in the applicable jurisdiction. Not-
withstanding anything to the contrary in the preceding sentence, the completion, execution and
submission of such documentation shall not be required if in the Lender’s reasonable judgment
such completion, execution or submission would subject such Lender to any material unreim-
bursed cost or expense or would materially prejudice the legal or commercial position of such
Lender.

22505703.11.BUSINESS 44
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 52 of 121

(ii) | Without limiting the generality of the foregoing:

(A) any Lender that is a “United States person” within the meaning of
Section 7701(a)(30) of the Code shall deliver to the Borrower and the Administrative
Agent, on or before the date on which it becomes a Lender under this Agreement (and
from time to time thereafter upon the request of the Borrower or the Administrative
Agent), two properly completed and duly executed originals of IRS Form W-9 certifying
that such Lender is exempt from U.S. federal backup withholding; and

(B) — each Foreign Lender that is entitled under the Code or any applica-
ble treaty to an exemption from or reduction of withholding Tax with respect to payments
hereunder or under any other Loan Document shall deliver to the Borrower and the Ad-
ministrative Agent, on or prior to the date on which such Foreign Lender becomes a
Lender under this Agreement (and from time to time thereafter upon the request of the
Borrower or the Administrative Agent), whichever of the following is applicable:

(1) two properly completed and duly executed originals of IRS Form
W-8BEN (or IRS Form W-8BEN-E, as applicable) claiming eligibility for the ap-
plicable benefits of an income tax treaty to which the United States is a party,

(2) two properly completed and duly executed originals of IRS Form
W-8ECI,

(3) in the case of a Foreign Lender claiming the benefits of the exemp-
tion for portfolio interest under Section 881(c) of the Code, (x) a certificate, sub-
stantially in the form of Exhibit G, to the effect that such Foreign Lender is not a
“bank” within the meaning of Section 881(c)(3)(A) of the Code, a “10 percent
shareholder” of the Borrower within the meaning of Section 881(c)(3)(B) of the
Code, or (C) a “controlled foreign corporation” described in Section 881(c)(3)(C)
of the Code (any such certificate, a “U.S. Tax Compliance Certificate”) and (y)
two properly completed and duly executed originals of IRS Form W-8BEN (or
IRS Form W-8BEN-E, as applicable),

(4) to the extent a Foreign Lender is not the beneficial owner, two
properly completed and duly executed originals of IRS Form W-8IMY of the For-
eign Lender, accompanied by IRS Form W-8ECI, IRS Form W-8BEN (or IRS
Form W-8BEN-E, as applicable), a U.S. Tax Compliance Certificate, IRS Form
W-9, and/or other certification documents from each beneficial owner that would
be required under this Section 3.01(e) if such beneficial owner were a Lender, as
applicable; provided that if the Foreign Lender is a partnership for U.S. federal
income tax purposes and one or more direct or indirect partners of such Foreign
Lender are claiming the portfolio interest exemption, such Foreign Lender may
provide a U.S. Tax Compliance Certificate substantially in the form of Exhibit G
on behalf of each such direct and indirect partner, or

(5) properly completed, duly executed originals of any other form pre-
scribed by applicable Laws as a basis for claiming exemption from or a reduction

22505703.11.BUSINESS 45
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 53 of 121

in United States Federal withholding Tax together with such supplementary doc-
umentation as may be prescribed by applicable Laws to permit the Borrower or
the Administrative Agent to determine the withholding or deduction required to
be made.

(C) if a payment made to a Lender under any Loan Document would be sub-
ject to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to comply
with the applicable reporting requirements of FATCA (including those contained in Section
1471(b) or 1472(b) of the Code, as applicable), such Lender shall deliver to the Borrower and the
Administrative Agent at the time or times prescribed by law and at such time or times reasonably
requested by the Borrower or the Administrative Agent such documentation prescribed by appli-
cable Laws (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such addition-
al documentation reasonably requested by the Borrower or the Administrative Agent as may be
necessary for the Borrower and the Administrative Agent to comply with their obligations under
FATCA and to determine that such Lender has complied with such Lender’s obligations under
FATCA or to determine the amount to deduct and withhold from such payment. Solely for pur-
poses of this clause (C), “FATCA” shall include any amendments made to FATCA after the date
of this Agreement.

Each Lender agrees that if any form or certification it previously delivered expires or becomes
inaccurate in any respect, it shall update such form or certification or promptly notify the Bor-
rower and the Administrative Agent in writing of its legal inability to do so. Notwithstanding any
other provision of this clause (e), a Lender shall not be required to deliver any form that such
Lender is not legally eligible to deliver.

(f} Treatment of Certain Refunds. Unless required by applicable Laws, at no time
shall the Administrative Agent have any obligation to file for or otherwise pursue on behalf of a
Lender, or have any obligation to pay to any Lender, any refund of Taxes withheld or deducted
from funds paid for the account of such Lender. If the Administrative Agent or any Lender re-
ceives a refund of any Indemnified Taxes as to which it has been indemnified by the Borrower or
any other Loan Party, or with respect to which the Borrower or any other Loan Party has paid
additional amounts pursuant to this Section 3.01, it shall pay to the Borrower an amount equal to
such refund (but only to the extent of indemnity payments made, or additional amounts paid, by
the Borrower under this Section 3.01 with respect to the Indemnified Taxes giving rise to such
refund), net of all out-of-pocket expenses (including Taxes) incurred by the Administrative
Agent or such Lender, as the case may be, and without interest (other than any interest paid by
the relevant Governmental Authority with respect to such refund), provided that the Borrower,
upon the request of the Administrative Agent or such Lender, agrees to repay the amount paid
over to the Borrower (plus any penalties, interest or other charges imposed by the relevant Gov-
ernmental Authority) to the Administrative Agent or such Lender in the event the Administrative
Agent or such Lender is required to repay such refund to such Governmental Authority. Not-
withstanding anything to the contrary in this subsection (f), in no event will the Administrative
Agent or any Lender be required to pay any amount to the Borrower pursuant to this subsection
(f) the payment of which would place the Administrative Agent or such Lender in a less favora-
ble net after-Tax position than the Administrative Lender or such Lender would have been in if
the Tax subject to indemnification and giving rise to such refund had not been deducted, with-

22505703.11.BUSINESS 46
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 54 of 121

held or otherwise imposed and the indemnification payments or additional amounts with respect
to such Tax had never been paid. This subsection (f) shall not be construed to require the Ad-
ministrative Agent or any Lender to make available its Tax returns (or any other information re-
lating to its Taxes that it deems confidential) to any Loan Party or any other Person.

(g) Each party’s obligations under this Section 3.01 shall survive the resignation or
replacement of the Administrative Agent or any assignment of rights by, or the replacement of, a
Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all
obligations under any Loan Document.

Section 3.02 Illegality. If any Lender determines that any Law has made it unlawful, or
that any Governmental Authority has asserted that it is unlawful, for any Lender or its applicable
Lending Office to make, maintain or fund Eurodollar Rate Loans, or to determine or charge in-
terest rates based upon the Eurodollar Rate, or any Governmental Authority has imposed materi-
al restrictions on the authority of such Lender to purchase or sell, or to take deposits of, Dollars
in the London interbank market, then, on notice thereof by such Lender to the Borrower through
the Administrative Agent, any obligation of such Lender to make or continue Eurodollar Rate
Loans or to convert Base Rate Loans to Eurodoilar Rate Loans shall be suspended until such
Lender notifies the Administrative Agent and the Borrower that the circumstances giving rise to
such determination no longer exist. Upon receipt of such notice, the Borrower shall, upon de-
mand from such Lender (with a copy to the Administrative Agent), prepay or, if applicable, con-
vert all Eurodollar Rate Loans of such Lender to Base Rate Loans, either on the last day of the
Interest Period therefor, if such Lender may lawfully continue to maintain such Eurodollar Rate
Loans to such day, or immediately, if such Lender may not lawfully continue to maintain such
Eurodollar Rate Loans. Upon any such prepayment or conversion, the Borrower shall also pay
accrued interest on the amount so prepaid or converted.

Section 3.03 Inability to Determine Rates. If the Required Lenders determine that for
any reason in connection with any request for a Eurodollar Rate Loan or a conversion to or con-
tinuation thereof that (a) Dollar deposits are not being offered to banks in the London interbank
eurodollar market for the applicable amount and Interest Period of such Eurodollar Rate Loan,
(b) adequate and reasonable means do not exist for determining the Eurodollar Rate for any re-
quested Interest Period with respect to a proposed Eurodollar Rate Loan, or (c) the Eurodollar
Rate for any requested Interest Period with respect to a proposed Eurodollar Rate Loan does not
adequately and fairly reflect the cost to such Lenders of funding such Loan, the Administrative
Agent will promptly so notify the Borrower and each Lender. Thereafter, the obligation of the
Lenders to make or maintain Eurodollar Rate Loans shall be suspended until the Administrative
Agent (upon the instruction of the Required Lenders) revokes such notice. Upon receipt of such
notice, the Borrower may revoke any pending request for a Borrowing of, conversion to or con-
tinuation of Eurodollar Rate Loans or, failing that, will be deemed to have converted such re-
quest into a request for a Borrowing of Base Rate Loans in the amount specified therein.

22505703.11.BUSINESS 47
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 55 of 121

Section 3.04 Increased Costs; Reserves on Eurodollar Rate Loans.
(a) Increased Costs Generally. If any Change in Law shall:

(i) impose, modify or deem applicable any reserve, special deposit, compul-
sory loan, insurance charge or similar requirement against assets of, deposits with or for
the account of, or credit extended or participated in by, any Lender (except any reserve

requirement contemplated by Section 3.04(e));

(ii) subject any Lender to any Tax of any kind whatsoever with respect to this
Agreement or any Eurodollar Rate Loan made by it (except for Indemnified Taxes cov-
ered by Section 3.01, or any Excluded Tax); or

(iii) | impose on any Lender or the London interbank market any other condi-
tion, cost or expense affecting this Agreement or Eurodollar Rate Loans made by such
Lender:

and the result of any of the foregoing shall be to increase the cost to such Lender of making or
maintaining any Eurodollar Rate Loan (or of maintaining its obligation to make any such Loan),
ot to reduce the amount of any sum received or receivable by such Lender hereunder (whether of
principal, interest or any other amount) then, within 15 days after Borrower’s receipt of a written
request from such Lender, including a reasonably detailed calculation of such increased costs or
reduction, the Borrower will pay to such Lender, as the case may be, such additional amount or
amounts as will compensate such Lender, as the case may be, for such additional costs incurred
or reduction suffered.

(b) Capital Requirements. If any Lender determines that any Change in Law affect-
ing such Lender or any Lending Office of such Lender or such Lender’s holding company, if
any, regarding capital requirements or liquidity requirements has or would have the effect of re-
ducing the rate of return on such Lender’s capital or on the capital of such Lender’s holding
company, if any, as a consequence of this Agreement, the Commitments of such Lender or the
Loans made by such Lender, to a level below that which such Lender or such Lender’s holding
company could have achieved but for such Change in Law (taking into consideration such Lend-
er’s policies and the policies of such Lender’s holding company with respect to capital adequa-
cy), then from time to time the Borrower will pay to such Lender, as the case may be, such addi-
tional amount or amounts as will compensate such Lender or such Lender’s holding company for
any such reduction suffered.

(c) Certificates for Reimbursement. A certificate of a Lender setting forth the
amount or amounts necessary to compensate such Lender or its holding company, as the case
may be, and a reasonably detailed calculation of such amounts, as specified in subsection (a) or
(b) of this Section and delivered to the Borrower shall be conclusive absent manifest error. The
Borrower shall pay such Lender, as the case may be, the amount shown as due on any such cer-
tificate within 15 days after receipt thereof.

(d) Delay in Requests. Failure or delay on the part of any Lender to demand compen-
sation pursuant to the foregoing provisions of this Section shall not constitute a waiver of such

22505703.11.BUSINESS 48
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 56 of 121

Lender’s right to demand such compensation, provided that the Borrower shall not be required to
compensate a Lender pursuant to the foregoing provisions of this Section for any increased costs
incurred or reductions suffered more than nine months prior to the date that such Lender, as the
case may be, notifies the Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Lender’s intention to claim compensation therefor (except that, if the
Change in Law giving rise to such increased costs or reductions is retroactive, then the nine-
month period referred to above shall be extended to include the period of retroactive effect
thereof).

(e) Reserves on Eurodollar Rate Loans. The Borrower shall pay to each Lender, as
long as such Lender shall be required to maintain reserves with respect to liabilities or assets
consisting of or including Eurodollar funds or deposits (currently known as “Eurodollar liabili-
ties”), additional interest on the unpaid principal amount of each Eurodollar Rate Loan equal to
the actual costs of such reserves allocated to such Loan by such Lender (as determined by such
Lender in good faith, which determination shall be conclusive), which shall be due and payable
on each date on which interest is payable on such Loan, provided the Borrower shall have re-
ceived at least 10 days’ prior notice (with a copy to the Administrative Agent) of such additional
interest from such Lender. If a Lender fails to give notice 10 days prior to the relevant Interest
Payment Date, such additional interest shall be due and payable 10 days from receipt of such no-
tice.

Section 3.05 Compensation for Losses. Upon demand of any Lender (with a copy to
the Administrative Agent) from time to time, the Borrower shall promptly compensate such
Lender for and hold such Lender harmless from any loss, cost or expense incurred by it as a re-
sult of:

(a) any continuation, conversion, payment or prepayment of any Loan other than a
Base Rate Loan on a day other than the last day of the Interest Period for such Loan (whether
voluntary, mandatory, automatic, by reason of acceleration, or otherwise);

(b) any failure by the Borrower (for a reason other than the failure of such Lender to
make a Loan) to prepay, borrow, continue or convert any Loan other than a Base Rate Loan on
the date or in the amount notified by the Borrower; or

(c) any assignment of a Eurodollar Rate Loan on a day other than the last day of the
Interest Period therefor as a result of a request by the Borrower pursuant to Section 11.13;

including any loss or expense arising from the liquidation or reemployment of funds obtained by
it to maintain such Loan or from fees payable to terminate the deposits from which such funds
were obtained. The Borrower shall also pay any customary administrative fees charged by such
Lender in connection with the foregoing.

For purposes of calculating amounts payable by the Borrower to the Lenders under this Sec-
tion 3.05, each Lender shall be deemed to have funded each Eurodollar Rate Loan made by it at
the Eurodollar Rate for such Loan by a matching deposit or other borrowing in the London inter-
bank eurodollar market for a comparable amount and for a comparable period, whether or not
such Eurodollar Rate Loan was in fact so funded.

22505703.11. BUSINESS 49
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 57 of 121

Section 3.06 Mitigation Obligations: Replacement of Lenders.

(a) Designation of a Different Lending Office. If any Lender requests compensation
under Section 3.04, or the Borrower is required to pay Indemnified Taxes or any additional
amount with respect to Indemnified Taxes to any Lender, or any Governmental Authority for the
account of any Lender pursuant to Section 3.01, or if any Lender gives a notice pursuant to Sec-
tion 3.02, then such Lender shall, as applicable, use reasonable efforts to designate a different
Lending Office for funding or booking its Loans hereunder or to assign its rights and obligations
hereunder to another of its offices, branches or affiliates, if, in the judgment of such Lender, such
designation or assignment (i) would eliminate or reduce amounts payable pursuant to Section
3.01 or 3.04, as the case may be, in the future, or eliminate the need for the notice pursuant to
Section 3.02, as applicable, and (ii) in each case, would not subject such Lender, as the case may
be, to any unreimbursed cost or expense and would not otherwise be disadvantageous to such
Lender, as the case may be. The Borrower hereby agrees to pay all reasonable costs and expens-
es incurred by any Lender in connection with any such designation or assignment.

(b) Replacement of Lenders. If any Lender requests compensation under Section
3.04, or if the Borrower is required to pay any Indemnified Taxes or pay any additional amount
with respect to any Indemnified Taxes to any Lender or any Governmental Authority for the ac-
count of any Lender pursuant to Section 3.01, the Borrower may replace such Lender in accord-
ance with Section 11.13 and/or convert to a Base Rate Loan.

Section 3.07 Survival. All of the Borrower’s obligations under this Article III shall
survive termination of the Aggregate Commitments, repayment of all other Obligations hereun-
der, and resignation of the Administrative Agent.

ARTICLE TV,
CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

Section 4.01 Conditions of Initial Credit Extension. The effectiveness of this Agree-
ment and the obligation of each Lender to make its Initial Loans on the Closing Date hereunder
is subject to satisfaction (or waiver in accordance with Section 11.01) of the following conditions
precedent:

(a) The Administrative Agent’s receipt of the following, each properly executed by a
duly authorized officer of the signing Loan Party (if applicable) and each other party thereto,
each dated the Closing Date (unless otherwise provided herein or, in the case of searches and
certificates of governmental officials, a recent date before the Closing Date) and each in form
and substance satisfactory to the Administrative Agent and the Required Lenders in their sole
discretion:

(i) this Agreement, the Guaranty, the Agent Fee Letter and each other Loan
Document to be executed on the Closing Date, each duly executed by the appropriate par-
ties; os

22505703,11,. BUSINESS 50
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 58 of 121

(ii) | executed counterparts of the Pre-Petition Intercreditor Agreement Waiver
and the Restructuring Support Agreement (including executed counterparts from the Pre-
Petition First Lien Lenders);

(iii) | executed counterparts of the Security Agreement, together with:

(A) except as permitted by Section 7.15, certificates, if any, represent-
ing the Pledged Securities referred to therein accompanied by undated stock powers exe-
cuted in blank, or other arrangements (including the DIP Orders) sufficient to perfect the
security interest of the Administrative Agent for the benefit of the Secured Parties in the
securities evidenced by such certificates and to permit the exercise of collateral remedies
with respect thereto, subject to the right of the Pre-Petition First Lien Secured Parties to
exercise remedies after November 14, 2016 to the extent set forth in paragraph 23 of the
Interim DIP Order,

(B) Reserved,

(C) except as permitted by Section 7.15, UCC, United States Patent
and Trademark Office and United States Copyright Office, tax and judgment lien search-
es or equivalent reports or searches, each of a recent date listing all effective financing
statements, lien notices or comparable documents that name any Loan Party as debtor and
that are filed in those state and county jurisdictions in which any Loan Party is organized
or maintains its principal place of business and such other searches that are required by
the Perfection Certificate,

(D) evidence of the completion of all other actions, recordings and fil-
ings of or with respect to the Security Agreement that the Administrative Agent may
deem necessary or desirable in order to perfect the Liens created thereby, except as per-
mitted by Section 7.15 hereof, and

 

(E) except as permitted by Section 7.15 hereof, each Control Agree-
ment required by the Security Agreement to perfect security interests in the Cash Collat-
eral Account, Deposit Accounts, Securities Accounts, or Commodities Accounts, duly
executed by the appropriate parties;

(iv) | except as permitted by Section 7.15 hereof, the Intellectual Property Secu-
rity Agreements, duly executed by each Loan Party, together with evidence that all action
that the Administrative Agent may reasonably deem necessary or desirable in order to
perfect the Liens created under each Intellectual Property Security Agreements has been
taken;

(v) (1) copies of the Organization Documents of each Loan Party certified as
of a recent date by the appropriate governmental official, (2) signature and incumbency
certificates of the officers of such Person executing the Loan Documents to which it is a
party, (3) resolutions of the board of directors or similar governing body of each Loan
Party approving and authorizing the execution, delivery and performance of this Agree-
ment and the other Loan Documents to which it is a party or by which it or its assets may

22305703. 11. BUSINESS 5]
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 59 of 121

be bound, certified by its secretary or an assistant secretary or other comparable officer as
being in full force and effect without modification or amendment, (4) a good standing
certificate from the applicable Governmental Authority of each Loan Party’s (A) jurisdic-
tion of incorporation, organization or formation and (B) except as permitted by Section
7.15, jurisdiction in which it is qualified as a foreign corporation or other entity to do
business where the failure to be in good standing could result in a Material Adverse Ef-
fect, in each case dated a recent date prior to the Closing Date, and (5) such other docu-
ments and certificates as the Administrative Agent or its counsel may reasonably request
relating to the organization, existence and good standing of the Loan Parties, and the au-
thorization of the Transactions;

(vi) Reserved;

(vii) evidence that all insurance required to be maintained pursuant to the Loan
Documents has been obtained and is in effect, together with, subject to Section 7.15 the
certificates of insurance and endorsements, naming the Administrative Agent, on behalf
of the Lenders, as an additional insured or lender’s loss payee, as the case may be, under
all insurance policies maintained with respect to the assets and properties of the Loan
Parties that constitutes Collateral;

(vill) a certificate of a Responsible Officer of the Borrower as to the satisfaction
of the conditions set forth in this Section 4.01 and in Section 4.03, except to the extent
satisfaction of such conditions is subject to Section 7.15; and

{ix) except as permitied by Section 7.15 hereof, a Perfection Certificate by,
and in respect of, each Loan Party.

(b) (i) All fees and other amounts required to be paid to the Administrative Agent and
the Lenders on or prior to the Closing Date to the extent permitted by the terms of the DIP Or-
ders shall have been paid, including reimbursement or payment of all reasonable and document-
ed out-of-pocket costs, fees and expenses (including the reasonable and documented out-of-
pocket costs, fees and expenses of outside counsel and financial advisors) incurred in connection
with the Transactions and (ii) all fees and other amounts required to be paid to the Pre-Petition
Indenture Trustees and the Pre-Petition Indenture Noteholders on or prior to the Closing Date to
the extent permitted by the terms of the DIP Orders shall have been paid, including reimburse-
ment or payment of all reasonable and documented out-of-pocket costs, fees and expenses (in-
cluding the reasonable and documented out-of-pocket costs, fees and expenses of outside counsel
and financial advisors) incurred in connection with the Transactions.

(c) The Administrative Agent shall have received, prior to the Closing Date, all doc-
umentation and other information about the Borrower and the Guarantors that it reasonably de-
termines is required by regulatory authorities under applicable “know your customer” and Anti-
Money Laundering Laws, including without limitation the USA PATRIOT Act, including but
not limited to the Borrower’s form W-9.

(d) The Administrative Agent and the Lenders shall have received on or prior to the
Closing Date each of the following:

22505703.11. BUSINESS 52
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 60 of 121

(i) the Consolidated unaudited balance sheet of Holdings and its Subsidiaries
as of the close of the last fiscal year and, to the extent such statements have been filed
publically, each subsequent fiscal quarter and (y) the related Consolidated income state-
ment for such fiscal year and, to the extent such statements have been filed publically,
fiscal quarter, in each case setting forth in comparative form the figures for the corre-
sponding periods in the prior fiscal year or fiscal quarter and in each case certified by a
Responsible Officer of the Borrower as fairly presenting in all material respects the Con-
solidated and consolidating financial position, results of operations and cash flow of
Holdings and its Subsidiaries as at the dates indicated and for the periods indicated in ac-
cordance with GAAP (subject to the absence of footnote disclosure and normal year-end
audit adjustments) and in each case otherwise reasonably satisfactory to the Administra-
tive Agent and the Required Lenders; and

(ii) such other material documents and material information as any Lender
through the Administrative Agent may reasonably request.

(e) Reserved.

(f) The Petition Date shall have occurred, and the Administrative Agent and the Re-
quired Lenders shall be reasonably satisfied with the form and substance of the material plead-
ings and “first day orders” sought by the Borrower, which in any event shall not conflict with the
terms of this Agreement and the Facility hereunder, the other Loan Documents and the Restruc-
turing Support Agreement. Such first day orders shall have been entered on or prior to the Clos-
ing Date.

(g)} The Interim Order Entry Date shall have occurred not later than three (3) Business
Days after the Petition Date.

(h) The Administrative Agent and the Lenders shall have received, and the Adminis-
trative Agent, the Required Lenders and the Unanimous DIP Lenders shall be satisfied with, the
Budget for the period of thirteen weeks commencing with the week during which the Petition
Date occurred.

(i) No trustee under chapter 7 or chapter 11 of the Bankruptcy Code or examiner
with enlarged powers beyond those set forth in Sections 1106(a)(3) and (4) of the Bankruptcy
Code shall have been appointed in any of the Cases.

(j) The amount of the Loans made on the Closing Date shall not exceed the amount
authorized by the Interim Order.

(k) Each of the Interim Order and the Restructuring Support Agreement shall be in
full force and effect, and the Interim Order shall not have been vacated or reversed, shall not be
subject to a stay and shall not have been modified or amended in any respect without the prior
written consent of the Required Lenders; provided that if the Interim Order is the subject of a
pending appeal in any respect, neither the making of the Loans nor the performance by any Loan
Party of any of its respective obligations under any of the Loan Documents shall be the subject
of a presently effective stay pending appeal.

22505703.11.BUSINESS 53
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 61 of 121

() Upon entry of the Interim Order, the Administrative Agent shall have, for the
benefit of the Lenders, valid and perfected first priority Liens on the Collateral, junior only to the
liens of the Pre-Petition First Lien Secured Parties securing the Pre-Petition First Lien Obliga-
tions, the Adequate Protection Liens of the Pre-Petition First Lien Secured Parties, the Carve-Out
and Permitted Liens (as defined in the Interim Order), and all filing and recording fees and taxes
with respect to such Liens and security interests that are then due and payable shall have been
duly paid.

(m) The proposed Exit Facilities, on the terms included in the exit financing term
sheets attached to the RSA Term Sheet, shall have backstop commitments and be satisfactory in
all respects to the Administrative Agent, the Required Lenders and the Unanimous DIP Lenders.

Without limiting the generality of the provisions of the last paragraph of Section 10.03, for pur-
poses of determining compliance with the conditions specified in this Section 4.01, each Lender
that has signed this Agreement shall be deemed to have consented to, approved or accepted or to
be satisfied with, each document or other matter required thereunder to be consented to or ap-
proved by or acceptable or satisfactory to a Lender unless the Administrative Agent shall have
received notice from such Lender prior to the proposed Closing Date specifying its objection
thereto.

Section 4.02 Conditions to Delayed Draw Borrowing. The obligation of each Lender to
make its Delayed Draw Loan is subject to the satisfaction or waiver in accordance with Section
11.01 of the following conditions precedent:

(a) The Final Order and the Restructuring Support Agreement shall be in full force
and effect, and the Final Order shall not have been vacated or reversed, shall not be subject to a
stay, and shail not have been modified or amended in any material respect without the written
consent of the Required Lenders; provided that if the Final Order is the subject of a pending ap-
peal in any respect, neither the making of the Loans nor the performance by any Loan Party of
any of its respective obligations under any of the Loan Documents shall be the subject of a pres-
ently effective stay pending appeal.

(b) (i) All material “second day orders” and all related pleadings intended to be en-
tered on or prior to the date of entry of the Final Order, including a final cash management order
and any order authorizing adequate protection or establishing procedures for the administration
of the Cases, shall have been entered by the Bankruptcy Court and (ii) all pleadings related to
procedures for approval of significant transactions, including, without limitation, asset sale pro-
cedures, regardless of when filed or entered, shall be reasonably satisfactory in form and sub-
stance to the Administrative Agent and the Required Lenders.

(c) The Borrower shall have paid all fees and reasonable and documented out-of-
pocket expenses of the Lenders (including the reasonable and documented fees and expenses of
outside counsel and financial advisors) accrued and payable on or prior to the date of such Bor-
rowing.

(d) The aggregate amount of the Loans made on or prior to such date shall not exceed
the aggregate amount authorized by the Final Order.

22505703.11.BUSINESS 54
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 62 of 121

(e) The Final Order shall have been entered by the Bankruptcy Court in the Cases no
later than thirty-five (35) calendar days after the Petition Date.

(f) The Administrative Agent shall have received a certificate of a Responsible Of-
ficer as to the satisfaction of the conditions set forth in this Section 4.02 and in Section 4.03, ex-
cept to the extent satisfaction of such conditions is subject to Section 7.15.

Section 4.03 Conditions to all Credit Extensions and Disbursements. The obligation of
each Lender to honor any Request for Credit Extension (other than a Committed Loan Notice
requesting only a conversion of Loans to the other Type, or a continuation of Eurodollar Rate
Loans) or Notice of Request for Disbursement is subject to the following conditions precedent:

(a) The representations and warranties contained in Article V or any other Loan Doc-
ument, or which are contained in any document furnished at any time under or in connection
herewith or therewith, shall be true and correct in all material respects on and as of the date of
such Credit Extension or such Disbursement Date, as applicable, and, in each case, afier giving
effect thereto, except (i) to the extent that such representations and warranties specifically refer
to an earlier date, in which case they shall be true and correct as of such earlier date, (ii) to the
extent that such representations are qualified as to materiality, in which case they shall be true
and correct in all respects and (iii) that for purposes of this Section 4.03, the representations and
warranties contained in Sections 5.05(a) and (b) shall be deemed to refer to the most recent
statements furnished pursuant to Sections 6.01(b) and (a), respectively.

(b) No Default or Event of Default shall exist, or would result from such proposed
Credit Extension or disbursement, as applicable, or from the application of the proceeds thereof,

(c) The Administrative Agent shall have received a Request for Credit Extension or a
Notice of Request for Disbursement, as applicable, in accordance with the requirements hereof
and within the time periods specified herein (or such shorter period of time as may be agreed to
by the Administrative Agent in its sole discretion),

Each Borrowing shall be deemed to constitute a representation and warranty by the Bor-
rower on the date of such Borrowing as to the matters specified in paragraphs (a) through (b) of
this Section 4.03.

ARTICLE V,
REPRESENTATIONS AND WARRANTIES

Each of the Loan Parties, jointly and severally, represents and warrants to the Adminis-
trative Agent and the Lenders that:

Section 5.01 Existence, Qualification and Power. Each Loan Party and each of its Sub-
sidiaries (a) is duly organized or formed, validly existing and, as applicable, in good standing
under the Laws of the jurisdiction of its incorporation of organization, (b) has all requisite power
and authority to (i) own or lease its assets and carry on its business and (ii) execute, deliver and
perform its obligations under the Loan Documents to which it is a party, (c) has all requisite gov-
ernmental licenses, authorizations, consents and approvals to (i) own or lease its assets and carry

2250570311. BUSINESS 55
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 63 of 121

on its business and (ii) subject to the entry of the DIP Orders, execute, deliver and perform its
obligations under the Loan Documents to which it is a party, and (d) is duly qualified and is li-
censed and, as applicable, in good standing under the Laws of each jurisdiction where its owner-
ship, lease or operation of properties or the conduct of its business requires such qualification or
license; except, in each case referred to in clause (c)(i) or (d), to the extent that failure to do so .
could not reasonably be expected to have a Material Adverse Effect.

Section 5.02 Authorization: No Contravention. The execution, delivery and perfor-
mance by each Loan Party of each Loan Document to which such Person is or is to be a party
have been duly authorized by all necessary corporate or other organizational action, and do not
and will not (a) contravene the terms of any of such Person’s Organization Documents; (b) con-
flict with or result in any breach or contravention of, or the creation of any Lien under, or require
any payment to be made under (i) any material Contractual Obligation to which such Person is a
party or affecting such Person (other than, with respect to such conflicts, the Pre-Petition Debt
Documents) or the properties of such Person or any of its Subsidiaries or (ii) any material order,
injunction, writ or decree of any Governmental Authority or any arbitral award to which such
Person or its property is subject; or (c) violate any Law in any material respect.

Section 5.03 Governmental Authorization; Other Consents. No approval, consent, ex-
emption, authorization, or other action by, or notice to, or filing with, any Governmental Author-
ity or any other Person is necessary or required in connection with (a) the execution, delivery or
performance by, or enforcement against, any Loan Party of this Agreement or any other Loan
Document, (b) the grant by any Loan Party of the Liens granted by it pursuant to the Collateral
Documents, (c) subject to the entry of the DIP Orders, the perfection or maintenance of the Liens
created under the Collateral Documents (including the priority thereof) or (d) the exercise by the
Administrative Agent or any Lender of its rights under the Loan Documents or the remedies in
respect of the Collateral pursuant to the Collateral Documents, except for (i) the authorizations,
approvals, actions, notices and filings listed on Schedule 5.03, all of which have been duly ob-
tained, taken, given or made and are in full force and effect (other than any consents necessary
pursuant to the Pre-Petition Debt Documents) and (ii) those authorizations, approvals, actions,
notices or filings, the failure of which to obtain or make could not, individually or in the aggre-
gate, reasonably be expected to have a Material Adverse Effect.

 

Section 5.04 Binding Effect. This Agreement has been, and each other Loan Docu-
ment, when delivered hereunder, will have been, duly executed and delivered by each Loan Party
that is party thereto. Subject to the entry of the DIP Orders, this Agreement constitutes, and cach
other Loan Document when so delivered will constitute, a legal, valid and binding obligation of
such Loan Party, enforceable against each Loan Party that is party thereto in accordance with its
terms, except as such enforceability may be limited by Debtor Relief Laws and by general prin-
cipals of equity.

Section 5.05 Financial Statements.

(a) The Audited Financial Statements (i) were prepared in accordance with GAAP
consistently applied throughout the period covered thereby, except as otherwise expressly noted
therein; (ii) fairly present in all material respects the financial condition of Holdings and its Sub-
sidiaries as of the date thereof and their results of operations for the period covered thereby in

22505703.11 BUSINESS 56
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 64 of 121

accordance with GAAP consistently applied throughout the period covered thereby, except as
otherwise expressly noted therein; and (iii) show all material indebtedness and other liabilities,
direct or contingent, of the Holdings and its Subsidiaries as of the date thereof, including liabili-
ties for taxes, material commitments and Indebtedness to the extent required by GAAP.

(b) The unaudited consolidated balance sheet of the Holdings and its Subsidiaries and
the related consolidated statements of income or operations, shareholders’ equity and cash flows
for the most recent fiscal quarter delivered pursuant to Section 6.01(a) (i) were prepared in ac-
cordance with GAAP consistently applied throughout the period covered thereby, except as oth-
erwise expressly noted therein, and (ii) fairly present in all material respects the financial condi-
tion of Holdings and its Subsidiaries as of the date thereof and their results of operations for the
period covered thereby, subject, in the case of clauses (i) and (ii), to the absence of footnotes and
to normal year-end audit adjustments.

Section 5.06 Litigation. Other than the Cases, there are no actions, suits, proceedings,
claims or disputes pending or, to the knowledge of any Loan Party, threatened, at law, in equity,
in arbitration or before any Governmental Authority, by or against any Loan Party or any of its
Subsidiaries or against any of their properties or revenues that (a) purport to affect or pertain to
this Agreement, any other Loan Document, or (b) either individually or in the aggregate could
reasonably be expected to have a Material Adverse Effect.

Section 5.07 No Material Adverse Effect. Since December 31, 2015, there has been no
Material Adverse Effect and there has been no circumstance, event or occurrence, and no fact is
known to any of the Loan Parties, in each case, that could reasonably be expected to result in a
Material Adverse Effect.

Section 5.08 Ownership of Property; Liens; Investments. Each Loan Party and each of
its Subsidiaries has good record and marketable defensible title in fee simple to, or valid lease-
hold interests in (except to the extent of an existing event of default under such leases as set forth
on Schedule 5.08), or easements or other limited property interests in, all property necessary in
the ordinary conduct of its business, free and clear of all Liens except for minor defects in title
that do not individually or in the aggregate materially interfere with its ability to conduct its
business or to utilize such assets for their intended purposes and Liens permitted under the Loan
Documents (including the Permitted Liens) and except where the failure to have such title or
other interest could not reasonably be expected to have, individually or in the aggregate, a Mate-
rial Adverse Effect. The property of each Loan Party and each of its Subsidiaries, taken as a
whole, (i) is in good operating order, condition and repair (ordinary wear and tear excepted) and
(ii) constitutes all the property which is required for the business and operations of each Loan
Party and each of its Subsidiaries as presently conducted. None of the Loan Parties nor any Sub-
sidiary thereof owns any real property.

Section 5.09 Environmental Compliance.

Except for any matters that, individually or in the aggregate, could not reasonably be ex-
pected to have a Material Adverse Effect:

22505703. 11. BUSINESS 37
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 65 of 121

(a) Each Loan Party and its Subsidiaries are and have been in compliance with all
Environmental Laws, including possessing and complying with all Environmental Permits.

(b) None of the real property currently owned, if any, leased or operated by any Loan
Party or any of its Subsidiaries is listed or, to the knowledge of any Loan Party, proposed for list-
ing on the NPL or on the CERCLIS or any analogous foreign, state or local list; to the
knowledge of the Loan Parties, there are no and never have been any underground or above-
ground storage tanks or any surface impoundments, septic tanks, pits, sumps or lagoons in which
Hazardous Materials are being or have been treated, stored or disposed on any property currently
owned, leased or operated by any Loan Party or any of its Subsidiaries or, to the knowledge of
any Loan Party, on any property formerly owned, leased or operated by any Loan Party or any of
its Subsidiaries, in each case which could reasonably be expected to result in any Loan Party in-
curring an Environmental Liability; to the knowledge of the Loan Parties, there is no asbestos or
asbestos-containing material on any property currently owned, leased or operated by any Loan
Party or any of its Subsidiaries that could reasonably be expected to result in any Loan Party in-
curring an Environmental Liability; and there has been no Release of Hazardous Materials by
any Loan Party or any of its Subsidiaries or, to the knowledge of any Loan Party, by any other
Person at, on, under or migrating to or from any property currently or formerly owned, leased or
operated by any Loan Party or any of its Subsidiaries in violation of Environmental Law or
which could reasonably be expected to result in any Loan Party incurring an Environmental Lia-
bility.

(c) Neither any Loan Party nor any of its Subsidiaries is undertaking, and has not
completed, either individually or together with other potentially responsible parties, any investi-
gation or assessment or remedial or response action relating to any actual or threatened Release
of Hazardous Materials at any site, location or operation, either voluntarily or pursuant to the or-
der of any Governmental Authority or the requirements of any Environmental Law; and all Haz-
ardous Materials generated, used, treated, handled or stored by any Loan Party or any of its Sub-
sidiaries at, or transported to or from, any property currently or formerly owned, leased or oper-
ated by any Loan Party or any of its Subsidiaries have been disposed of in a manner not reasona-
bly expected to result in any Loan Party or any of its Subsidiaries incurring an Environmental
Liability.

(4) No Loan Party nor any of its Subsidiaries: (i) has received notice (written or oth-
erwise) of any Environmental Liability that is pending or unresolved; or (ii) has assumed by
Contractual Obligation (including indemnity) or operation of Law any Environmental Liability
of any other Person.

Section 5.10 Insurance. The properties of the Loan Parties and their respective Subsid-
iaries are insured with financially sound and reputable insurance companies not Affiliates of the
Borrower, in such amounts, with such deductibles and covering such risks as are customarily car-
ried by companies engaged in similar businesses and owning similar properties in localities
where the applicable Person operates.

Section 5.11 Taxes. Each Loan Party and each Subsidiary thereof has timely filed all
federal income Tax returns and reports and all other material Tax returns and reports required to
be filed, and has paid all material Taxes (including any Taxes payable in the capacity of a with-

22505703. 11. BUSINESS 58
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 66 of 121

holding agent) levied or imposed upon it or its income, profits, properties or assets otherwise due
and payable, except those which are being contested in good faith by appropriate proceedings
diligently conducted and for which adequate reserves have been provided in accordance with
GAAP. There is no proposed Tax audit, Tax assessment, deficiency or other claim against any
Loan Party or any Subsidiary thereof that, if made, individually or in the aggregate could reason-
ably be expected to have a Material Adverse Effect, The charges, accruals and reserves on the
books of the Loan Parties in respect of any Taxes are adequate. Neither any Loan Party nor any
Subsidiary thereof is party to any tax sharing agreement.

Section 5.12 ERISA Compliance,

(a) Each Plan is in compliance in all respects with its terms and with the applicable
provisions of ERISA, the Code and other Federal or state Laws, except to the extent that could
not reasonably be expected to have a Material Adverse Effect. Each Plan that is intended to
qualify under Section 401(a) of the Code has received a favorable determination or opinion letter
from the IRS or an application for such a letter is currently being processed by the IRS with re-
spect thereto (or such Plan or the prototype sponsor in respect of such Plan has remaining a peri-
od of time under the Code or pronouncements of the Internal Revenue Service in which to apply
for such a determination and make any amendments necessary to obtain a favorable determina-
tion or opinion, as applicable, as to the qualified status of such Plan) and, to the knowledge of the
Borrower, nothing has occurred which would prevent, or cause the loss of, such qualification.
The Borrower and each ERISA Affiliate have made all required contributions to each Plan sub-
ject to Section 412 of the Code or Section 302 of ERISA, and no application for a funding waiv-
er or an extension of any amortization period pursuant to Section 412 of the Code or Section 302
of ERISA has been made with respect to any Plan.

(b) There are no pending or, to the knowledge of the Loan Parties, threatened claims,
actions or lawsuits, or action by any Governmental Authority, with respect to any Plan that could
reasonably be expected to have a Material Adverse Effect.

(c) (i) No ERISA Event has occurred or is reasonably expected to occur; (ii} no Pen-
sion Plan has any Unfunded Pension Liability; (iii) neither the Loan Parties nor any ERISA Af-
filiate has incurred, or reasonably expects to incur, any liability under Title IV of ERISA with
respect to any Pension Pian (other than premiums due and not delinquent under Section 4007 of
ERISA); and (iv) neither the Loan Parties nor any ERISA Affiliate has incurred, or reasonably
expects to incur, any liability (and no event has occurred which, with the giving of notice under
Section 4219 of ERISA, would result in such liability) under Section 4201 of ERISA with re-
spect to a Multiemployer Plan, except, in each case, that could not reasonably be expected to
have a Material Adverse Effect.

Section 5.13 Subsidiaries; Equity Interests: Loan Parties. As of the Closing Date, no
Loan Party has any Subsidiaries other than those specifically disclosed in Part (a) of Schedule

3.13 (none of which are Foreign Subsidiaries), and all of the outstanding Equity Interests in such
Subsidiaries have been validly issued, are fully paid and non-assessable and are owned by a Loan
Party in the amounts specified on Part (a) of Schedule 5.13 free and clear of all Liens except
those created under the Collateral Documents and Permitted Liens. No Loan Party has any equi-
ty investments in any other corporation or entity other than those specifically disclosed in Part

22505703.11. BUSINESS 59
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 67 of 121

(b) of Schedule 5.13. Set forth on Part (c) of Schedule 5.13 is a complete and accurate list of all
Loan Parties, showing as of the Closing Date (as to each Loan Party) the jurisdiction of its incor-
poration, the address of its principal place of business and its U.S. taxpayer identification num-
ber, if any, or in the case of any Guarantor Subsidiary that does not have a U.S, taxpayer identifi-
cation number, any unique identification number issued to it by the jurisdiction of its incorpora-
tion. The copy of the charter of each Loan Party and each amendment thereto provided pursuant
to Section 4.01(a)(v) is a true and correct copy of each such document, each of which is valid
and in full force and effect.

Section 5.14 Margin Regulations: Investment Company Act.

(a) No Loan Party is engaged nor will engage, principally or as one of its important
activities, in the business of purchasing or carrying margin stock (within the meaning of Regula-
tion U issued by the FRB), or extending credit for the purpose of purchasing or carrying margin
stock and no proceeds of any Borrowings will be used for any purpose that violates Regulation U
or Regulation X of the FRB.

(b) None of the Loan Parties, any Person Controlling any Loan Party, or any Subsidi-
ary is or is required to be registered as an “investment company” under the Investment Company
Act of 1940, as amended.

Section 5.15 Disclosure. No report, financial statement, certificate or other written in-
formation furnished by or on behalf of any Loan Party or any Subsidiary thereof to the Adminis-
trative Agent or any Lender in connection with the transactions contemplated hereby and the ne-
gotiation of this Agreement or delivered hereunder or under any other Loan Document (in each
case as modified or supplemented by other information so furnished) contains any material mis-
statement of fact or omits to state any material fact necessary to make the statements therein, in
the light of the circumstances under which they were made, not materially misleading; provided
that, with respect to projected financial information, the Loan Parties represent only that such
information was prepared in good faith based upon assumptions believed to be reasonable at the
time; it being understood that such projections may vary from actual results and that such vari-
ances may be material.

Section 5.16 Compliance with Laws. Except to the extent excused by the Bankruptcy
Code, each Loan Party and each Subsidiary thereof is in compliance in all material respects with
the requirements of all Laws and all orders, writs, injunctions and decrees applicable to it or to
ils properties, except in such instances in which (a) such requirement of Law or order, writ, in-
junction or decree is being contested in good faith by appropriate proceedings diligently con-
ducted or (b) the failure to comply therewith, either individually or in the aggregate, could not
reasonably be expected to have a Material Adverse Effect.

Section 5.17 Intellectual Property: Licenses, Etc. Each Loan Party and each of its Sub-
sidiaries own, or possess the valid title to all of the Intellectual Property owned or purported to
be owned by such Loan Party or Subsidiary, free and clear of all Liens (other than licenses grant-
ed in the ordinary course of business) except for Liens permitted under the Loan Documents (in-
cluding Permitted Liens). All Intellectual Property which any Loan Party or any Subsidiary
thereof uses under license from third parties and which is material to its business operations is

22505703.1]. BUSINESS 60
 

Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 68 of 121

subject to license agreements that are valid and in full force and effect. As of the Closing Date,
Schedule 5.17 sets forth a true, complete and accurate list of all Company IP Rights, which are
registered or pending application for registration with applicable intellectual property registries
worldwide. The operation of the businesses of each Loan Party and each of its Subsidiaries, in-
cluding technology, slogan or other advertising device, product, process, method, substance, part
or other material now employed in connection therewith, or now contemplated to be employed,
by any Loan Party or any of its Subsidiaries, does not infringe or otherwise violate any proprie-
tary nights held by any other Person. No claim or litigation alleging any of the foregoing, or dis-
puting the ownership, validity or enforceability of any Company IP Rights, is pending or, threat-
ened in writing.

Section 5.18 Labor Matters. There are no collective bargaining agreements or Mul-
tiemployer Plans covering the employees of any Loan Party or any of its Subsidiaries as of the
Closing Date and neither any Loan Party nor any Subsidiary thereof has suffered any strikes,
walkouts, work stoppages or other material labor difficulty within the last five years.

Section 5.19 Foreign Assets Control Regulations: Anti-Money Laundering; Anti-

Corruption Practices: Anti-Terrorism Laws.

(a) Each Loan Party and each Subsidiary of each Loan Party is in compliance in all
material respects with all U.S. economic sanctions laws, Executive Orders and implementing
regulations (“Sanctions”) as administered by the U.S. Treasury Department’s Office of Foreign
Assets Control (“OFAC”) and the U.S. State Department. No Loan Party and no Subsidiary of a
Loan Party (i) is a Person on the list of the Specially Designated Nationals and Blocked Persons
(the “SDN List”), (ii) is a Person who is otherwise the target of U.S. economic sanctions laws
such that a U.S. Person cannot deal or otherwise engage in business transactions with such per-
son, {ili) is a Person organized or resident in a country or territory subject to comprehensive
Sanctions (a “Sanctioned Country”) or (iv) is owned or controlled by (including by virtue of such
Person being a director or owning voting shares or interests), or acts, directly or indirectly, for or
on behalf of, any Person on the SDN List or a government of a Sanctioned Country such that the
entry into, or performance under, this Agreement or any other Loan Document would be prohib-
ited by U.S. law.

(b) Each Loan Party and each Subsidiary of each Loan Party is in compliance with all
laws related to terrorism or money laundering including: (i) all applicable requirements of the
Currency and Foreign Transactions Reporting Act of 1970 (31 U.S.C. 5311 et. seq., (the Bank
Secrecy Act)), as amended by Title III of the USA Patriot Act, (ii) the Trading with the Enemy
Act, (iii) Executive Order No. 13224 on Terrorist Financing, effective September 24, 2001 (66
Fed. Reg. 49079), any other enabling legislation, executive order or regulations issued pursuant
or relating thereto and (iv) other applicable federal or state laws relating to “know your custom-
er” or anti-money laundering rules and regulations. No action, suit or proceeding by or before
any court or Governmental Authority with respect to compliance with such anti-money launder-
ing laws is pending or threatened to the knowledge of each Loan Party and each Subsidiary of
each Loan Party.

(c) Each Loan Party and each Subsidiary of each Loan Party is in compliance in all
material respects with all applicable anti-corruption laws, including the U.S. Foreign Corrupt

22505703.11. BUSINESS 6]
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 69 of 121

Practices Act of 1977 (“FCPA”) and the U.K. Bribery Act 2010 (“Anti-Corruption Laws”).
None of the Loan Parties or any Subsidiary thereof, nor to the knowledge of the Loan Parties,
any director, officer, agent, employee, or other person acting on behalf of such Loan Party or any
Subsidiary thereof, has taken any action, directly or indirectly, that would result in a violation of
applicable Anti-Corruption Laws. Each Loan Party and each Subsidiary has instituted and will
continue to maintain policies and procedures designed to promote compliance with applicable
Anti-Corruption Laws.

Section 5.20 No Defaults. No Default or Event of Default has occurred and is continu-
ing or would result from the consummation of the Transactions.

ARTICLE VI.
REPORTING COVENANTS

Each of the Loan Parties agrees with the Lenders and the Administrative Agent to each of
the following, as long as any Obligation (other than contingent indemnification claims not then
due and payable) or any Commitment remains outstanding:

Section 6.01 Financial Statements. The Borrower shall deliver to the (x) Administra-
tive Agent, for delivery to each Lender, and (y) Pre-Petition First Lien Agent, for delivery to
each Pre-Petition First Lien Lender, each of the following:

(a) Quarterly Reports. As soon as available, and in any event within 45 days after the
end of each of the first three fiscal quarters of each fiscal year (or such later date that the Re-
quired Lenders may agree in their sole discretion), the Consolidated and consolidating unaudited
balance sheet of Holdings and its Subsidiaries as of the close of such fiscal quarter and related
Consolidated and consolidating statements of operations and cash flow for such fiscal quarter
and that portion of the fiscal year ending as of the close of such fiscal quarter, setting forth in
comparative form the figures for the corresponding period in the prior fiscal year, certified by a
Responsible Officer of the Borrower as fairly presenting in all material respects the Consolidated
and consolidating financial position, results of operations and cash flow of Holdings and its Sub-
sidiaries as at the dates indicated and for the periods indicated in accordance with GAAP (subject
to the absence of footnote disclosure and normal year-end audit adjustments).

(b) Annual Reports. As soon as available, and in any event within 120 days after the
end of each fiscal year (or such later date that the Required Lenders may agree in their sole dis-
cretion), the Consolidated and consolidating balance sheet of Holdings and its Subsidiaries as of
the end of such year and related Consolidated and consolidating statements of operations, uni-
tholders” equity and cash flow for such fiscal year, each prepared in accordance with GAAP, to-
gether with a certification (with respect to such Consolidated financial statements) by the Group
Members’ Accountants that (i) such Consolidated financial statements fairly present in all mate-
rial respects the Consolidated financial position, results of operations and cash flow of Holdings
and its Subsidiaries as at the dates indicated and for the periods indicated therein in accordance
with GAAP without qualification as to the scope of the audit and (ii) in the course of the regular
audit of the businesses of the Group Members, which audit was conducted in accordance with
the standards of the United States’ Public Company Accounting Oversight Board (or any succes-
sor entity), such Group Members’ Accountants have obtained no knowledge that a Default in

22505703. 11. BUSINESS 62
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 70 of 121

respect of any financial covenant contained in this Agreement is continuing or, if in the opinion
of the Group Members’ Accountants such a Default is continuing, a statement as to the nature
thereof (which certification may be limited to the extent required by customary applicable audit-
ing rules or guidelines acceptable to the Administrative Agent).

(c) Monthly Reports. As soon as available, and in any event within 30 days after the
end of each fiscal month (other than the third fiscal month of each fiscal quarter), (i) the Consol-
idated and consolidating unaudited balance sheet of Holdings and its Subsidiaries as of the close
of such fiscal month (and that portion of the fiscal year ending as of the close of such fiscal
month) and (ii) the related Consolidated and consolidating income statement for such fiscal
month (and that portion of the fiscal year ending as of the close of such fiscal month), in each
case setting forth in comparative form the figures for the corresponding periods in the prior fiscal
year and in each case certified by a Responsible Officer of the Borrower as fairly presenting in
all material respects the Consolidated and consolidating financial position and results of opera-
tions of Holdings and its Subsidiaries as at the dates indicated and for the periods indicated in
accordance with GAAP (subject to the absence of footnote disclosure and normal year-end audit
adjustments). Together with such monthly reports delivered pursuant to this clause, the Borrower
shall deliver a certificate, in form and substance satisfactory to the Administrative Agent, by a
Responsible Officer of the Borrower that (i) the Corporate Chart attached thereto (or the last
Corporate Chart delivered pursuant to this clause (c)) is correct and complete as of the date of
such monthly report, (ii) the Loan Parties have delivered all documents (including updated
schedules as to locations of Collateral and acquisition of Intellectual Property or real property)
they are required to deliver pursuant to any Loan Document on or prior to the date of delivery of
such monthly report and (iii) complete and correct copies of all documents modifying any term
of any Organization Document of any Group Member or any Subsidiary or joint venture thereof
on or prior to the date of delivery of such monthly report have been delivered to the Administra-
tive Agent or are attached to such certificate.

(d) Variance Report.

(i) Commencing on the second Thursday after the Petition Date and no Jater
than Thursday of each succeeding calendar week, and on any other date on which the
Borrower may deliver the same to the Bankruptcy Court, a Variance Report as of the end
of the immediately preceding calendar week, and

(ii) | commencing on the date of this Agreement and no later than Thursday of
each week thereafter, and on any other date on which the Borrower may deliver the same
to the Bankruptcy Court, a Budget setting forth on a weekly basis for the next thirteen
weeks (commencing with the immediately succeeding calendar week) an updated budget
for such period; provided that the Required Lenders, in their sole and absolute discretion,
shall have the right to dispute any updates or amendments contained in any budget deliv-
ered pursuant to this clause (ii) by providing the Borrower specific notice thereof within
five (5) Business Days after the delivery by the Borrower of such updates or amend-
ments; provided, further, that, (x) to the extent the Required Lenders do not provide such
dispute notice within such period of five (5) Business Days, the updates to or amend-
ments of the Budget shall be deemed approved and consented to by the Required Lenders
and shall be deemed to constitute the Budget upon the expiration of such period of five

22505703.11.BUSINESS 63
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 71 of 121

(5) Business Days, and (y) to the extent the Required Lenders do provide such dispute
notice within such period of five (5) Business Days, then the Budget, without giving ef-
fect to such updates or amendments, shall continue to constitute the Budget until other-
wise agreed to among the Loan Parties and the Required Lenders.

{e) Management Discussion and Analysis. Together with each delivery of the finan-
cial statements for each fiscal quarter or fiscal month required by clauses (a) of (c) above, a cus-
tomary written management discussion and analysis (MD&A) of the financial condition and re-
sults of operations of the Group Members for the portion of the fiscal year then elapsed and dis-
cussing the reasons for any significant variations from (i) the previous fiscal quarter or fiscal
month, as applicable for such period, (ii) the figures for the corresponding period in the previous
fiscal year and (iii) to the extent forecasts and projections have been delivered pursuant to Sec-
tion 6.01(g), the figures for the corresponding period in such forecasts and projections, including
written qualitative discussion and analysis, in each case with detail satisfactory to the Adminis-
trative Agent.

(f) Corporate Chart and Other Collateral Updates. A certificate by a Responsible Of-
ficer of the Borrower that (i) the Corporate Chart attached thereto (or the last Corporate Chart
delivered pursuant to this clause (f)) is correct and complete as of the date of the Variance Report
most recently required to be delivered pursuant to Section 6.01(d), (ii) the Loan Parties have de-
livered all documents (including updated schedules as to locations of Collateral and acquisition
of Intellectual Property or real property) they are required to deliver pursuant to any Loan Doc-
ument on or prior to the date of the Variance Report most recently required to be delivered pur-
suant to Section 6.01(d) and (iii) complete and correct copies of all documents modifying any
term of any Organization Document of any Group Member or any Subsidiary or joint venture
thereof on or prior to the date of the Variance Report most recently required to be delivered pur-

suant to Section 6,01 (d).

(g) Additional Projections. As soon as available and in any event not later than 45
days after the end of the [fiscal quart ber.

plan of the Group Members for the [2 seal ye

Administrative Agent and the Required Lenders in their reasonable discretion and (ii) forecasts
prepared by management of the Borrower for each fiscal quarter in such next succeeding fiscal
year, including in such forecasts, (x) a projected year-end Consolidated and consolidating bal-
ance sheet, income statement and statement of cash flows, (y) a statement of all of the material
assumptions on which such forecasts are based and (z) substantially the same type of financial
information as that contained in financial projections provided by or on behalf of the Borrower to
the Administrative Agent or the Pre-Petition First Lien Agent (in such capacities) prior to the
Closing Date.

 

    
 

(h) Bankruptcy Court Filings. As soon as practicable in advance of filing with the
Bankruptcy Court, (i) all proposed orders and pleadings related to the Facility, which orders and
pleadings shail be in form and substance satisfactory to the Administrative Agent and the Re-
quired Lenders, (il) any plan of reorganization or liquidation, and/or any disclosure statement
related to such plan (which plan shall be a Reorganization Plan and with the disclosure statement
shall comply with the requirements set forth herein), (iii) any motion and proposed form of order
seeking to extend or otherwise modify the Debtors’ exclusive periods set forth in section 1121 of

22505703.11. BUSINESS 64
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 72 of 121

the Bankruptcy Code, (iv) any motion seeking approval of any sale of the Debtors’ assets in form
and substance reasonably acceptable to the Administrative Agent and the Required Lenders and
any proposed form of a bidding procedures order and sale order (each of which must be in form
and substance satisfactory to the Administrative Agent and the Required Lenders) and (v) any
motion and proposed form of order filed with the Bankruptcy Court relating to any management
equity plan, incentive plan or severance plan, the assumption, rejection, modification or amend-
ment of any employment agreement, or the assumption, rejection, modification or amendment of
any material contract (each of which must be in form and substance satisfactory to the Adminis-
trative Agent and the Required Lenders).

(2) Insurance. Together with each delivery of any financial statement for any fiscal
month pursuant to clause (c) above, each in form and substance satisfactory to the Administra-
tive Agent and certified as complete and correct by a Responsible Officer of the Borrower, a
summary of all material insurance coverage maintained as of the date thereof by any Group
Member, together with such other related documents and information as the Administrative
Agent may reasonably require; provided, that in lieu of such summary, a Responsible Officer of
the Borrower may certify that there have been no changes since the Closing Date or the end of
the previous fiscal month, as applicable.

(J) Additional Reports. Such additional reports reasonably requested by the Adminis-
trative Agent or the Lenders, including with respect to litigation and contingent liabilities.

Section 6.02 Other Events. The Loan Parties shall give the (x) Administrative Agent,
for delivery to each Lender, and (y) Pre-Petition First Lien Agent, for delivery to each Pre-
Petition First Lien Lender, notice of each of the following (which may be made by telephone if
promptly confirmed in writing) promptly after any Responsible Officer of any Group Member
knows: (a) any event (other than any event involving loss or damage to property) reasonably ex-
pected to result in a mandatory payment of the Obligations pursuant to Section 2.04, stating the
material terms and conditions of such transaction and estimating the Net Cash Proceeds thereof,
(b) the commencement of, or any material developments in, any action, investigation, suit, pro-
ceeding, audit, claim, demand, order or dispute with, by or before any Governmental Authority
affecting any Group Member or any property of any Group Member that seeks injunctive or sim-
ilar relief, (c) the acquisition of any material real property or the entering into of any material
lease and (d)} any event, occurrence or circumstance in which a material portion of the Collateral
is damaged, destroyed or otherwise impaired or adversely affected.

Section 6.03 Copies of Notices and Reports. The Loan Parties shall promptly deliver to
the (x) Administrative Agent, for delivery to each Lender, and (y) Pre-Petition First Lien Agent,
for delivery to each Pre-Petition First Lien Lender, copies of each of the following: (a) all re-
ports that any Loan Party transmits to its security holders generally, and (b) all documents that
any Group Member files with, or otherwise provides to, the Securities and Exchange Commis-
sion, any securities exchange or any Governmental Authority exercising similar functions, any
Governmental Authority exercising regulatory authority over the restaurant industry, the Bank-
ruptey Court (including, without limitation, any “Monthly Operating Reports”) or any Commit-
tee.

22505703.11. BUSINESS 65
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 73 of 121

Section 6.04 Taxes. The Loan Parties shall give the (x) Administrative Agent, for de-
livery to each Lender, and (y) Pre-Petition First Lien Agent, for delivery to each Pre-Petition
First Lien Lender, notice of each of the following (which may be made by telephone if promptly
confirmed in writing) promptly after any Responsible Officer of any Group Member knows of it:
(a) the creation, or filing with the IRS or any other Governmental Authority, of any Contractual
Obligation or other document extending, or having the effect of extending, the period for as-
sessment or collection of any Taxes with respect to any Tax Affiliate and (b) the creation of any
Contractual Obligation of any Tax Affiliate, or the receipt of any request directed to any Tax Af-
filiate, to make any adjustment under Section 481(a) of the Code, by reason of a change in ac-
counting method or otherwise, which, in either case, could reasonably be expected to have a Ma-
terial Adverse Effect.

Section 6.05 Labor Matters. The Loan Parties shall give the (x) Administrative Agent,
for delivery to each Lender, and (y) Pre-Petition First Lien Agent, for delivery to each Pre-
Petition First Lien Lender, notice of each of the following (which may be made by telephone if
promptly confirmed in writing), promptly after, and in any event within 30 days after any Re-
sponsible Officer of any Group Member knows or has reason to know of it: (a) the commence-
ment of any material labor dispute to which any Group Member is or may become a party, in-
cluding any class action litigation, strikes, lockouts or other disputes relating to any of such Per-
son’s restaurants, plants or other facilities and (b) the incurrence by any Group Member of any
Worker Adjustment and Retraining Notification Act or related or similar liability incurred with
respect to the closing of any plant or other facility of any such Person (other than, in the case of
this clause (b), those that could not, in the aggregate, reasonably be expected to have a Material
Adverse Effect).

Section 6.06 Lender Calls. The Borrower, Holdings and their respective officers (in-
cluding, the chief financial officer of the Borrower) and advisors (including any investment
banker or financial advisor retained by any Debtor) shall make themselves available for confer-
ence calls to be held on a weekly basis with the Administrative Agent and/or the other Secured
Parties or their representatives or advisors to discuss the Budget (and all updates and Variance
Reports related thereto), or any other issues as may be reasonably requested by the Administra-
tive Agent and/or the other Secured Parties, and such conference calls may be held without the
participation of the Loan Parties or any other representative or advisor of the Loan Parties.

ARTICLE VII.
AFFIRMATIVE COVENANTS

So long as any Lender shall have any Commitment hereunder, any Loan or other Obliga-
tion hereunder (other than contingent indemnification obligations for which no claim has been
made) shall remain unpaid or unsatisfied or shall remain outstanding, each Loan Party shall, and
shall cause each of its Subsidiaries to:

Section 7.01 Certificates; Other Information. Deliver to the Administrative Agent for
delivery to each Lender:

(a) concurrently with the delivery of the financial statements referred to in Sec-
tion 6.01 (a), (b) and (c) (commencing with the delivery of the financial statements for the fiscal

22505703. 11. BUSINESS 66
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 74 of 121

quarter ended September [28], 2016), a duly completed Compliance Certificate signed by the
chief executive officer, chief financial officer, treasurer or controller of the Borrower;

(b) promptly, and in any event within five Business Days after receipt thereof by any
Loan Party or any Subsidiary thereof, copies of each material notice or other material corre-
spondence received from the SEC (or comparable agency in any applicable non-U.S. jurisdic-
tion) concerning any investigation or possible investigation or other inquiry by such agency re-
garding financial or other operational results of any Loan Party or any Subsidiary thereof:

(c) promptly after receipt thereof by any Loan Party or any Subsidiary thereof, copies
of all notices, requests and other documents (including amendments, waivers and other modifica-
tions) so received under or pursuant to any instrument, indenture, loan or credit or similar
agreement regarding or related to any breach or default by any party thereto, or any other event,
in each case, that could reasonably be expected to materially impair the value of the interests or
the rights of any Loan Party or otherwise reasonably be expected to have a Material Adverse Ef-
fect;

(d) promptly after the assertion or occurrence thereof, notice of any action or pro-
ceeding against or of any noncompliance by any Loan Party or any of its Subsidiaries with any
Environmental Law or Environmental Permit that could (i) reasonably be expected to have a Ma-
terial Adverse Effect or (ii) cause any property owned or leased by any Loan Party to be subject
to any material restrictions on ownership, occupancy, use or transferability under any Environ-
mental Law;

(e) promptly, such additional information regarding the business, financial, legal or
corporate affairs of any Loan Party or any Subsidiary thereof, or compliance with the terms of
the Loan Documents, as the Administrative Agent or any Lender through the Administrative
Agent may from time to time reasonably request.

Documents required to be delivered pursuant to Section 6.01(a) or (b) (to the extent any
such documents are included in materials otherwise filed with the SEC) may be delivered elec-
tronically and if so delivered, shall be deemed to have been delivered on the date (i) on which the
Borrower posts such documents, or provides a link thereto on the Borrower’s website on the In-
ternet at the website address listed on Schedule 11.02; or (ii) on which such documents are post-
ed on the Borrower’s behalf on an Internet or intranet website, if any, to which each Lender and
the Administrative Agent have access (whether a commercial, third-party website or whether
sponsored by the Administrative Agent); provided that: (i) the Borrower shali deliver paper cop-
ies of such documents to the Administrative Agent or any Lender that requests the Borrower to
deliver such paper copies until a written request to cease delivering paper copies is given by the
Administrative Agent or such Lender and (ii) the Borrower shall notify the Administrative Agent
and each Lender (by telecopier or electronic mail) of the posting of any such documents and pro-
vide to the Administrative Agent by electronic mail electronic versions (ie., soft copies) of such
documents. Notwithstanding anything contained herein, in every instance the Borrower shall be
required to provide paper copies of the Compliance Certificates required by Section 7.01(a) to
the Administrative Agent. Except for such Compliance Certificates, the Administrative Agent
shall have no obligation to request the delivery or to maintain copies of the documents referred to
above, and in any event shall have no responsibility to monitor compliance by the Borrower with

22505703.11. BUSINESS 67
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 75 of 121

any such request for delivery, and each Lender shall be solely responsible for requesting delivery
to it or maintaining its copies of such documents.

The Borrower hereby acknowledges that (a) the Administrative Agent will make availa-
ble to the Lenders materials and/or information provided by or on behalf of the Borrower here-
under (collectively, “Borrower Materials”) by posting the Borrower Materials on SmartRoom or
another similar electronic system (the “Platform”) and (b) certain of the Lenders (each, a “Public
Lender”) may have personnel who do not wish to receive material non-public information with
respect to the Borrower or its Affiliates, or the respective securities of any of the foregoing, and
who may be engaged in investment and other market-related activities with respect to such Per-
sons’ securities. The Borrower hereby agrees that it will use commercially reasonable efforts to
identify that portion of the Borrower Materials that may be distributed to the Public Lenders and
that (w) all such Borrower Materials shall be clearly and conspicuously marked “PUBLIC”
which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently on the first
page thereof; (x) by marking Borrower Materials “PUBLIC,” the Borrower shall be deemed to
have authorized the Administrative Agent and the Lenders to treat such Borrower Materials as
not containing any material non-public information (although it may be sensitive and proprie-
tary), with respect to the Borrower or its securities for purposes of United States Federal and
State securities laws (provided, however, that to the extent such Borrower Materials constitute
Information, they shall be treated as set forth in Section 11.07); (y) all Borrower Materials
marked “PUBLIC” are permitted to be made available through a portion of the Platform desig-
nated “Public Side Information”; and (z) the Administrative Agent shall be entitled to treat any
Borrower Materials that are not marked “PUBLIC” as being suitable only for posting on a por-
tion of the Platform not designated “Public Side Information.” For purposes of this Agreement,
public information shall not be deemed to include any information and documentation that is of a
type that would be required under applicable securities laws to have been made publicly availa-
ble if the Borrower were a public reporting company.

Section 7.02 Notices. In addition to any other notice otherwise required under this
Agreement or any of the other Loan Documents, promptly notify the Administrative Agent and
each Lender in writing:

(a) of the occurrence of any Default or Event of Default;

(b) of any matter that has resulted or could reasonably be expected to result in a Ma-
terial Adverse Effect, including the following to the extent they have resulted or could reasona-
bly be expected to result in a Material Adverse Effect: (i) except as excused by the Bankruptcy
Code, breach or non-performance of, or any default under, a Contractual Obligation of any Loan
Party or any Subsidiary thereof; (ii) any dispute, litigation, investigation, proceeding or suspen-
sion between any Loan Party or any Subsidiary thereof and any Governmental Authority; or (iii)
the commencement of, or any material development in, any litigation or proceeding affecting any
Loan Party or any Subsidiary thereof, including pursuant to any applicable Environmental Laws;
and

(c) (i) of the occurrence of any ERISA Event; (ii) of the filing by any Loan Party of
Schedule B (or such other schedule as contains actuarial information) to IRS Form 5500 in re-
spect of a Plan with Unfunded Pension Liabilities (and shall provide a copy of such IRS Form

22505703. 11. BUSINESS 68
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 76 of 121

5500, including the Schedule B); or (iii) of (w) a material increase in Unfunded Pension Liabili-
ties (taking into account only Plans with positive Unfunded Pension Liabilities) since the date the
representations hereunder are deemed given, (x) the existence of potential withdrawal liability
under Section 4201 of ERISA if any Loan Party or any Subsidiary thereof were to withdraw
completely from any and all Multiemployer Plans, (y) the adoption of, or the commencement of
contributions to, any Plan subject to Section 412 of the Code by any Loan Party, any Subsidiary
thereof or any ERISA Affiliate, or (z) the adoption of any amendment to a Plan subject to Sec-
tion 412 of the Code that results in a material increase in contribution obligations of any Loan
Party, any Subsidiary thereof or any ERISA Affiliate.

Each notice pursuant to Section 7.02 shall be accompanied by a statement of a Responsi-
ble Officer of the Borrower setting forth details of the occurrence referred to therein and stating
what action the Loan Parties have taken and propose to take with respect thereto, to the extent
such details and other information are known to the Loan Parties. Each notice pursuant to Sec-
tion 7,02(a) shall describe with particularity any and all provisions of this Agreement and any
other Loan Document that have been breached.

Section 7.03 Payment of Taxes. Pay and discharge all post-petition Taxes imposed up-
on it or upon its income or profits, or upon any properties or assets belonging to it, in each case
on a timely basis, and all lawful claims which, if unpaid, may reasonably be expected to become
a Lien upon any properties or assets of any Loan Party or any Subsidiary thereof not otherwise
permitted under this Agreement; provided that none of the Loan Parties or any of their respective
Subsidiaries shall be required to pay any such Tax that is being contested in good faith by proper
proceedings diligently conducted if it has maintained adequate reserves with respect thereto in
accordance with GAAP or which could not reasonably be expected to, individually or in the ag-
gregate, have a Material Adverse Effect.

Section 7.04 Preservation of Existence, Etc. (a) Preserve, renew and maintain in full
force and effect its legal existence and good standing under the Laws of the jurisdiction of its
organization (except pursuant to a transaction expressly permitted by Section 8.04 or Section
8.05) and (b) take all reasonable action to maintain all rights, privileges, permits, licenses and
franchises necessary or desirable in the normal conduct of its business, except to the extent that
failure to do so could not reasonably be expected to have a Material Adverse Effect.

 

Section 7.05 Maintenance of Properties. (a) Maintain, preserve and protect all of its
material properties and equipment necessary in the operation of its business in good working or-
der and condition, ordinary wear and tear excepted and (b) make all necessary repairs thereto and
renewals and replacements thereof, except in each case where the failure to do so could not rea-
sonably be expected to have a Material Adverse Effect.

Section 7.06 Maintenance of Insurance. Maintain with financially sound and reputable
insurance companies not Affiliates of the Borrower, insurance with respect to its properties and
business against loss or damage of the kinds customarily insured against by Persons engaged in
the same or similar business, of such types and in such amounts as are customarily carried under
similar circumstances by such other Persons. All such insurance shall name the Administrative
Agent as an additional insured or lender’s loss payee, as applicable. If any portion of any Mort-
gaged Property is at any time located in an area identified by the Federal Emergency Manage-

22505703.11.BUSINESS 69
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 77 of 121

ment Agency (or any successor agency) as a special flood hazard area with respect to which
flood insurance has been made available under the National Flood Insurance Act of 1968 (as
now or hereafter in effect or successor act thereto), then, to the extent required by the Flood In-
surance Laws, the Borrower shall, or shall cause each Loan Party to, (i) maintain, or cause to be
maintained, with a financially sound and reputable insurer, flood insurance in an amount reason-
ably satisfactory to the Administrative Agent and otherwise sufficient to comply with all appli-
cable rules and regulations promulgated pursuant to the Flood Insurance Laws and (ii) deliver to
the Administrative Agent evidence of such compliance in form and substance reasonably ac-
ceptable to the Administrative Agent.

Section 7.07 Compliance with Laws. Except as excused by the Bankruptcy Code,
comply in all material respects with the requirements of all Laws and all orders, writs, injunc-
tions and decrees applicable to it or to its business or property, except in such instances in which
(a) such requirement of Law or order, writ, injunction or decree is being contested in good faith
by appropriate proceedings diligently conducted; or (b) the failure to comply therewith could not
reasonably be expected to have a Material Adverse Effect.

Section 7.08 Books and Records. (a) Maintain proper books of record and account, in
which full, true and correct entries in conformity with GAAP consistently applied shall be made
of all financial transactions and matters involving the assets and business of such Loan Party or
such Subsidiary, as the case may be; and (b) maintain such books of record and account in mate-
rial conformity with all applicable requirements of any Governmental Authority having regulato-
ry jurisdiction over such Loan Party or such Subsidiary, as the case may be. In addition, each
Group Member shall provide full and direct access during normal business hours and upon rea-
sonable prior notice to information (including historical information) and personnel as the Ad-
ministrative Agent may reasonably request from time to time, including regularly scheduled
meetings among senior management, company advisors, and the Administrative Agent and such
other consultants to the Administrative Agent and/or the Lenders as may be identified to the Bor-
rower, shall be provided with reasonable access during normal business hours and upon reasona-
ble prior notice to ail information it shall reasonably request and to other internal meetings re-
garding strategic planning, cash and liquidity management, operation and restructuring activities,
progress with respect to the Reorganization Plan and any other aspect of the Cases; provided,
however, that the foregoing shall not require the Borrower to permit any access, disclose any
privileged information or trade secret or violate any of its obligations with respect to confidenti-
ality or violate applicable laws. All access rights of the Administrative Agent or any other Lend-
er under this Section 7.08 shall extend to any of their respective representatives, agents, counsel,
advisors, accountants, appraisers, consultants, independent contractors or other designees.

Section 7.09 Inspection Rights. Permit representatives and independent contractors of
the Administrative Agent and each Lender to visit and inspect any of its properties and to discuss
its affairs, finances and accounts with its directors, officers, and independent public accountants,
all at the reasonable expense of the Borrower and at such reasonable times during normal busi-
ness hours and as often as may be reasonably desired, upon reasonable advance notice to the
Borrower; provided that, excluding any such visits and inspections during the continuation of an
Event of Default, only the Administrative Agent on behalf of the Lenders may exercise rights of
the Administrative Agent and the Lenders under this Section 7.09, and the Administrative Agent

22505703. 11. BUSINESS 70
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 78 of 121

shall not exercise such rights more ofien than three (3) times during any calendar year absent the
existence of an Event of Default, and only three (3) such visits shall be at the Borrower's ex-
pense; provided further that when an Event of Default exists, the Administrative Agent or any
Lender (or any of their respective representatives or independent contractors) may do any of the
foregoing at the expense of the Borrower at any time during normal business hours and upon rea-
sonable advance notice. The Administrative Agent and the Lenders shall give the Borrower the
opportunity to participate in any discussions with the Borrower’s independent public account-
ants. Notwithstanding anything to the contrary in this Section 7.09, the Borrower shall not be re-
quired to disclose or permit the inspection or discussion of, any document, information or other
matter (i) that constitutes non-financial trade secrets or non-financial proprietary information, (ii)
in respect of which disclosure to the Administrative Agent or any Lender (or their respective rep-
resentatives or contractors) is prohibited by Law or any binding agreement or (iii) that is subject
to attorney client or similar privilege or constitutes attorney work product.

Section 7.10 Use of Proceeds. Use the proceeds of the Loans in accordance with the
Budget (including, subject to Section 8.17, by reason of a Permitted Variance) to: (i) provide
working capital to the Loan Parties that are Debtors in the Cases; (ii) fund interest, fees and other
payments contemplated hereunder, including, without limitation, the Adequate Protection Pay-
ments; and (iii) fund costs of the administration of the Cases and the consummation of the Re-
structuring (including professional fees).

Section 7.11 Information Regarding Collateral.

(a) Not effect any change (i) in any Loan Party’s legal name, (ii) in the location of
any Loan Party’s chief executive office, (iii) in any Loan Party’s identity or organizational struc-
ture, (iv) in any Loan Party’s Federal Taxpayer Identification Number or organizational identifi-
cation number, if any, or (v) in any Loan Party’s jurisdiction of organization (in each case, in-
cluding by merging with or into any other entity, reorganizing, dissolving, liquidating, reorganiz-
ing or organizing in any other jurisdiction), until (A) it shall have given the Administrative Agent
not less than 30 days’ prior written notice (in the form of an Officers’ Certificate), or such lesser
notice period agreed to by the Administrative Agent, of its intention so to do, clearly describing
such change and providing such other information in connection therewith as the Administrative
Agent may reasonably request and (B) it shall have taken all action reasonably satisfactory to the
Administrative Agent to maintain the perfection and priority of the security interest of the Ad-
ministrative Agent for the benefit of the Secured Parties in the Collateral, if applicable. Each
Loan Party agrees to promptly provide the Administrative Agent with certified Organizational
Documents reflecting any of the changes described in the preceding sentence. Each Loan Party
also agrees to promptly notify the Administrative Agent of any change in the location of any of-
fice in which it maintains books or records relating to Collateral owned by it or any office or fa-
cility at which Collateral is located (including the establishment of any such new office or facili-
ty), other than changes in location to a Mortgaged Property or a leased property subject to a
Landlord Access Agreement (as defined in the Security Agreement).

22505703.11.BUSINESS 71
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 79 of 121

Section 7.12 Covenant to Guarantee Obligations and Give Security.

(a) Upon the formation or acquisition of any new direct or indirect Subsidiary (other
than an Excluded Subsidiary) by any Loan Party, then the Loan Parties shall, at the expense of
the Loan Parties:

(i) within 15 days after such formation or acquisition, cause such Subsidiary,
io duly execute and deliver to the Administrative Agent a guaranty or guaranty supple-
ment, in form and substance satisfactory to the Administrative Agent, guaranteeing the
other Loan Parties’ obligations under the Loan Documents,

(ii) — within 15 days after such formation or acquisition, furnish to the Adminis-
trative Agent a description of the real and personal properties of such Subsidiary, in detail
reasonably satisfactory to the Administrative Agent,

(iii) within 30 days after such formation or acquisition, cause such Subsidiary
to duly execute and deliver to the Administrative Agent any Mortgages, Security Agree-
ment Supplements, IP Security Agreements, each item required pursuant to the Mort-
gaged Property Requirement and other security and pledge agreements required by the
Security Agreement, as specified by and in form and substance reasonably satisfactory to
the Administrative Agent (including delivery of all Pledged Securities in and of such
Subsidiary, and other instruments of the type specified in Section 4.01(a)(iii)), to grant a
security interest in the assets of such Subsidiary constituting Collateral;

(iv) within 30 days after such formation or acquisition, cause such Subsidiary
to take whatever action (including the recording of Mortgages, the filing of Uniform
Commercial Code financing statements, the giving of notices and the endorsement of no-
tices on title documents) required hereunder or in the Security Agreement to vest in the
Administrative Agent (or in any representative of the Administrative Agent designated by
it), for the benefit of the Secured Parties, valid and subsisting Liens on the assets of such
Subsidiary constituting Collateral, and

(v) concurrently with the actions taken under clauses (iii) and (iv) above, de-
liver to the Administrative Agent, upon the request of the Administrative Agent or the
Required Lenders in their sole discretion, a signed copy of a favorable opinion, addressed
to the Administrative Agent and the other Secured Parties, of counsel for the Loan Parties
acceptable to the Administrative Agent as to the matters contained in clauses (i), (iii) and
(iv) above, and as to such other matters as the Administrative Agent may reasonably re-
quest.

(b) Upon the acquisition of (i) any property with a value in excess of $[{100,000] by
any Loan Party, if such property, in the judgment of the Administrative Agent, shall not already
be subject to a perfected first priority Lien and security interest in favor of the Administrative
Agent for the benefit of the Secured Parties, then the Loan Parties shall, at the Loan Parties’ ex-
pense:

22505703.11.BUSINESS 72
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 80 of 121

(i) within 5 days after such acquisition, furnish to the Administrative Agent a
description of the property so acquired in detail satisfactory to the Administrative Agent,

(ii) within 5 days after such acquisition, cause the applicable Loan Party to
duly execute and deliver to the Administrative Agent, Security Agreement Supplements,
IP Security Agreements and other security and pledge agreements required by the Securi-
ty Agreement, as specified by and in form and substance reasonably satisfactory to the
Administrative Agent, to grant a security interest in the assets of the applicable Loan Par-
ty constituting Collateral,

(iii) within 10 days after such acquisition, cause the applicable Loan Party to
take whatever action (including the filing of Uniform Commercial Code financing state-
ments, the giving of notices and the endorsement of notices on title documents) required
hereunder or in the Security Agreement to vest in the Administrative Agent (or in any
representative of the Administrative Agent designated by it) for the benefit of the Secured
Parties valid and subsisting Liens on the assets of such Loan Party constituting Collateral,

(iv) concurrently with the actions taken under clauses (ii) and (iii) above, de-
liver to the Administrative Agent, upon the request of the Administrative Agent or the
Required Lenders in their sole discretion, a signed copy of a favorable opinion, addressed
to the Administrative Agent and the other Secured Parties, of counsel for the Loan Parties
acceptable to the Administrative Agent as to the matters contained in clauses (ii) and (iii)
above and as to such other matters as the Administrative Agent may reasonably request,

(c) Reserved, and

(d) At any time upon request of the Administrative Agent, promptly execute and de-
liver any and all further instruments and documents and take all such other action as the Admin-
istrative Agent may reasonably deem necessary or desirable in obtaining the full benefits of, or
(as applicable) in perfecting and preserving the Liens of, such guaranties, deeds of trust, trust
deeds, deeds to secure debt, mortgages, Security Agreement Supplements and other security and
pledge agreements and supplements thereto.

(e) Notwithstanding anything to the contrary herein, in no case shall a Loan Party be
required to grant a security interest in any Equity Interests in a CFC or a Transparent Subsidiary,
other than (7) 100% of the non-voting Equity Interests (if any) in a CFC or Transparent Subsidi-
ary, as applicable, that is a first-tier Subsidiary of such Loan Party, and (ii) 65% of the voting
Equity Interests in a CFC or Transparent Subsidiary, as applicable, that is a first-tier Subsidiary
of such Loan Party, in each case to secure Obligations of such Loan Party.

(f) Notwithstanding anything to the contrary herein, the Required Lenders may agree
in their sole discretion to extend any of the time periods set forth in this Section 7.12.

Section 7.13 Compliance with Environmental Laws. Except as required by the Bank-
ruptcy Code or orders of the Bankruptcy Court, comply, and cause all its lessees and other Per-
sons operating or occupying its properties to comply, with all applicable Environmental Laws
and Environmental Permits, except where the failure to comply could not reasonably be expected

22505703.11.BUSINESS 73
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 81 of 121

to result in a Material Adverse Effect; obtain and renew all Environmental Permits necessary for
its operations and properties, except whether the failure to obtain or renew could not reasonably
be expected to result in a Material Adverse Effect; and conduct any investigation, study, sam-
pling and testing, and undertake any cleanup, removal, remedial or other action necessary to re-
move and clean up Hazardous Materials from any of its properties, to the extent required of it by
and in material compliance with Environmental Laws; provided, however, that neither the Bor-
rower nor any of its Subsidiaries shall be required to undertake any such investigation, study,
sampling, testing, cleanup, removal, remedial or other action to the extent that its obligation to
do so is being contested in good faith and by proper proceedings and appropriate reserves are
being maintained with respect to such circumstances in accordance with GAAP.

Section 7.14 Further Assurances. Promptly upon request by the Administrative Agent,
or any Lender through the Administrative Agent, (a) correct any material defect or error that may
be discovered in any Loan Document or in the execution, acknowledgment, filing or recordation
thereof, and (b) do, execute, acknowledge, deliver, record, re-record, file, re-file, register and re-
register any and all such further acts, deeds, certificates, assurances and other instruments as the
Administrative Agent, or any Lender through the Administrative Agent, may reasonably require
from time to time in order to (i) carry out more effectively the purposes of the Loan Documents,
(ii) subject to any Loan Party’s or any of its Subsidiaries’ properties, assets, rights or interests to
the Liens now or hereafter intended to be covered by any of the Collateral Documents, (iii) per-
fect and maintain the validity, effectiveness and priority of any Collateral Documents and any of
the Liens intended to be created thereunder and (iv) assure, convey, grant, assign, transfer, pre-
serve, protect and confirm more effectively unto the Secured Parties the rights granted or now or
hereafter intended to be granted to the Secured Parties under any Loan Documents or under any
other instrument executed in connection with any Loan Document to which any Loan Party or
any of its Subsidiaries is or is to be a party, and cause each of its Subsidiaries to do so.

Section 7.15 Post-Closing Covenant. To the extent any actions to create or perfect a
security interest in Collateral to be provided hereunder or any other matters herein that are spe-
cifically subject to this Section 7.15 are not completed on or prior to the Closing Date notwith-
standing the Borrower’s use of best efforts to do so, the Borrower will complete each of such ac-
tions as soon as commercially reasonable but in no event later than Final Order Entry Date unless
a later date is agreed to by the Required Lenders or the Administrative Agent at the direction of
the Required Lenders; provided, that the Loan Parties shall deliver the Perfection Certificate to
the Administrative Agent on or before the date that is within ten (10) days of the Closing Date.

Section 7.16 Compliance with Milestones. Comply with the following relating to the
Cases in accordance with the applicable timing referred to below (or such later dates as approved
by the Required Lenders or the Administrative Agent by consent of the Required Lenders, other
than any Plan Milestones set forth in clauses (g), (i) or (I) (and with respect to clause (1), only to
the extent that the Effective Date were to be extended beyond December 14, 2016) below, which
shall be subject to the approval of the Unanimous DIP Lenders as well), as well as certain other
agreed milestones as may relate to the Cases (collectively, the “Plan Milestones” and each indi-
vidually, a “Plan Milestone”):

(a) Reserved;

22505703.11.BUSINESS 74
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 82 of 121

(b) on or before September 26, 2016, the Debtors must seek to obtain exit financing
from third parties on terms similar to or better than the terms set forth in the Exit First Lien Fa-
cility;

(c) Reserved;

(d) the Debtors shall have commenced the respective Cases in the Bankruptcy Court
no later than August 15, 2016;

(e) each Debtor shail file the Reorganization Plan, and an accompanying disclosure
statement (the “Disclosure Statement”), which shall be reasonably acceptable in form and sub-
stance to the Administrative Agent, the Required Lenders, the Debtors, the Supporting Lenders,
the Required Supporting Noteholders, and the Supporting Interest Holders, in the Cases by no
later than August 15, 2016;

(f) the Debtors shail file a motion seeking approval of the Facility within one Busi-
ness Day of the Petition Date;

(g) the Interim Order shall be entered by the Bankruptcy Court in the Cases no later
than three (3) Business Days after the Petition Date;

(h) an order in form and substance acceptable to the Debtors, the Supporting Lenders,
the Required Supporting Noteholders, and the Supporting Interest Holders, approving the as-
sumption of the Restructuring Support Agreement shall be entered by the Bankruptcy Court in
the Cases no later than thirty-five (35) calendar days after the Petition Date;

qi) the Final Order shall be entered by the Bankruptcy Court in the Cases no later
than thirty-five (35) calendar days after the Petition Date;

(j) an order approving the Disclosure Statement, which shall be reasonably accepta-
ble in form and substance to the Administrative Agent, the Required Lenders, the Debtors, the
Supporting Lenders, the Required Supporting Noteholders, and the Supporting Interest Holders,
shall be entered by the Bankruptcy Court in the Cases by no later than September 26, 2016;

(k) an order confirming the Reorganization Plan, which shall be reasonably accepta-
ble in form and substance to the Administrative Agent, the Required Lenders, the Debtors, the
Supporting Lenders, the Required Supporting Noteholders, and the Supporting Interest Holders,
shall be entered by the Bankruptcy Court in the applicable Cases by no later than November 7,
2016; and

(1) the Effective Date shall occur by no later than November 14, 2016.

Section 7.17 Opposition to Certain Motions, Each Loan Party shall promptly and dili-
gently oppose all motions filed by Persons in the Bankruptcy Court to lift the stay on any Collat-
eral (other than motions filed by the Administrative Agent, the Pre-Petition Indenture Trustees,
the Lenders, the Pre-Petition 2010 Indenture Noteholders and/or the Pre-Petition 2015 Indenture
Noteholders relating to the Facility), all motions filed by Persons in the Bankruptcy Court to

22505703.11. BUSINESS 75
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 83 of 121

terminate the exclusive ability of the Debtors to file a plan of reorganization, and all other mo-
tions filed by Persons in the Bankruptcy Court that, if granted, could reasonably be expected to
have a material adverse effect on the Administrative Agent or any Collateral.

Section 7.18 Priority and Liens. At all times during the term hereof, ensure each of the
following:

(a) Upon entry of each DIP Order, the Borrower’s and each other Debtor’s Obliga-
tions hereunder and under each of the other Loan Documents shall, at all times:

(i) pursuant to section 364(c)(1) of the Bankruptcy Code, constitute an al-
lowed superpriority claim on a joint and several basis in the Case of such Loan Party;

(ii) subject to the Carve-Out, pursuant to section 364(c)(2) of the Bankruptcy
Code, be secured by first priority, valid, binding, continuing, enforceable and fully-
perfected security interests in, and Liens upon, all Collateral that, on or as of the Petition
Date, is not subject to valid, perfected and non-avoidable liens (excluding any Avoidance
Actions (but including, following the entry of the Final Order, the proceeds therefrom));

(ui) —_ pursuant to section 364(c)(3) of the Bankruptcy Code, be secured by valid,
binding, continuing, enforceable and fully-perfected security interests in, and Liens upon,
the Collateral (other than the property described in clause (ii) or (iv) of this Section
7.18(a), as to which the liens and security interests in favor of the Administrative Agent
will be as described in such clauses), whether existing on the Petition Date or thereafter
acquired, that is subject to the liens of the Pre-Petition First Lien Secured Parties securing
the Pre-Petition First Lien Obligations, the Adequate Protection Liens of the Pre-Petition
Secured Parties, the Carve-Out, or any Permitted Lien (as defined in the Interim Order)
which security interests and liens in favor of the Administrative Agent, are junior to such
valid, perfected, and non-avoidable liens; and

(iv) pursuant to section 364(d)(1) of the Bankruptcy Code, be secured by valid,
binding, continuing, enforceable, fully-perfected first priority senior priming security in-
terests in and Liens upon all Collateral that is subject to valid, perfected, and non-
avoidable liens presently held for the benefit of the Pre-Petition Indenture Secured Parties
(such priming liens, the “Priming Liens” and such primed liens of the Pre-Petition Inden-
ture Noteholders, the “Primed Liens”). The Priming Liens shall be senior in all respects
to the interests in such property of any of the Pre-Petition Indenture Secured Parties (in-
cluding, without limitation, any and all forms of adequate protection granted to the fore-
going), but shall be junior to the liens of the Pre-Petition First Lien Secured Parties secur-
ing the Pre-Petition First Lien Obligations, the Adequate Protection Liens of the Pre-
Petition First Lien Secured Parties, the Carve-Out and the Permitted Liens (as defined in
the Interim Order). The Primed Liens shall be primed by and made subject and subordi-
nate to the Priming Liens, but the Priming Liens shall not prime liens, if any, to which the
Primed Liens are subordinate at the time of the commencement of the Cases.

(b} The Secured Parties’ Liens and superpriority claims as described in Section
7.18(a) shall have priority over any claims arising, upon entry of the Final Order, under sections
y y 8, up

22505703.11. BUSINESS 76
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 84 of 121

105 and 506(c) of the Bankruptcy Code, and shall be subject only to the liens of the Pre-Petition
First Lien Lenders securing the Pre-Petition First Lien Obligations, the Adequate Protection
Liens of the Pre-Petition First Lien Lenders, the Carve-Out, any other Permitted Liens (as de-
fined in the Interim Order) and the payment of the Adequate Protection Claims of the Pre-
Petition First Lien Lenders. Except as set forth herein, no other claim having a priority superior
to or pari passu with that granted to Secured Parties by the Interim Order and Final Order,
whichever is then in effect, shall be granted or approved while any Obligations under this
Agreement remain outstanding.

(c) Except for the Carve-Out, no costs or expenses of administration shall! be imposed
against the Administrative Agent, the Lenders, any other Secured Party or any of the Collateral
or, subject to entry of the Final Order, under sections 105 or 506(c) of the Bankruptcy Code, or
otherwise, and each of the Loan Parties hereby waives for itself and on behalf of its estate in
bankruptcy, any and all rights under sections 105 or, upon entry of the Final Order, 506(c) of the
Bankruptcy Code, or otherwise, to assert or impose or seek to assert or impose, any such costs
or expenses of administration against Administrative Agent, the Lenders or any other Secured

Party.

(d) | Except for the Carve-Out, the respective superpriority claims of the Secured Par-
ties, the Pre-Petition First Lien Agent, the Pre-Petition First Lien Lenders, the Pre-Petition Inden-
ture Trustees and the Pre-Petition Indenture Noteholders shall at all times be senior to the rights
of such Loan Party, any chapter 11 trustee and, subject to section 726 of the Bankruptcy Code,
any chapter 7 trustee, or any other creditor (including, without limitation, post-petition counter-
parties and other post-petition creditors) in the Cases or any subsequent proceedings under the
Bankruptcy Code, including, without limitation, any chapter 7 cases (if any of such Loan Party’s
cases are converted to cases under chapter 7 of the Bankruptcy Code). Notwithstanding the fore-
going, the superpriority claims of the Secured Parties shall be junior to the Adequate Protection
Claims of the Pre-Petition First Lien Lenders.

ARTICLE VUI.
NEGATIVE COVENANTS

So long as any Lender shall have any Commitment hereunder, any Loan or other Obliga-
tion hereunder (other than contingent indemnification obligations for which no claims has been
made) shall remain unpaid or unsatisfied or shall remain outstanding, each Loan Party shall not,
nor shall it permit any of its Subsidiaries to, directly or indirectly:

Section 8.01 Liens. Create, incur, assume or suffer to exist any Lien upon any of its
property, assets or revenues, whether now owned or hereafter acquired, other than the following
(the “Permitted Liens”):

(a) Liens securing the Obligations;

(b) Liens which are Permitted Liens (as defined in the Interim DIP Order);

22505703.11. BUSINESS 77
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 85 of 121

(c) Adequate Protection Liens and Liens securing Indebtedness of the Loan Parties
outstanding under the Pre-Petition First Lien Loan Documents or the Pre-Petition Indenture
Documents as of the Closing Date or as otherwise provided under the DIP Orders; and

(d) Liens for Taxes that are not overdue for a period of more than 30 days or that are
being contested in good faith and by appropriate proceedings diligently conducted, if adequate
reserves with respect.thereto are maintained on the books of the applicable Person in accordance
with GAAP.

Section 8.02 Investments. Make any Investments, except:
(a) Investments existing on the Petition Date and listed on Schedule 8.02(a);

(b) Investments as provided in the Budget (including Permitted Variances) or the DIP
Orders.

Section 8.03 Indebtedness. Create, incur, assume or suffer to exist any Indebtedness,
except

(a) Indebtedness in respect of the (i) Obligations, (ii) Pre-Petition First Lien Obliga-
tions and (ii1} obligations under the Pre-Petition Indenture Documents:

(b) Indebtedness existing on the date hereof and listed on Schedule 8.03(b) and any
permitted refinancing thereof allowed pursuant to Section 8.14;

(c) Indebtedness in respect of swap contracts designed to hedge against interest rates,
foreign exchange rates or commodities pricing risks incurred in the ordinary course of business
and not for speculative purposes; and

(d) Indebtedness as provided in the Budget (including Permitted Variances) or the —
DIP Orders.

The accrual of interest, the accretion of accreted value and the payment of interest in the
form of additional Indebtedness shall not be deemed to be an incurrence of Indebtedness for pur-
poses of this Section 8.03.

Section 8.04 Fundamental Changes. Merge, dissolve, liquidate, consolidate with or in-
to another Person, or Dispose of (whether in one transaction or in a series of transactions) all or
substantially all of its assets (whether now owned or hereafter acquired) to or in favor of any
Person, except that, so long as no Default exists or would result therefrom:

(a) any Subsidiary may merge with (i) the Borrower; provided that the Borrower shall
be the continuing or surviving Person, or (ii) any one or more other Subsidiaries; provided that
when any Subsidiary that is a Loan Party is merging with another Subsidiary, a Loan Party shail
be the continuing or surviving Person;

(b) the Borrower may change its legal form if it determines in good faith that such ac-
tion is in the best interests of the Borrower and its Subsidiaries, and the Administrative Agent

22505703.11.BUSINESS 78
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 86 of 121

reasonably determines it is not disadvantageous to the Lenders or in conflict with the Restructur-
ing Support Agreement; and

(c} any Loan Party may Dispose of all or substantially all of its assets (upon volun-
tary liquidation or otherwise) to the Borrower or to another Loan Party (other than Holdings or
any Roadhouse Parent Entity).

Section 8.05 Dispositions, Make any Disposition or enter into any agreement to make
any Disposition, except:

(a) Dispositions of obsolete, worn out or surplus property, whether now owned or
hereafier acquired, in the ordinary course of business and Dispositions of property no longer
used or useful in the conduct of the business of the Borrower and its Subsidiaries;

(b) Dispositions of inventory, equipment and immaterial assets in the ordinary course
of business;

(c) Dispositions of property by any Subsidiary to the Borrower or to a wholly-owned
Subsidiary; provided that if the transferor of such property is a Guarantor, the transferee thereof
must either be the Borrower or a Guarantor;

(d) Dispositions permitted by Section 8.02, Section 8.04 and Section 8.06 and Liens
permitted by Section 8.01;

 

(ec) Dispositions in the ordinary course of business of Cash Equivalents;

(f) leases, subleases, licenses or sublicenses, in each case in the ordinary course of
business and which do not materially interfere with the business of the Borrower and its Subsidi-
aries, taken as a whole;

(g) transfers of property subject to Casualty Events upon receipt of the Net Cash Pro-
ceeds of such Casualty Event;

(h) Dispositions of Investments in joint ventures to the extent required by, or made
pursuant to customary buy/sell arrangements between, the joint venture parties set forth in joint
venture arrangements and similar binding arrangements;

(i) Dispositions of accounts receivable in the ordinary course of business in connec-
tion with the collection or compromise thereof:

(j) The unwinding of any swap contract pursuant to its terms;
(k) Dispositions in the ordinary course of business consisting of the abandonment of
Company IP Rights which, in the reasonable good faith determination of the Borrower or any

Subsidiary, are uneconomical, negligible, obsolete or otherwise net material in the conduct of its
business; and

22505703.11.BUSINESS 79
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 87 of 121

(1) any surrender or waiver of contractual rights or the settlement, release or surren-
der of contractual rights or other litigation claims in the ordinary course of business.

Yo the extent any Collateral is disposed of as expressly permitted by this Section 8.05 to
any Person other than to a Loan Party, such Collateral shall be sold free and clear of the Liens
created by the Loan Documents and, if requested by the Administrative Agent, upon the certifi-
cation by the Borrower that such Disposition is permitted by this Agreement, the Administrative
Agent shall be authorized to take and shall take any actions deemed appropriate in order to effect
the foregoing.

Section 8.06 Restricted Payments. Declare or make, directly or indirectly, any Re-
stricted Payment, or incur any obligation (contingent or otherwise) to do so, except that:

(a) each Subsidiary may make Restricted Payments to the Borrower, any Subsidiaries
of the Borrower that are Guarantors and any other Person that owns a direct Equity Interest in
such Subsidiary, ratably according to their respective holdings of the type of Equity Interest in
respect of which such Restricted Payment is being made;

(b) Permitted Tax Distributions may be made by any Group Member; and

(c) to the extent constituting Restricted Payments, the Borrower and its Subsidiaries
may enter into and consummate transactions expressly permitted by any provision of Section
8.02 or Section 8.04.

Section 8.07 Change in Nature of Business. Engage in any material line of business
different in any material respect from those lines of business conducted by the Borrower and its
Subsidiaries on the date hereof or any business substantially related or incidental thereto.

Section 8.08 Transactions with Affiliates. Except with the prior written consent of the
Administrative Agent and Required Lenders, enter into any transaction of any kind with any Af-
filiate of the Borrower, whether or not in the ordinary course of business, other than:

(a) transactions between or among the Borrower or any Subsidiary that is a Guarantor
or any entity that becomes a Subsidiary that becomes a Guarantor as a result of such transaction;

(b) —_ loans and other transactions by and among the Borrower and/or one or more Sub-
sidiaries to the extent otherwise permitted under this Article VII:

(c) employment and severance arrangements between the Borrower or any of its Sub-
sidiaries and their respective officers and employees in the ordinary course of business and trans-
actions pursuant to stock option plans and employee benefit plans and arrangements; provided
that such arrangements are limited to incentive plans approved by the Bankruptcy Court in ac-
cordance with the Restructuring Support Agreement,

(d) the payment of customary fees and reasonable out-of-pocket costs to, and indem-
nities provided on behalf of, directors, officers, employees and consultants of the Borrower and

22505703.11.BUSINESS 80
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 88 of 121

its Subsidiaries or any direct or indirect parent of the Borrower in the ordinary course of business
to the extent attributable to the ownership or operation of the Borrower and its Subsidiaries: and

(e} transactions pursuant to the Restructuring Support Agreement or the Reorganiza-
tion Plan.

Section 8.09 Burdensome Agreements. Enter into or permit to exist any Contractual
Obligation (other than this Agreement or any other Loan Document or as required under the
Bankruptcy Code) that limits the ability (i) of any Subsidiary (other than an Excluded Subsidi-
ary) to make Restricted Payments to the Borrower or any Guarantor or to otherwise transfer
property to invest m the Borrower or any Guarantor, (ii) of any Loan Party (other than the Bor-
rower or an Excluded Subsidiary) to Guarantee the Indebtedness of the Borrower or (iii) of the
Borrower, any other Loan Party or any Subsidiary thereof (other than an Excluded Subsidiary) to
create, incur, assume or suffer to exist Liens on property of such Person for the benefit of the Se-
cured Parties with respect to the Obligations; provided, however, that the foregoing shall not ap-

ply to:
(a) restrictions and conditions imposed by law or any Loan Document;

(b) restrictions and conditions existing on the Closing Date (including, without limi-
tation, any restrictions or conditions pursuant to existing Indebtedness permitted under Section
8.03(a)) or to any extension, renewal, amendment, modification or replacement thereof, except to
the extent any such amendment, modification or replacement expands the scope of any such re-
striction or condition;

(c) customary restrictions and conditions contained in agreements relating to the sale
of a Subsidiary or any assets pending such sale, provided that such restrictions and conditions
apply only to the Subsidiary or assets that is or are to be sold and such sale is permitted hereun-
der;

(d} customary provisions in leases, licenses and other contracts restricting the as-
signment thereof;

(e) restrictions imposed by any agreement relating to secured Indebtedness permitted
by this Agreement to the extent such restriction applies only to the property securing such In-
debtedness;

(f) restrictions or conditions set forth in any agreement in effect at any time a Person
becomes a Subsidiary (but not any modification or amendment expanding the scope of any such
restriction or condition), provided that such agreement was not entered into in contemplation of
such Person becoming a Subsidiary and the restriction or condition set forth in such agreement
does not apply to the Borrower, any other Loan Party or any other Subsidiary:

(g) restrictions or conditions in any Indebtedness permitted pursuant to Section 8.03
to the extent such restrictions or conditions are no more restrictive than the restrictions and con-
ditions in the Loan Documents or, in the case of subordinated debt, are market terms at the time

22505703.11- BUSINESS 81
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 89 of 121

of issuance or, in the case of Indebtedness of any non-Guarantor, are imposed solely on such
non-Guarantor and its Subsidiaries;

(h) restrictions on cash or other deposits imposed by agreements entered into in the
ordinary course of business;

{i) encumbrances and restrictions under the Organization Documents of any joint
ventures existing on the Closing Date; and

(j) negative pledges incurred or provided in favor of any holder of Indebtedness per-
mitted under Section 8.03 solely to the extent any such negative pledge relates to the property
financed by or the subject of such Indebtedness.

Section 8.10 Use of Proceeds.

(a) Use the proceeds of any Credit Extension, whether directly or indirectly, and
whether immediately, incidentally or ultimately, to purchase or carry margin stock (within the
meaning of Regulation U of the FRB) or to extend credit to others for the purpose of purchasing
or carrying margin stock or to refund indebtedness originally incurred for such purpose.

(b) Use any portion of the Carve-Out, any proceeds of any Credit Extension, cash
collateral or other Collateral or prepetition collateral proceeds, for the payment of the fees and
expenses of any Person incurred in challenging, or in relation to (i) the challenge of the Liens or
claims of any or all of the Administrative Agent or the Lenders, or the initiation or prosecution of
any claim or cause of action against any or all of the Administrative Agent, the Lenders, the Pre-
Petition First Lien Agent, any Pre-Petition Indenture Trustee, the Pre-Petition First Lien Lenders,
and the Pre-Petition Indenture Noteholders, including any claim under chapter 5 of the Bank-
rupicy Code, (ii) the assertion of any claims or causes of actions (including any claims or causes
of action under chapter. 5 of the Bankruptcy Code) against any or all of the Pre-Petition First
Lien Agent, the Pre-Petition Indenture Trustees, the Pre-Petition First Lien Lenders, and the Pre-
Petition Indenture Noteholders, their respective advisors, agents and sub-agents, including for-
mal discovery proceedings in anticipation thereof and (iii) the assertion of any claims or chal-
lenges relating to the allocation of value as between encumbered and unencumbered assets (if
any). The foregoing notwithstanding, no more than $25,000 in the aggregate of the amounts set
forth in the Budget, the Carve-Out, any cash collateral, or proceeds of any Credit Extension, Col-
lateral or prepetition collateral may be used by the Committee, or any representative of the es-
tates, to investigate, but not prosecute (or prepare for the prosecution of) any challenge or motion
seeking standing to prosecute a challenge, to, the claims and/or Liens of the Pre-Petition First
Lien Agent, the Pre-Petition Indenture Trustees, the Pre-Petition First Lien Lenders and the Pre-
Petition Indenture Noteholders; provided, however, that nothing in this Agreement, any other
Loan Document or the DIP Orders shall vest or confer on the Committee, or any representative
of the estates, standing or authority to pursue any cause of action belonging to the Debtors or
their estates. In addition, neither the Carve-Out nor any proceeds of any Credit Extension, cash
collateral, Collateral or prepetition collateral shall be used in connection with preventing, hinder-
ing or delaying the Lenders’, the Administrative Agent’s, the Pre-Petition First Lien Agent’s, the
Pre-Petition Indenture Trustees’, the Pre-Petition First Lien Lenders’ or the Pre-Petition Inden-
ture Noteholders’ enforcement or realization upon the Collateral once an Event of Default has

22505703.11.BUSINESS &2
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 90 of 121

occutred and is continuing under the Loan Documents, subject to the notice provisions in Section
9.02 (and a comparable notice provision to be included in the Final Order with respect to the Pre-
Petition First Lien Agent, the Pre-Petition Indenture Trustees, the Pre-Petition First Lien Lenders
and the Pre-Petition Indenture Noteholders).

Section 8.11 Capital Expenditures. Make or become legally obligated to make any
Capital Expenditure, other than as set forth in the Budget (including Permitted Variances there-
to).

Section 8.12 Amendments of Organization Documents. Amend, supplement, waive or
otherwise modify, or permit any amendment, supplement, waiver or other modification to, any of
its Organization Documents in a manner adverse to the interests of the Lenders.

Section 8.13 Accounting Changes. Make any change in (a) accounting policies or re-
porting practices, except as required by GAAP, or (b) fiscal year; provided, however, that the
Borrower may, upon written notice to the Administrative Agent change its (x) accounting poli-
cies and/or reporting practices and/or (y) fiscal year, in each case as may be reasonably accepta-
ble to the Administrative Agent and the Required Lenders, in which case the Borrower and the
Administrative Agent will, and are hereby authorized by the Lenders to, make any adjustments to
this Agreement that are necessary to reflect such change in fiscal year and/or accounting policies
or reporting practices.

Section 8.14 Prepayments, Etc. of Indebtedness. (i) Prepay, redeem, purchase, defease
or otherwise satisfy prior to the scheduled maturity thereof in any manner any Indebtedness (it
being understood that payments of regularly scheduled interest and mandatory prepayments un-
der Indebtedness expressly permitted to be incurred hereunder shall be permitted, subject in each
case to the DIP Orders) except (a) the conversion of any such Indebtedness to Qualified Equity
Interests of Holdings (or any direct or indirect parent thereof), and (b) refinancings and refund-
ings of such Indebtedness in compliance with the Budget, or (i) amend, modify or change in any
manner any term or condition of any Indebtedness set forth in Schedule 8.03(b) in a manner ma-
terially adverse to the Admmistrative Agent or the Lenders without the consent of the Required
Lenders, except for any refinancing, refunding, renewal or extension thereof contemplated by the
Budget and permitted hereunder.

Section 8.15 Holding Company. In the case of Holdings and any Roadhouse Parent
Entity, engage in any business or activity other than (a) (i) in the case of Holdings, the ownership
of all outstanding Equity Interests in the Borrower, (ii) in the case of Roadhouse Parent, the
ownership of all outstanding Equity Interests in Holdings, (iii) in the case of Roadhouse Midco,
the ownership of all outstanding Equity Interests in Roadhouse Parent, (iv) in the case of Road-
house Intermediate, the ownership of all outstanding Equity Interests in Roadhouse Midco, and
{v) in the case of Roadhouse Holding, the ownership of all outstanding Equity Interests in Road-
house Intermediate, (b) maintaining its corporate existence, including general and corporate
overhead, provided that Holdings or such Roadhouse Parent Entity may change its form of or-
ganization, so long as (A) it is organized under the laws of the United States of America, any
State thereof or the District of Columbia and (B) its Guarantee of the Obligations and the Lien on
or security interest in any Collateral held by it under the Loan Documents shall remain in effect
to the same extent as immediately prior to such change, (c) activities required to comply with

22505 703.11.BUSINESS 83
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 91 of 121

applicable laws, (d) participating in tax, accounting and other administrative activities as the par-
ent of the consolidated group of companies, including the Loan Parties, (e) the receipt of Re-
stricted Payments to the extent permitted by Section 8.06 and the making of Restricted Payments
to the extent permitted by Section 8.06 (including, in each case, for the avoidance of doubt, Per-
mitted Tax Distributions), (f) to the extent not otherwise covered by the other clauses of this Sec-
tion 8.15, any of the activities of Holdings or such Roadhouse Parent Entity referred to in Section
8.06, (g) concurrently with any issuance of Qualified Equity Interests, the redemption, purchase
or retirement of any Equity Interest of Roadhouse Holding using the proceeds of, or conversion
or exchange of any equity Interests of Roadhouse Holding for, such Qualified Equity Interests,
(h) compliance with its obligation under the Loan Documents, the execution and delivery of the
Loan Documents to which it is a party and the performance of its obligations thereunder, (i) in-
curring guarantees of Indebtedness permitted to be incurred by the Borrower or any Guarantor
Subsidiary hereunder, provided such guarantee shall be subordinated to the Obligations to the
same extent as such other Indebtedness, and (j) activities incidental to the businesses or activities
described in clauses (a) through (1) of this Section 8,15.

Section 8.16 Bankruptcy Provisions. No Group Member shall: (a) seek or consummate
a sale of assets under a plan of reorganization, Section 363(b) of the Bankruptcy Code or other-
wise (other than the Reorganization Plan) without the consent of the Required Lenders and the
Supporting Interest Holders; (b) except for the Carve-Out (subject to the applicable caps and the
other limitations set forth herein and in the DIP Orders), incur administrative expense claims pari
passu with or senior to the Obligations; (c) seek or consent to any modification, stay, vacation or
amendment with respect to (i) “first day orders” entered by the Bankruptcy Court, (ii) the Final
Order or (iii) the Loan Documents, except in each case as agreed to by the Administrative Agent
and the Required Lenders in their sole discretion; (d) except as otherwise expressly permitted
herein or in the DIP Orders, create any Lien that ranks senior to, or pari passu with, the Liens
securing the Obligations; (e) make cash expenditures on account of claims incurred (i) by critical
vendors prior to the Petition Date, (i1) by protected vendors under the Perishable Agricultural
Commodities Act of 1930, as amended, prior to the Petition Date or (iii) pursuant to Section
503(b)(9) of the Bankruptcy Code, or pursuant to any “first day” orders entered by the Bankrupt-
cy Court, in each case except as agreed to by the Pre-Petition First Lien Agent, the Pre-Petition
Indenture Trustees and the Required Lenders or as permitted by the Budget (including Permitted
Variances thereto), (f) seek or consent to any order seeking authority to take any action prohibit-
ed by the Final Order or the other Loan Documents without the consent of the Required Lenders,
the Pre-Petition First Lien Agent or the Pre-Petition Indenture Trustees or otherwise required by
any Requirement of Law or (g) except as expressly consented to by the Required Lenders, seek,
or consent to any order seeking, to settle any litigation related to employee or labor matters, in-
cluding without limitation, wage and hour collective or class action litigation involving one or
more Loan Parties.

Section 8.17 Compliance with Budget Covenants. Permit any Variance to exist other
than a Permitted Variance.

Section 8.18 Foreign Subsidiaries. Form or otherwise acquire any Foreign Subsidiar-
ies.

22505703.11, BUSINESS 84
Case 16-11819-BLS Doc60-1 Filed 08/09/16 Page 92 of 121

Section 8.19 Real Property. Own or acquire, or enter into any agreement to acquire, any
real property unless appropriate collateral documents, in form and substance acceptable to the
Required Lenders in all respects, are executed and delivered to the Administrative Agent to cre-
ate a valid, continuing and perfected security interest in such real property in favor of the Admin-
istrative Agent for the benefit of the Secured Parties.

ARTICLE [Xx.
EVENTS OF DEFAULT AND REMEDIES

Section 9.01 Events of Default. Any of the following shall constitute an Event of De-
fault:

(a) Non-Payment. The Borrower or any other Loan Party fails to pay (i) any princi-
pal of any Loan when and as the same shall become due and payable, whether at the due date
thereof or at a date fixed for prepayment thereof or by acceleration thereof or otherwise, or (ii)
pay any interest on any Loan or any fee or other amount (other than an amount referred to in the
foregoing clause (i)) payable under this Agreement or under any other Loan Document, when
and as the same shall become due and payable, and such failure shall continue unremedied for a
period of five (5) or more Business Days; or

(b) Specific Covenants. Any Loan Party fails to perform or observe any term, cove-
nant or agreement contained in any of Sections 7.02(a), 7.04{a) (solely with respect to the Bor-
rower), 7.10, 7.12, 7.15, 7.16, 7.17, 7.18 or Article VII; or

 

(c) Other Defaults. Any Loan Party fails to perform or observe any other term, cove-
nant or agreement (not specified in Section 9.01(a) or (b) above) contained in any Loan Docu-
ment on its part to be performed or observed and such failure continues for 10 days; provided
that an Event of Default under Article VI (other than under Sections 6.01(d) and Section 6.06) is
subject to a grace period of 5 Business Days and an Event of Default under Sections 6.01(d) or
6.06 is subject to a grace period of 2 Business Days; or

 

(d) Representations and Warranties. Any representation, warranty, certification or
statement of fact made or deemed made by or on behalf of the Borrower or any other Loan Party
herein, in any other Loan Document, or in any document delivered in connection herewith or
therewith shall be incorrect or misleading in any material respect when made or deemed made;
or

(e) Judgments. There is entered against any Loan Party or any Subsidiary thereof a
final judgment or order for the payment of money in an aggregate amount exceeding $(250,000]
(to the extent not covered by independent third-party insurance as to which the insurer is rated at
least “A” by A.M. Best Company, has been notified of the potential claim and does not dispute
coverage), of any one or more non-monetary final judgments that have, or could reasonably be
expected to have, individuaily or in the aggregate, a Material Adverse Effect and there is a period
of 30 consecutive days during which a stay of enforcement of such judgment, by reason of a
pending appeal or otherwise, is not in effect, or enforcement of such judgment is not subject to

the automatic stay provided in the Bankruptcy Code; or

22505703.11. BUSINESS 85
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 93 of 121

(f) ERISA. (i) An ERISA Event occurs with respect to a Pension Plan or Multiem-
ployer Plan which has resulted or could reasonably be expected to result in liability of any of the
Loan Parties under Title TV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC in
an aggregate amount in excess of $(250,000], (ii) any Loan Party or any ERISA Affiliate fails to
pay when due, after the expiration of any applicable grace period, any installment payment with
respect to its withdrawal liability under Section 4201 of ERISA under a Multiemployer Plan in
an aggregate amount in excess of ${250,000], (iii) there is or arises an Unfunded Pension Liabil-
ity (taking into account only Plans with positive Unfunded Pension Liability) of $[250,060] or
more, or (iv) there is or arises any potential withdrawal liability under Section 4201 of ERISA, if
any Loan Party, any Subsidiary thereof or any ERISA Affiliate were to withdraw completely

from any and all Multiemployer Plan of $[{250,000] or more; or

(g) Invalidity of Loan Documents and Collateral Documents. (i) Any Loan Docu-

ment shall cease to be in full force and effect (other than pursuant to the terms hereof or thereof),
or any Loan Party shall deny or disaffirm in writing the validity of any Loan Document or that it
has any further liability under any such Loan Document (other than, in the case of a Guarantor
Subsidiary, as a result of the discharge of a Guarantor Subsidiary in accordance with the terms of
the Loan Documents) or otherwise attempt to invalidate or otherwise impair the Loans or of the
validity or perfection of the liens granted thereunder or (ii) any material provision of any Collat-
eral Document, at any time after its execution and delivery and for any reason other than as ex-
pressly permitted hereunder or thereunder or as a result of acts or omissions by the Administra-
tive Agent or any Lender or satisfaction in full of all the Obligations, ceases to be in full force
and effect or ceases to create a valid and perfected first priority Lien (subject to Liens permitted
by Section 8.01) on the Collateral to be covered thereby; or any Loan Party or any other Person
contests in any manner the validity or enforceability of any material provision of any Collateral
Document or of the validity or perfection of the liens granted thereunder; or any Loan Party de-
nies that it has any or further liability or obligation under any provision of any Collateral Docu-
ment, or putports to revoke, terminate or rescind any Collateral Document; or

(h) Change of Control. There occurs any Change of Control; or

(i) Bankruptcy Matters. The Bankruptcy Court shall enter an order authorizing, ap-
proving or granting (or the Debtors shall file a motion seeking such authorization, approval or
grant of) (1) additional post-Petition Date financing not otherwise permitted herein, (ii) any liens
on the Collateral not otherwise permitted herein, (iii) dismissal of the Cases or conversion of any
Case to one under Chapter 7 of the Bankruptcy Code, (iv) appointment of a Chapter 11 trustee in
any of the Cases, (v) any other superpriority claim senior to or pari passu with superpriority
claims of the Administrative Agent, the other Secured Parties, the Pre-Petition First Lien Agent,
the Pre-Petition First Lien Lenders, the Pre-Petition Indenture Trustees or the Pre-Petition Inden-
ture Noteholders, (vi) modification of the Facility (other than pursuant to Section 11.01) or the
Final Order, (vii) any action materially adverse to the Administrative Agent, the other Secured
Parties, the Pre-Petition First Lien Agent, the Pre-Petition First Lien Lenders, the Pre-Petition
Indenture Trustees or the Pre-Petition Indenture Noteholders, or their rights and remedies with
respect to or interest in the Collateral, (viii) appointment of an examiner having powers beyond
those set forth under Sections 1106(a)(3) and (4) of the Bankruptcy Code in any of the Cases,
(ix) relief from the automatic stay for the benefit of any creditor with a security interest in the

22505703.11. BUSINESS 86
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 94 of 121

Collateral without the consent of the Administrative Agent and the Required Lenders, or (x) ter-
mination of the use of cash collateral by the Loan Parties: or

Gj) Prepetition Debts. Any Debtor shall make any Pre-Petition Payment or otherwise
pay any claim accrued prior to the Petition Date without the prior written consent of the Admin-
istrative Agent and the Required Lenders in their sole discretion or other than as permitted by the
Budget (and any Permitted Variances thereto); or

(k) Actions against Administrative Agent. Any Debtor shali commence any action
against the Administrative Agent, any other Secured Parties, the Pre-Petition First Lien Agent,
the Pre-Petition First Lien Lenders, the Pre-Petition Indenture Trustees or the Pre-Petition Inden-
ture Noteholders, on behalf of itself or any of its affiliates, officers or employees; or

 

(1) Material Adverse Effect. Any Material Adverse Effect shall have occurred: or

(m) Restructuring Support Agreement. The Restructuring Support Agreement (i) shall
be terminated pursuant to its terms or shall otherwise cease to be in full force and effect (other
than a Termination Event (as defined in the RSA) as a result of the occurrence of the Effective
Date of the Reorganization Plan), or (ii) shall have been amended, supplemented or otherwise
modified in any material manner that adversely affects the interests, rights or remedies of any of
the Administrative Agent or the Lenders; or

(n) Plan Milestones. The failure of the Debtors to comply with any of the Plan Mile-
stones, regardless of whether the Debtors used commercially reasonable efforts to comply with
any such Plan Milestone; or

(0) 506(c) Claims. A claim under Section 506(c) of the Bankruptcy Code or other-
wise shall have been allowed against any of all of the Administrative Agent, the other Secured
Parties or the Collateral, or against the Pre-Petition First Lien Agent, the Pre-Petition First Lien
Lenders, the Pre-Petition Indenture Trustees or the Pre-Petition Indenture Noteholders or the col-
lateral securing any Pre-Petition Debt; or

(p) Competing Plans. The filing by any Group Member of any plan of reorganization
or related disclosure statement or any direct or indirect amendment, modification, waiver or oth-
er change to the Reorganization Plan or related disclosure statement, or the entry of an order con-
firming any such plan of reorganization or approving any such disclosure statement or approving
any such amendment, modification, waiver or other change in each case to the extent that such
filing is not the Reorganization Plan or treats the claims of the Administrative Agent, any of the
Lenders, any of the Pre-Petition Indenture Trustees or any of the Pre-Petition Indenture Note-
holders in any manner to which they do not consent in their respective sole discretion; or

(q) Exclusivity. The Bankruptcy Court shall enter an order that results in any termi-
nation or modification of the exclusivity periods set forth in Section 1121 of the Bankruptcy
Code except as provided in the Final Order or any such exclusivity periods shall have expired; or

(r} Bankruptey Orders Not In Full Force and Effect. The Interim Order (prior to en-
try of the Final Order) or the Final Order shall cease to be in full force and effect or shall have

22505703.11. BUSINESS 87
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 95 of 121

been reversed, modified, amended, stayed, vacated or subject to stay pending appeal, in the case
of any modification or amendment, without the prior written consent of the Required Lenders: of

(s) Compliance with DIP Orders. The failure of any Loan Party to comply in any
material respect with the Interim Order (prior to entry of the Final Order) or the Final Order: or

(t) Asset Sales. Any sale or other disposition of all or a material portion of the Col-
lateral pursuant to sections 363 or 1129 of the Bankruptcy Code other than as permitted by the
DIP Orders (or pursuant to a transaction expressly permitted herein); or

(u) Administrative Expense or Priority Claims. A claim against any Debtor arising
prior to the Effective Date of a kind specified under or entitled to priority or superpriority pursu-
ant to sections 364(c)(1), 503(b), 507(a), 507(b) or 1114(e)(2) of the Bankruptcy Code or other-
wise shall have been allowed in excess of $50,000 against such Debtor as a result of litigation
with employees or former employees of any Debtor (including, without limitation, wage and
hour collective or class action litigation involving one or more Debtors); or

(v) Schedule of Assumption/Rejection of Executory Contracts and Unexpired Leas-
es. The filing of any schedule of assumption, assumption and assignment, or rejection of execu-
tory contracts and unexpired leases in any of the Cases that materially adversely affects the inter-
ests, rights or remedies of the Administrative Agent or any Lender that is not reasonably satisfac-
tory to the Administrative Agent and the Required Lenders; or

(w) Challenge Under Interim Order. If forty-five (45) days after the Committee or a
party in interest obtains standing to assert a Challenge (as defined in the Interim Order) and such
Challenge (as defined in the Interim Order) is not resolved.

 

Section 9.02 Remedies upon Event of Default. During the continuance of an Event of
Default:

(a) (other than an event described in Section 9.01(i)(iii) above), subject to the DIP
Orders, the Administrative Agent may (with the consent of the Required Lenders), and shall (at
the request of the Required Lenders), by notice to the Borrower, take any or all of the following
actions, ai the same or different times, (i) terminate forthwith the Commitments and (ii) declare
the Loans then outstanding to be forthwith due and payable in whole or in part, whereupon the
principal of the Loans so declared to be due and payable, together with accrued interest thereon
and any unpaid accrued fees and all other Obligations of the Loan Parties accrued hereunder and
under any other Loan Document, shall become forthwith due and payable, without presentment,
demand, protest or any other notice of any kind, all of which are hereby expressly waived by the
Loan Parties, anything contained herein or in any other Loan Document to the contrary notwith-
standing; and in any event described in Section 9.01(i)(iii} above, the Commitments shall auto-
matically terminate and the principal of the Loans then outstanding, together with accrued inter-
est thereon and any unpaid accrued fees and all other Obligations of the Loan Parties accrued
hereunder and under any other Loan Document, shall automatically become due and payable,
without presentment, demand, protest or any other notice of any kind, all of which are hereby
expressly waived by the Loan Parties, anything contained herein or in any other Loan Document
to the contrary notwithstanding; and

22505703. 11. BUSINESS 88
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 96 of 121

(b) after the Administrative Agent or the Required Lenders have given at least five
(5) days” prior written notice (the “Notice Period”) to the Loan Parties (during which period the
Event of Default is not cured) as set forth below, the Required Lenders may direct the Adminis-
trative Agent, who shall be permitted without seeking relief from the automatic stay, to foreclose
on all or any portion of the Collateral, collect accounts receivable and apply the proceeds thereof
to the Obligations or otherwise exercise remedies against the Collateral as permitted by applica-
ble Laws. During the Notice Period, the Loan Parties shall be entitled to (1) contest the occur-
rence and/or continuance of any Event of Default and (ii) seck and obtain an emergency hearing
before the Bankruptcy Court, with proper notice to the Administrative Agent, solely for the pur-
pose of contesting whether an Event of Default has occurred and/or is continuing. In addition to
the other remedies set forth in this Section 9.02, the Administrative Agent, at the direction of the
Required Lenders, shall have the authority to credit bid all or a portion of the Obligations,
whether pursuant to a sale under section 363 of the Bankruptcy Code, a plan pursuant to section
1129(b) of the Bankruptcy Code or otherwise; provided, that that such credit bid provides for the
assumption of or payment in full in cash of the Pre-Petition First Lien Obligations.

Section 9.03 Application of Funds. After the exercise of remedies provided for in Sec-
tion 9.02 (or after the Loans have automatically become immediately due and payable), any
amounts received on account of the Obligations shall be applied by the Administrative Agent in
the following order, subject to the Carve-Out:

First, to the payment of interest, expense reimbursement and other obligations owed to
the Pre-Petition First Lien Agent and the Pre-Petition First Lien Lenders in accordance
with the DIP Orders;

Second, to the payment of the remaining Pre-Petition First Lien Obligations in accord-
ance with the terms of the Pre-Petition First Lien Credit Agreement;

Third, to the payment of all costs and expenses incurred by the Administrative Agent (in
its capacity as such hereunder or under any other Loan Document) in connection with any
collection, sale, foreclosure or realization or otherwise in connection with this Agree-
ment, any other Loan Document or any of the Obligations, including all court costs and
the fees and expenses of its agents and legal counsel, the repayment of all advances made
by the Administrative Agent hereunder or under any other Loan Document on behalf of
any Loan Party, any other costs or expenses incurred in connection with the exercise of
any right or remedy hereunder or under any other Loan Document, any amounts for
which the Administrative Agent is entitled to indemnification, fees, or reimbursement of
costs or expenses under the terms of any Loan Document, and any other Obligations
owed to the Administrative Agent, in their respective capacities as such hereunder or un-
der any other Loan Document:

Fourth, to the payment in full of all Obligations consisting of interest (including interest
accruing during the pendency of any bankruptcy, insolvency, receivership or other simi-
lar proceeding, regardless of whether allowed or allowable in such proceeding) on the
Loans, (the amounts so applied to be distributed among the Lenders pro rata in accord-
ance with the amounts of the Loans owed to them on the date of any such distribution);

22505703.11. BUSINESS 89
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 97 of 121

Fifth, to the payment in full of al) Obligations (including monetary obligations incurred
during the pendency of any bankruptcy, insolvency, receivership or other similar pro-
ceeding, regardless of whether allowed or allowable in such proceeding) consisting of
unpaid principal amount of the Loans and any premium thereon or breakage or termina-
tion fees, costs or expenses related thereto (the amounts so applied to be distributed
among the Lenders pro rata in accordance with the amounts of the Obligations owed to
them on the date of any such distribution);

Sixth, to the payment in full of all other Obligations (the amounts so applied to be dis-
tributed among the Secured Parties pro rata in accordance with the amounts of the Obli-
gations owed to them on the date of any such distribution);

Seventh, to the payment of any remaining obligations owed to the Pre-Petition Indenture
Trustees and the Pre-Petition Indenture Noteholders under the Pre-Petition Indentures;
and

Eighth, to the Borrower, its successors or assigns, or as a court of competent jurisdiction
may otherwise direct.

The Administrative Agent shall have absolute discretion as to the time of application of
any such proceeds, moneys, balances or amounts in accordance with this Agreement and the oth-
er Loan Documents. Upon any sale of Collateral by the Administrative Agent (including pursu-
ant to a power of sale granted by statute or under a judicial proceeding), the receipt of the Ad-
ministrative Agent or of the officer making the sale shall be a sufficient discharge to the purchas-
er or purchasers of the Collateral so sold and such purchaser or purchasers shall not be obligated
to see to the application of any part of the purchase money paid over to the Administrative Agent
or such officer or be answerable in any way for the misapplication thereof.

ARTICLE X,
ADMINISTRATIVE AGENT

Section 10.01 Appointment and Authority.

(a) Each of the Lenders hereby irrevocably appoints Cortland Capital Market Ser-
vices LLC to act on its behalf as the Administrative Agent hereunder and under the other Loan
Documents and authorizes the Administrative Agent to take such actions on its behalf and to ex-
ercise such powers as are delegated to the Administrative Agent by the terms hereof or thereof,
together with such actions and powers as are reasonably incidental thereto. The provisions of
this Article are solely for the benefit of the Administrative Agent, the Lenders, and neither the
Borrower nor any other Loan Party shall have rights as a third party beneficiary of any of such
provisions.

(6) The Administrative Agent shall also act as the “collateral agent” under the Loan
Documents, and each of the Lenders hereby irrevocably appoints and authorizes the Administra-
tive Agent to act as the agent of such Lender for purposes of acquiring, holding and enforcing
any and all Liens on Collateral granted by any of the Loan Parties to secure any of the Obliga-
tions, together with such powers and discretion as are reasonably incidental thereto. In this con-

22505703.1}. BUSINESS 90
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 98 of 121

nection, the Administrative Agent, as “collateral agent” and any co-agents, sub-agents and attor-
neys-in-fact appointed by the Administrative Agent pursuant to Section 10.05 for purposes of
holding or enforcing any Lien on the Collateral (or any portion thereof) granted under the Collat-
eral Documents, or for exercising any rights and remedies thereunder at the direction of the Ad-
ministrative Agent), shall be entitled to the benefits of all provisions of this Article X and Article
XI (including Section 11.04(c), as though such co-agents, sub-agents and attorneys-in-fact were
the “collateral agent” under the Loan Documents) as if set forth in full herein with respect there-
to.

Section 10.02 Rights as a Lender. The Person serving as the Administrative Agent here-
under shall have the same rights and powers in its capacity as a Lender as any other Lender and
may exercise the same as though it were not the Administrative Agent and the term “Lender” or
“Lenders” shall, unless otherwise expressly indicated or unless the context otherwise requires,
include the Person serving as the Administrative Agent hereunder in its individual capacity.
Such Person and its Affiliates may accept deposits from, lend money to, act as the financial advi-
sor or in any other advisory capacity for and generally engage in any kind of business with the
Borrower or any Subsidiary or other Affiliate thereof as if such Person were not the Administra-
tive Agent hereunder and without any duty to account therefor to the Lenders.

Section 10,03 Exculpatory Provisions. The Administrative Agent shall not have any du-
ties or obligations except those expressly set forth herein and in the other Loan Documents.
Without limiting the generality of the foregoing, the Administrative Agent:

(a) shall not be subject to any fiduciary or other implied duties, regardless of whether
a Default has occurred and is continuing;

(b) shall not have any duty to take any discretionary action or exercise any discre-
tionary powers, except discretionary rights and powers expressly contemplated hereby or by the
other Loan Documents that the Administrative Agent is required to exercise as directed in writ-
ing by the Required Lenders (or such other number or percentage of the Lenders as shall be ex-
pressly provided for herein or in the other Loan Documents), provided that the Administrative
Agent shall not be required to take any action that, in its opinion or the opinion of its counsel,
may expose the Administrative Agent to liability or that is contrary to any Loan Document or
applicable law; and

(c} shall not, except as expressly set forth herein and in the other Loan Documents,
have any duty to disclose, and shall not be liable for the failure to disclose, any information relat-
ing to the Borrower or any of its Affiliates that is communicated to or obtained by the Person
serving as the Administrative Agent or any of its Affiliates in any capacity.

The Administrative Agent shall not be liable for any action taken or not taken by it (i)
with the consent or at the request of the Required Lenders (or such other number or percentage
of the Lenders as shall be necessary, or as the Administrative Agent shall believe in good faith
shall be necessary, under the circumstances as provided in Sections 11.01 and 9.02) or (ii) in the
absence of its own gross negligence or willful misconduct as determined by a court of competent
jurisdiction by final, non-appealable judgment. The Administrative Agent shall be deemed not

22505703.11. BUSINESS 91
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 99 of 121

to have knowledge of any Default unless and until written notice describing such Default is giv-
en to the Administrative Agent by the Borrower or a Lender.

The Administrative Agent shall not be responsible for or have any duty to ascertain or in-
quire into (i) any statement, warranty or representation made in or in connection with this
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other doc-
ument delivered hereunder or thereunder or in connection herewith or therewith, (iii) the perfor-
mance or observance of any of the covenants, agreements or other terms or conditions set forth
herein or therein or the occurrence of any Default, (iv) the validity, enforceability, effectiveness
or genuineness of this Agreement, any other Loan Document or any other agreement, instrument
or document, or the creation, perfection or priority of any Lien purported to be created by the
Collateral Documents, (v) the value or the sufficiency of any Collateral, or (v) the satisfaction of
any condition set forth in Article IV or elsewhere herein, other than to confirm receipt of items
expressly required to be delivered to the Administrative Agent.

Section 10.04 Reliance by Administrative Agent. The Administrative Agent shall be en-
titled to rely upon, and shall not incur any liability for relying upon, any notice, request, certifi-
cate, consent, statement, instrament, document or other writing (including any electronic mes-
sage, Internet or intranet website posting or other distribution) believed by it to be genuine and to
have been signed, sent or otherwise authenticated by the proper Person. The Administrative
Agent also may rely upon any statement made to it orally or by telephone and believed by it to
have been made by the proper Person, and shall not incur any liability for relying thereon. In
determining compliance with any condition hereunder to the making of a Loan, that by its terms
must be fulfilled to the satisfaction of a Lender, the Administrative Agent may presume that such
condition is satisfactory to such Lender unless the Administrative Agent shall have received no-
tice to the contrary from such Lender prior to the making of such Loan. The Administrative
Agent may consult with legal counsel (who may be counsel for the Borrower), independent ac-
countants and other experts selected by it, and shall not be liable for any action taken or not tak-
en by it in accordance with the advice of any such counsel, accountants or experts.

Section 10.05 Delegation of Duties. The Administrative Agent may perform any and all
of its duties and exercise its rights and powers hereunder or under any other Loan Document by
or through any one or more sub-agents appointed by the Administrative Agent. The Administra-
tive Agent and any such sub-agent may perform any and all of its duties and exercise its rights
and powers by or through their respective Related Parties. The exculpatory provisions of this
Article shall apply to any such sub-agent and to the Related Parties of the Administrative Agent
and any such sub-agent, and shall apply to their respective activities in connection with the syn-
dication of the credit facilities provided for herein as well as activities as Administrative Agent.
The Administrative Agent shall not be responsible for the negligence or misconduct of any sub-
agents except to the extent that a court of competent jurisdiction determines in a final, non-
appealable judgment that the Administrative Agent acted with gross negligence or willful mis-
conduct in the selection of such sub-agents.

Section 10,06 Resignation of Administrative Agent. The Administrative Agent may at
any time give written notice of its resignation to the Lenders and the Borrower. Upon receipt of
any such notice of resignation, the Required Lenders shall have the right, upon the consent of the
Borrower, to appoint a successor, not to be unteasonably withheld (and not required during the

27505703.11, BUSINESS 92
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 100 of 121

continuance of an Event of Default) which shall be a bank with an office in the United States, or
an Affiliate of any such bank with an office in the United States. If no such successor shall have
been so appointed by the Required Lenders and shall have accepted such appointment within
30 days after the retiring Administrative Agent gives notice of its resignation, then the retiring
Administrative Agent may on behalf of the Lenders, appoint a successor Administrative Agent
meeting the qualifications set forth above; provided that if the Administrative Agent shall notify
the Borrower and the Lenders that no qualifying Person has accepted such appointment, then
such resignation shall nonetheless become effective in accordance with such notice and (a) the
retiring Administrative Agent shall be discharged from its duties and obligations hereunder and
under the other Loan Documents (except that in the case of any collateral security held by the
Administrative Agent on behalf of the Lenders under any of the Loan Documents, the retiring
Administrative Agent shall continue to hold such collateral security until such time as a succes-
sor Administrative Agent is appointed) and (b) except for any indemnity payments owed to the
retiring or resigning Administrative Agent, all payments, communications and determinations
provided to be made by, to or through the Administrative Agent shall instead be made by or to
each Lender directly, until such time as the Required Lenders appoint a successor Administrative
Agent as provided for above in this Section 10.06. Upon the acceptance of a successor’s ap-
pointment as Administrative Agent hereunder, such successor shall succeed to and become vest-
ed with all of the rights, powers, privileges and duties of the retiring (or retired) Administrative
Agent, and the retiring Administrative Agent shall be discharged from all of its duties and obli-
gations hereunder or under the other Loan Documents (if not already discharged therefrom as
provided above in this Section 10.06). The fees payable by the Borrower to a successor Admin-
istrative Agent shall be the same as those payable to its predecessor unless otherwise agreed be-
tween the Borrower and such successor. After the retiring Administrative Agent’s resignation
hereunder and under the other Loan Documents, the provisions of this Article and Section 11.04
shall continue in effect for the benefit of such retiring Administrative Agent, its sub-agents and
their respective Related Parties in respect of any actions taken or omitted to be taken by any of
them while the retiring Administrative Agent was acting as Administrative Agent.

Section 10.07 Non-Reliance on Administrative Agent and Other Lenders. Each Lender
acknowledges that it has, independently and without reliance upon the Administrative Agent or
any other Lender or any of their Related Parties and based on such documents and information as
it has deemed appropriate, made its own credit analysis and decision to enter into this Agree-
ment. Each Lender also acknowledges that it will, independently and without reliance upon the
Administrative Agent or any other Lender or any of their Related Parties and based on such doc-
uments and information as it shall from time to time deem appropriate, continue to make its own
decisions in taking or not taking action under or based upon this Agreement, any other Loan
Document or any related agreement or any document furnished hereunder or thereunder.

Section 10.08 No Other Duties, Etc. Except as expressly set forth in this Agreement or
any other Loan Document, the Administrative Agent shall not have any duties or responsibilities
hereunder in its capacity as such,

 

Section 10.09 Administrative Agent May File Proofs of Claim. In case of the pendency
of any proceeding under any Debtor Relief Law or any other judicial proceeding relative to any
Loan Party, the Administrative Agent (irrespective of whether the principal of any Loan shall

22505703.11, BUSINESS 93
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 101 of 121

then be due and payable as herein expressed or by declaration or otherwise and irrespective of
whether the Administrative Agent shall have made any demand on the Borrower) shall be enti-
tled and empowered, by intervention in such proceeding or otherwise

(a) __ to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and to file
such other documents as may be necessary or advisable in order to have the claims of the Lend-
ers and the Administrative Agent (including any claim for the reasonable compensation, expens-
es, disbursements and advances of the Lenders and the Administrative Agent and their respective
agents and counsel and all other amounts due the Lenders and the Administrative Agent under
Sections 2.07 and 11.04) allowed in such judicial proceeding; and

(b) to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to the
Administrative Agent and, if the Administrative Agent shall consent to the making of such pay-
ments directly to the Lenders, to pay to the Administrative Agent any amount due for the reason-
able compensation, expenses, disbursements and advances of the Administrative Agent and its
agents and counsel, and any other amounts due the Administrative Agent under Sections 2.07
and 11.04.

Nothing contained herein shall be deemed to authorize the Administrative Agent to au-
thorize or consent to or accept or adopt on behalf of any Lender any plan of reorganization, ar-
rangement, adjustment or composition affecting the Obligations or the rights of any Lender to
authorize the Administrative Agent to vote in respect of the claim of any Lender or in any such
proceeding.

Section 10.10 Collateral and Guaranty Matters. Each of the Lenders irrevocably author-
ize the Administrative Agent, at its option and in its discretion,

(a) to release any Lien on any property granted to or held by the Administrative
Agent under any Loan Document (i) upon termination of the Aggregate Commitments and pay-
ment in full in cash of all Obligations (other than contingent indemnification obligations for
which no claim has been made), (ii) that is sold or to be sold as part of or in connection with any
sale permitted hereunder or under any other Loan Document to a Person that is not a Loan Party,
or (iii) if approved, authorized or ratified in writing in accordance with Section 11.01;

(b) to release any Guarantor from its obligations under the Guaranty if such Person
ceases to be a Subsidiary as a result of a transaction permitted hereunder; and

(c) to subordinate any Lien on any property granted to or held by the Administrative
Agent under any Loan Document to the holder of any Lien on such property that is permitted by
Section 8.01.

22505703.11. BUSINESS 94
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 102 of 121

Upon request by the Administrative Agent at any time, the Required Lenders will con-
firm in writing the Administrative Agent’s authority to release or subordinate its interest in par-
ticular types or items of property, or to release any Guarantor from its obligations under the
Guaranty pursuant to this Section 10.10. In each case as specified in this Section 10.10, the Ad-
ministrative Agent will, at the Borrower’s expense, execute and deliver to the applicable Loan
Party such documents as such Loan Party may reasonably request to evidence the release of such
item of Collateral from the assignment and security interest granted under the Collateral Docu-
ments or to subordinate its interest in such item, or to release such Guarantor from its obligations
under the Guaranty, in each case in accordance with the terms of the Loan Documents and this
Section 10.10.

Section 10.11 Withholding Tax. To the extent required by any applicable Laws, the
Administrative Agent may withhold from any payment to any Lender an amount equivalent to
any applicable withholding Tax. Without limiting or expanding the provisions of Section 3.01,
each Lender shall, and does hereby severally, indemnify the Administrative Agent against, and
shall make payable in respect thereof within 10 days after demand therefor, (i) any Indemnified
Taxes attributable to such Lender (but only to the extent that any Loan Party has not already in-
demnified the Administrative Agent for such Indemnified Taxes and without limiting the obliga-
tion of the Loan Parties to do so) and (ii) any Excluded Taxes attributable to such Lender, in
each case, that are payable or paid by the Administrative Agent in connection with any Loan
Document, and any reasonable expenses arising therefrom or with respect thereto, whether or not
such Taxes were correctly or legally imposed or asserted by the relevant Governmental Authori-
ty. A certificate as to the amount of such payment or liability delivered to any Lender by the
Administrative Agent shall be conclusive absent manifest error. Each Lender hereby authorizes
the Administrative Agent to set off and apply any and all amounts at any time owing to such
Lender under this Agreement or any other Loan Document against any amount due the Adminis-
trative Agent under this Section 10.11. The agreements in this Section 10.11 shall survive the
resignation and/or replacement of the Administrative Agent, any assignment of rights by, or the
teplacement of, a Lender and the repayment, satisfaction or discharge of all other Obligations.

ARTICLE XL
MISCELLANEOUS

Section 11.01 Amendments, Etc. No amendment or waiver of any provision of this
Agreement or any other Loan Document, and no consent to any departure by the Borrower or
any other Loan Party therefrom, shall be effective unless in writing signed by the Required
Lenders and the Borrower or the applicable Loan Party, as the case may be, and acknowledged
by the Administrative Agent, and each such waiver or consent shall be effective only in the spe-
cific instance and for the specific purpose for which given; provided, however, that no such
amendment, waiver or consent shall:

 

(a) waive any condition set forth in Section 4.01 without the written consent of each
Lender;

(b) without limiting the generality of clause (a) above, waive any condition set forth
in Section 4.03 as to any Credit Extension or Notice of Request for Disbursement without the
written consent of each Unanimous DIP Lender;

22505703. 11. BUSINESS 95
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 103 of 121

(c) increase the Commitment of any Lender (or reinstate any Commitment terminated
pursuant to Section 9.02) without the written consent of each affected Lender and the Unanimous
DIP Lenders;

(d) postpone any date fixed by this Agreement or any other Loan Document for any
payment of principal, interest, fees or other amounts due to the Lenders (or any of them) hereun-
der or under such other Loan Documents or extend the DIP Maturity Date beyond December 14,
2016, in each case without the written consent of the Unanimous DIP Lenders;

(e) reduce the principal of, or the rate of interest specified herein on, any Loan or any
fees or other amounts payable hereunder or under any other Loan Document, or change the man-
ner of computation of such rate of interest or fee that would result in a reduction of any interest
rate on any Loan or any fee payable hereunder without the written consent of each affected
Lender entitled to such amount and the Unanimous DIP Lenders; provided, however, that only
the consent of the Required Lenders and the Unanimous DIP Lenders shall be necessary to
amend the definition of “Default Rate” or to waive any obligation of the Borrower to pay interest
at the Default Rate;

(f) change (i) Section 2.11 or Section 9.03 in a manner that would alter the pro rata
sharing of payments required thereby without the written consent of each Lender or (ii) the order
of application of any reduction in the Commitments or any prepayment of Loans from the appli-
cation thereof set forth in the applicable provisions of Section 2.04(b) without the consent of
each affected Lender or (iii) any provision of Section 7.18 in a manner that would alter the Lien
priority of the Facility without the written consent of the Unanimous DIP Lenders;

(g) | change any provision of this Section 11.01 or the definition of “Required Lend-
ers” or any other provision hereof specifying the number or percentage of Lenders required to
amend, waive or otherwise modify any rights hereunder or make any determination or grant any
consent hereunder without the written consent of each Lender, other than any such change that
would only affect the Unanimous DIP Lenders in which case the written consent of the Unani-
mous DIP Lenders shall be required to make such change;

(h) change the definition of “Unanimous DIP Lenders” without the written consent of
each Unanimous DIP Lender;

(i) release all or substantially all of the Collateral in any transaction or series of relat-
ed transactions, without the written consent of each Lender;

(j) release all or substantially all of the value of the Guaranty, without the written
consent of each Lender, except to the extent the release of any Subsidiary from the Guaranty is
permitted pursuant to Section 9.10 (in which case such release may be made by the Administra-
tive Agent acting alone);

(k) impose any greater restriction on the ability of any Lender under the Facility to

assign any of its rights or obligations hereunder without the written consent of each affected
Lender;

22505703.11. BUSINESS 96
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 104 of 121

(I) subordinate the Obligations or the Liens securing the Obligations without the
written consent of the Unanimous DIP Lenders;

(m) alter the adequate protection provided under the Facility without the written con-
sent of the Unanimous DIP Lenders;

(n) —_ subject to clause (d) of this Section 11.01, alter any Event of Default in a manner
adverse to the Lenders without the written consent of the Unanimous DIP Lenders; or

(0) change the terms of the Facility in a manner that would materially adversely af-
fect any of the rights or obligations of any Unanimous DIP Lender in a manner that is different
or disproportionate in any respect from the effect on the rights or obligations (as applicable) of
the Unanimous DIP Lenders generally, other than in proportion to the Unanimous DIP Lenders’
respective amounts of the Loans, without the written consent of the Unanimous DIP Lenders;

provided, further, that no amendment, waiver or consent shall, unless in writing and signed by
the Administrative Agent in addition to the Lenders required above, affect the rights or duties of
the Administrative Agent under this Agreement or any other Loan Document.

Notwithstanding anything to the contrary herein, no Defaulting Lender shall have any
right to approve or disapprove any amendment, waiver or consent hereunder, except that the
Commitment of such Lender may not be increased or extended without the consent of such
Lender.

If any Lender does not consent to a proposed amendment, waiver, consent or release with
respect to any Loan Document that requires the consent of each Lender or each adversely affect-
ed Lender and that has been approved by the Required Lenders or the majority of the Lenders
whose consent is required therefor, the Borrower may replace such non-consenting Lender in
accordance with Section 11.13; provided that such amendment, waiver, consent or release can be
effected as a result of the assignment contemplated by such Section (together with all other such
assignments required by the Borrower to be made pursuant to this paragraph).

Section 11.02 Notices: Effectiveness: Electronic Communications.

(a) Notices Generally. Except in the case of notices and other communications ex-
pressly permitted to be given by telephone (and except as provided in subsection (b) below), all
notices and other communications provided for herein shall be in writing and shall be delivered
by hand or overnight courier service, mailed by certified or registered mail or sent by telecopier
or electronic mail as follows, and all notices and other communications expressly permitted
hereunder to be given by telephone shall be made to the applicable telephone number, as follows:

(i) if to Holdings, the Borrower, or the other Loan Parties, to the address, tel-
ecopier number, electronic mail address or telephone number specified for such Person
on Schedule 11.02;

(ii) if to the Administrative Agent, to the address, telecopier number, electron-
ic mail address or telephone number specified for such Person on Schedule 11.02; and

22505703.11.BUSINESS 97
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 105 of 121

(iii) if to any Lender, to the address, telecopier number, electronic mail address
or telephone number specified on Schedule 11.02 or in the Assignment and Acceptance
pursuant to which such Lender shall have become a party hereto or in its Administrative
Questionnaire.

Notices and other communications sent by hand or overnight courier service, or mailed by certi-
fied or registered mail, shall be deemed to have been given when received; notices and other
communications sent by telecopier shall be deemed to have been given when sent (except that, if
not given during normal business hours for the recipient, shall be deemed to have been given at
the opening of business on the next business day for the recipient). Notices and other communi-
cations delivered through electronic communications to the extent provided in subsection (b) be-
low shall be effective as provided in such subsection (b).

(b) Electronic Communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and In-
ternet or intranet websites) pursuant to procedures approved by the Administrative Agent, pro-
vided that the foregoing shall not apply to notices to any Lender pursuant to Article II if such
Lender, as applicable, has notified the Administrative Agent that it is incapable of receiving no-
tices under such Article by electronic communication. The Administrative Agent or the Borrow-
er may, in its discretion, agree to accept notices and other communications to it hereunder by
electronic communications pursuant to procedures approved by it, provided that approval of such
procedures may be limited to particular notices or communications.

Unless the Administrative Agent otherwise prescribes, (i) notices and other communica-
tions sent to an e-mail address shall be deemed received upon the sender’s receipt of an
acknowledgement from the intended recipient (such as by the “return receipt requested” func-
tion, as available, return e-mail or other written acknowledgement), provided that if such notice
or other communication is not sent during the normal business hours of the recipient, such notice
or communication shall be deemed to have been sent at the opening of business on the next busi-
ness day for the recipient, and (ii) notices or communications posted to an Internet or intranet
website shall be deemed received upon the deemed receipt by the intended recipient at its e-mail
address as described in the foregoing clause (i) of notification that such notice or communication
is available and identifying the website address therefor.

(c) The Platform, THE PLATFORM IS PROVIDED “AS IS” AND “AS AVAILA-
BLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE ACCU-
RACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE ADEQUACY
OF THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR ERRORS IN OR
OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY OF ANY KIND,
EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY OF MER-
CHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT OF
THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS, IS
MADE BY ANY AGENT PARTY IN CONNECTION WITH THE BORROWER MATERI-
ALS OR THE PLATFORM. In no event shall the Administrative Agent or any of its Related
Parties (collectively, the “Agent Parties”) have any liability to Holdings, the Borrower, any
Lender or any other Person for losses, claims, damages, liabilities or expenses of any kind
(whether in tort, contract or otherwise) arising out of the Borrower’s or the Administrative

22505703.11.BUSINESS 98
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 106 of 121

Agent’s transmission of Borrower Materials through the Internet, except to the extent that such
losses, claims, damages, liabilities or expenses are determined by a court of competent jurisdic-
tion by a final and nonappealable judgment to have resulted from the gross negligence or willful
misconduct of such Agent Party; provided, however, that in no event shall any Agent Party have
any liability to Holdings, the Borrower, any Lender, or any other Person for indirect, special, in-
cidental, consequential or punitive damages (as opposed to direct or actual damages).

(d) Change of Address, Etc. Each of the Loan Parties and the Administrative Agent
may change its address, telecopier or telephone number for notices and other communications
hereunder by notice to the other parties hereto. Each Lender may change its address, telecopier
or telephone number for notices and other communications hereunder by notice to the Borrower
and the Administrative Agent. In addition, each Lender agrees to notify the Administrative
Agent from time to time to ensure that the Administrative Agent has on record (i) an effective
address, contact name, telephone number, telecopier number and electronic mail address to
which notices and other communications may be sent and (ii) accurate wire instructions for such
Lender. Furthermore, each Public Lender agrees to cause at least one individual at or on behalf
of such Public Lender to at all times have selected the “Private Side Information” or similar des-
ignation on the content declaration screen of the Platform in order to enable such Public Lender
or its delegate, in accordance with such Public Lender’s compliance procedures and applicable
Law, including United States Federal and state securities Laws, to make reference to Borrower
Materials that are not made available through the “Public Side Information” portion of the Plat-
form and that may contain material non-public information with respect to the Borrower or its
securities for purposes of United States Federal or state securities laws.

(e) Reliance by Administrative Agent and Lenders. The Administrative Agent and
the Lenders shall be entitled to rely and act upon any notices (including telephonic Committed
Loan Notices) purportedly given by or on behalf of the Borrower even if (i) such notices were
not made in a manner specified herein, were incomplete or were not preceded or followed by any
other form of notice specified herein, or (ii) the terms thereof, as understood by the recipient,
varied from any confirmation thereof. The Loan Parties shall indemnify the Administrative
Agent, each Lender and the Related Parties of each of them from all losses, costs, expenses and
liabilities resulting from the reliance by such Person on each notice purportedly given by or on
behalf of a Loan Party. All telephonic notices to and other telephonic communications with the
Administrative Agent may be recorded by the Administrative Agent, and each of the parties
hereto hereby consents to such recording.

Section 11.03 No Waiver: Cumulative Remedies; Enforcement. No failure by any
Lender or the Administrative Agent to exercise, and no delay by any such Person in exercising,
any right, remedy, power or privilege hereunder or under any other Loan Document shall operate
as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or privi-
lege hereunder preclude any other or further exercise thereof or the exercise of any other right,
remedy, power or privilege. The rights, remedies, powers and privileges herein provided, and
provided under each other Loan Document, are cumulative and not exclusive of any rights, rem-
edies, powers and privileges provided by law.

Notwithstanding anything to the contrary contained herein or in any other Loan Document, the
authority to enforce rights and remedies hereunder and under the other Loan Documents against

22505703.3 1 BUSINESS 99
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 107 of 121

the Loan Parties or any of them shall be vested exclusively in, and all actions and proceedings at
law in connection with such enforcement shall be instituted and maintained exclusively by, the
Administrative Agent in accordance with Section 9.02 for the benefit of all the Lenders: provid-
ed, however, that the foregoing shall not prohibit (a) the Administrative Agent from exercising
on its own behalf the rights and remedies that inure to its benefit (solely in its capacity as Admin-
istrative Agent) hereunder and under the other Loan Documents, (b) any Lender from exercising
setoff rights in accordance with Section 11.08 (subject to the terms of Section 2.11), or (c) any
Lender from filing proofs of claim or appearing and filing pleadings on its own behalf during the
pendency of a proceeding relative to any Loan Party under any Debtor Relief Law; and provided,
further, that if at any time there is no Person acting as Administrative Agent hereunder and under
the other Loan Documents, then (i) the Required Lenders shall have the rights otherwise ascribed
to the Administrative Agent pursuant to Section 9.02 and (ii) in addition to the matters set forth
in clauses (b) and (c) of the preceding proviso and subject to Section 2.11, any Lender may, with
the consent of the Required Lenders, enforce any rights and remedies available to it and as au-
thorized by the Required Lenders.

Section 11.04 Expenses; Indemnity: Damage Waiver.

(a) Costs and Expenses. The Loan Parties shall, subject to the terms of the DIP Or-
ders, pay (i) all reasonable and documented out-of-pocket costs and expenses incurred by the
Administrative Agent (including the reasonable fees, charges and disbursements of counsel for
the Administrative Agent) and the Required Lenders and the Unanimous DIP Lenders (including
the reasonable fees, charges and disbursements of counsel for the Required Lenders and the
Unanimous DIP Lenders (including King & Spalding LLP, Debevoise & Plimpton LLP, Dechert
LLP and Delaware Counsel for each)), in connection with the syndication of the credit facilities
provided for herein, the preparation, negotiation, execution, delivery and administration of this
Agreement and the other Loan Documents or any amendments, modifications or waivers of the
provisions hereof or thereof (whether or not the transactions contemplated thereby shall be con-
summated), (ii) all reasonable and documented out-of-pocket costs and expenses incurred by the
Administrative Agent (including reasonable fees, charges and disbursements of counsel for the
Administrative Agent) and any Required Lender and any Unanimous DIP Lender (including the
fees, charges and disbursements of only one lead law firm, one local-counsel firm and any neces-
sary specialists, one accounting firm, one financial advisory firm and one consultant retained for
or on behalf of the Administrative Agent and the Lenders) in connection with the enforcement of
its rights and interests under this Agreement and the other Loan Documents, including in connec-
tion with any workout, restructuring or waiver or similar matters in respect of such Obligations
and Loan Documents and (iii) all reasonable and documented out-of-pocket costs and expenses
incurred by the Administrative Agent (including reasonable fees, charges and disbursements of
counsel for the Administrative Agent) and any Required Lender and any Unanimous DIP Lender
(including the fees, charges and disbursements of only one lead law firm, one local-counsel firm
and any necessary specialists, one accounting firm, one financial advisory firm and one consult-
ant retained for or on behalf of the Administrative Agent and the Lenders).

(b) Indemnification by the Borrower. The Loan Parties shall indemnify the Adminis-
trative Agent (and any sub-agent thereof), each Lender, and each Related Party and Approved
Fund of any of the foregoing Persons (each such Person being called an “Indemnitee”) against,

22505703.11. BUSINESS 100
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 108 of 121

and hold each Indemnitee harmless from, any and all losses, claims, damages, liabilities, obliga-
tions, settlement payments, actions, or causes of action and related costs and expenses (including
the reasonable, documented and invoiced fees, charges and disbursements of one counsel for the
Indemnitees taken as a whole and, if necessary, one firm of local counsel in each appropriate ju-
risdiction to the Indemnitees taken as a whole, and, in the case of a conflict of interest, one addi-
tional counsel to the affected Indemnitee taken as a whole; provided, that the foregoing shall not
apply to the Administrative Agent and the Lenders, who shall each be entitled to select their re-
spective counsel, and the Loan Parties agree to pay promptly the reasonable fees and expenses of
such counsel), and shall indemnify and hold harmless each Indemnitee from all reasonable, doc-
umented and invoiced fees and time charges and disbursements for attorneys who may be em-
ployees of any Indemnitee, incurred by any Indemmitee or asserted against any Indemnitee by
any third party or by the Borrower or any other Loan Party arising out of, in connection with, or
as a result of (i) the execution or delivery of this Agreement, any other Loan Document or any
agreement or instrument contemplated hereby or thereby, the performance by the parties hereto
of their respective obligations hereunder or thereunder or the consummation of the transactions
contemplated hereby or thereby, or, in the case of the Administrative Agent (and any sub-agent
thereof) and its Related Parties only, the administration of this Agreement and the other Loan
Documents, (ii) any Loan or the use or proposed use of the proceeds therefrom, (111) any actual or
alleged presence or Release of Hazardous Materials on or from any property owned or operated
by the Borrower or any of its Subsidiaries, or any Environmental Liability related in any way to
the Borrower or any of its Subsidiaries, (iv) the Cases or (v) any actual or prospective claim, liti-
gation, investigation or proceeding relating to any of the foregoing, whether based on contract,
tort or any other theory, whether brought by a third party or by the Borrower or any other Loan
Party or any of the Borrower’s or such Loan Party’s directors, shareholders or creditors, and re-
gardless of whether any Indemnitee is a party thereto; provided that such indemnity shall not, as
to any Indemnitee, be available to the extent that such losses, claims, damages, liabilities or re-
lated expenses (1) (x) are determined by a court of competent jurisdiction by final and nonap-
pealable judgment to have resulted from the gross negligence or willful misconduct of such In-
demnitee or any of its officers or directors or (y) result from a claim brought by the Borrower or
any other Loan Party against an Indemnitee for breach in bad faith of such Indemnitee’s obliga-
tions hereunder or under any other Loan Document, if the Borrower or such Loan Party has ob-
tained a final and nonappealable judgment in its favor on such claim as determined by a court of
competent jurisdiction or (2) relate to any proceeding solely between or among Indemnitees oth-
er than (A) claims against the Administrative Agent, Lenders or their Affiliates, in each case in
their capacity or in fulfilling their role as the agent or arranger or any other similar role under the
Loan Documents (including their role as a Lender), and (B) claims arising out of any act or
omission on the part of the Equity Investors (in their capacities as holders of Equity Interests in
Roadhouse Holding), the Borrower or their respective Subsidiaries.

(c) Reimbursement by Lenders. To the extent that the Borrower for any reason fails
to indefeasibly pay any amount required under subsection (a) or (b) of this Section 11.04 to be
paid by it to the Administrative Agent (or any sub-agent thereof), or any Related Party of any of
the foregoing, each Lender severally agrees to pay to the Administrative Agent (or any such sub-
agent), or such Related Party, as the case may be, such Lender’s Pro Rata Share (determined as
of the time that the applicable unreimbursed expense or indemnity payment is sought) of such
unpaid amount, provided that the unreimbursed expense or indemnified loss, claim, damage, lia-

22505703.11. BUSINESS 101
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 109 of 121

bility or related expense, as the case may be, was incurred by or asserted against the Administra-
tive Agent (or any such sub-agent) in its capacity as such, or against any Related Party of any of
the foregoing acting for the Administrative Agent (or any such sub-agent) in connection with
such capacity. The obligations of the Lenders under this subsection (c) are subject to the provi-

sions of Section 2.10(d).

(d) Waiver of Consequential Damages, Etc. To the fullest extent permitted by appli-
cable law, no Loan Party shall assert, and each Loan Party hereby waives, any claim against any
Indemnitee, on any theory of liability, for special, indirect, consequential or punitive damages (as
opposed to direct or actual damages) arising out of, in connection with, or as a result of, this
Agreement, any other Loan Document or any agreement or instrument contemplated hereby, the
transactions contemplated hereby or thereby, any Loan or the use of the proceeds thereof. No
Indemnitee referred to in subsection (b) above shall be liable for any damages arising from the
use by unintended recipients of any information or other materials distributed to such unintended
recipients by such Indemnitee through telecommunications, electronic. or other information
transmission systems in connection with this Agreement or the other Loan Documents or the
transactions contemplated hereby or thereby other than for direct or actual damages resulting
from the gross negligence or willful misconduct of such Indemnitee as determined by a final and
nonappealable judgment of a court of competent jurisdiction.

(e) Payments. All amounts due under this Section 11.04 shall be payable not later
than ten Business Days after presentation of a reasonably detailed invoice therefor.

(f) Survival. .The agreements in this Section 11.04 shall survive the resignation of
the Administrative Agent, the replacement of any Lender, the termination of the Aggregate
Commitments and the repayment, satisfaction or discharge of all the other Obligations.

Section 11.05 Payments Set Aside. To the extent that any payment by or on behalf of
any Loan Party is made to the Administrative Agent or any Lender, or the Administrative Agent
or any Lender exercises its right of setoff, and such payment or the proceeds of such setoff or
any part thereof is subsequently invalidated, declared to be fraudulent or preferential, set aside or
required (including pursuant to any settlement entered into by the Administrative Agent or such
Lender in its discretion) to be repaid to a trustee, receiver or any other party, in connection with
any proceeding under any Debtor Relief Law or otherwise, then (a) to the extent of such recov-
ery, the obligation or part thereof originally intended to be satisfied shall be revived and contin-
ued in full force and effect as if such payment had not been made or such setoff had not oc-
curred, and (b) each Lender severally agrees to pay to the Administrative Agent upon demand its
applicable share (without duplication) of any amount so recovered from or repaid by the Admin-
istrative Agent, plus interest thereon from the date of such demand to the date such payment is
made at a rate per annum equal to the Federal Funds Rate from time to time in effect. The obli-
gations of the Lenders under clause (b) of the preceding sentence shall survive the payment in
full of the Obligations and the termination of this Agreement.

Section 11.06 Successors and Assigns.

(a) Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and

22505703.11-BUSINESS 102
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 110 of 121

assigns permitted hereby, except that neither the Borrower nor any other Loan Party may assign
or otherwise transfer any of its rights or obligations hereunder without the prior written consent
of the Administrative Agent and each Lender and no Lender may assign or otherwise transfer
any of its rights or obligations hereunder except (i) to an assignee in accordance with the provi-
sions of Section 11.06(b) or (ii) by way of pledge or assignment of a security interest subject to
the restrictions of Section 11.06(d) (and any other attempted assignment or transfer by any party
hereto shall be null and void). Nothing in this Agreement, expressed or implied, shall be con-
strued to confer upon any Person (other than the parties hereto, their respective successors and
assigns permitted hereby, and, to the extent expressly contemplated hereby, the Related Parties
of each of the Administrative Agent and the Lenders) any legal or equitable right, remedy or
claim under or by reason of this Agreement.

(b) Assignments by Lenders. Any Lender may at any time assign to one or more Eli-
gible Assignees all or a portion of its rights and obligations under this Agreement (including all
or a portion of its Commitment(s) and the Loans at the time owing to it); provided that any such
assignment shall be subject to the following conditions:

(i) Minimum Amounts.

(A) _ in the case of an assignment of the entire remaining amount of the
assigning Lender’s Commitment under the Facility and the Loans at the time owing to it
under the Facility or in the case of an assignment to a Lender, an Affiliate of a Lender or
an Approved Fund, no minimum amount need be assigned; and

(B) in any case not described in subsection (b)(i)(A) of this Section
11.06, the aggregate amount of the Commitment (which for this purpose includes Loans
outstanding thereunder) or, if the Commitment is not then in effect, the principal out-
standing balance of the Loans of the assigning Lender subject to each such assignment,
determined as of the date the Assignment and Assumption with respect to such assign-
ment is delivered to the Administrative Agent, shall not be less than $[1,000,000]; pro-
vided, however, that concurrent assignments to members of an Assignee Group and con-
current assignments from members of an Assignee Group to a single Eligible Assignee
(or to an Eligible Assignee and members of its Assignee Group) will be treated as a sin-
gle assignment for purposes of determining whether such minimum amount has been
met;

(ii) Proportionate Amounts. Each partial assignment shall be made as an as-
signment of a proportionate part of all the assigning Lender’s rights and obligations under
this Agreement with respect to the Loans or the Commitment assigned, except that this
clause (ii) shall not prohibit any Lender from assigning all or a portion of its rights and
obligations among separate Facilities on a non-pro rata basis;

(iii) | Required Consents. No consent shall be required for any assignment ex-
cept to the extent required by subsection (b)(i)(B) of this Section 11,06 and, in addition:

(A) _ the consent of the Borrower (such consent not to be unreasonably
withheld, conditioned or delayed) shall be required unless (1) an Event of Default has oc-

22505703. 11. BUSINESS 103
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 111 of 121

curred and is continuing at the time of such assignment or (2) such assignment is to a
Lender, an Affiliate of a Lender or an Approved Fund; provided that the Borrower shall
be deemed to have consented to any such assignment unless it shall object thereto by
written notice to the Administrative Agent within ten (10) Business Days after having re-
ceived notice thereof;

(B) the consent of the Administrative Agent (such consent not to be
unreasonably withheld, conditioned or delayed) shall be required for assignments in re-
spect of (1) any Commitment (other than Commitments assigned to an Affiliate or an
Approved Fund of such Lender) to a Person that is not a Lender with a Commitment in
respect of the Facility, an Affiliate of any such Lender or an Approved Fund with respect
to any such Lender or (2) any Loan to a Person that is not a Lender, an Affiliate of a
Lender or an Approved Fund;

(iv) Assignment and Assumption. The parties to each assignment shall exe-
cute and deliver to the Administrative Agent an Assignment and Assumption, together
with a processing and recordation fée in the amount of $[3,500]; provided, however, that
(A) such processing and recordation fee shall not be payable in connection with any as-
signment by a Lender that was a Lender on the Closing Date or an Affiliate of any such
Lender or a GSO Entity, Carl Marks Entity or Marblegate Entity and (B) the Administra-
tive Agent may, in its sole discretion, elect to waive such processing and recordation fee
in the case of any assignment. The assignee, if it is not a Lender, shall deliver to the Ad-
ministrative Agent an Administrative Questionnaire, including but not limited to all doc-
umentation and other information with respect to the assignee that is required by regula-
tory authorities under applicable “know your customer” and anti-money laundering rules
and regulations, including the USA PATRIOT Act.

(v) No Assignment to Borrower. No such assignment shall be made to any
Loan Party or Subsidiary thereof.

(vi) No Assignment to Natural Persons. No such assignment shall be made to
a natural] person.

Subject to acceptance and recording thereof by the Administrative Agent pursuant to subsec-
tion (c) of this Section 11.06, from and after the effective date specified in each Assignment and
Assumption, the assignee thereunder shall be a party to this Agreement and, to the extent of the
interest assigned by such Assignment and Assumption, have the rights and obligations of a
Lender under this Agreement, and the assigning Lender thereunder shall, to the extent of the in-
terest assigned by such Assignment and Assumption, be released from its obligations under this
Agreement (and, in the case of an Assignment and Assumption covering all of the assigning
Lender’s nghts and obligations under this Agreement, such Lender shall cease to be a party here-
to) but shall continue to be entitled to the benefits of Sections 3.01, 3.04, 3.05 and 11.04 with
respect to facts and circumstances occurring prior to the effective date of such assignment. Upon
request, the Borrower (at its expense) shall execute and deliver a Note to the assignee Lender.
Any assignment or transfer by a Lender of rights or obligations under this Agreement that does
not comply with this subsection shall be null and void.

22505703.11.BUSINESS 104
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 112 of 121

(c) Register. The Administrative Agent, acting solely for this purpose as an agent of
the Borrower, shall maintain at the Administrative Agent’s Office a copy of each Assignment
and Assumption delivered to it and a register for the recordation of the names and addresses of
the Lenders, and the Commitments of, and principal amounts (and stated interest) of the Loans
owing to, each Lender pursuant to the terms hereof from time to time (the “Register”). The en-
tries in the Register shall be conclusive, and the Borrower, the Administrative Agent and the
Lenders shall treat each Person whose name is recorded in the Register pursuant to the terms
hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding notice to the
contrary. The Register shall be available for inspection by the Borrower and any Lender (solely
to the extent of the provisions related to such Lender), at any reasonable time and from time to
time upon reasonable prior notice.

(d) Certain Pledges. Any Lender may at any time pledge or assign a security interest
in all or any portion of its rights under this Agreement (including under any Note, if any) to se-
cure obligations of such Lender, including any pledge or assignment to secure obligations to a
Federal Reserve Bank, the European Central Bank or any other central bank or similar monetary
authority in the organizational jurisdiction of such Lender; provided that no such pledge or as-
signment shall release such Lender from any of its obligations hereunder or substitute any such
pledgee or assignee for such Lender as a party hereto.

Section 11.07 Treatment of Certain Information; Confidentiality. Each of the Adminis-

trative Agent and the Lenders agrees to maintain the confidentiality of the Information (as de-
fined below), except that Information may be disclosed (a) to its Affiliates and to its and its Af-
filiates’ respective Related Parties (if such person is (i) a GSO Entity, then it may make disclo-
sures to any other GSO Entity and its Related Parties or its Approved Funds, (ii) a Carl Marks
Entity, then it may make disclosures to any other Carl Marks Entity and its Related Parties or its
Approved Funds and (iii) a Marblegate Entity, then it may make disclosures to any other Mar-
blegate Entity and its Related Parties or its Approved Funds) (it being understood that the Per-
sons to whom such disclosure is made will be informed of the confidential nature of such Infor-
mation and instructed to keep such Information confidential, and it being further understood that
the disclosing party shall be liable for any breaches of such confidentiality obligations by such
disclosing party’s current and prospective investors and funding sources to whom such disclos-
ing party discloses Information), (b) to the extent requested by any regulatory authority purport-
ing to have jurisdiction over it or any of its Affiliates (including any self-regulatory authority,
such as the National Association of Insurance Commissioners), (c) to the extent required by ap-
plicable laws or regulations or by any subpoena or similar legal process, (d) to any other party
hereto, (¢) in connection with the exercise of any remedies hereunder or under any other Loan
Document or any action or proceeding relating to this Agreement or any other Loan Document
or the enforcement of rights hereunder or thereunder, (f) subject to an agreement containing pro-
visions substantially the same as those of this Section 11.07, to (i) any assignee or any prospec-
tive assignee of any of its rights or obligations under this Agreement or (ii) any actual or pro-
spective counterparty (or its advisors) to any swap or derivative transaction relating to the Bor-
rower and its obligations, (g) with the consent of the Borrower or (h) to the extent such Infor-
mation (i) becomes publicly available other than as a result of a breach of this Section 11.07 or
(ii) becomes available to the Administrative Agent and any Lender, or any of their respective Af-
filiates on a nonconfidential basis from a source other than the Borrower.

22505703.11. BUSINESS 105
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 113 of 121

For purposes of this Section 11.07, “Information” means all information received from
any Loan Party or any Subsidiary thereof relating to any Loan Party or any Subsidiary thereof or
their respective businesses, other than any such information that is available to the Administra-
tive Agent or any Lender on a nonconfidential basis prior to disclosure by any Loan Party or any
Subsidiary thereof, provided that, in the case of information received from a Loan Party or any
such Subsidiary after the date hereof, such information is clearly identified at the time of delivery
as confidential. Any Person required to maintain the confidentiality of Information as provided
in this Section 11.07 shall be considered to have complied with its obligation to do so if such
Person has exercised the same degree of care to maintain the confidentiality of such Information
as such Person would accord to its own confidential information.

Each of the Administrative Agent and the Lenders acknowledges that (a) the Information
may include material non-public information concerning the Borrower or a Subsidiary, as the
case may be, (b) it has developed compliance procedures regarding the use of material non-
public information and (c) it will handle such material non-public information in accordance
with applicable Law, including United States Federal and state securities Laws.

Section 11.08 Right of Setoff. If an Event of Default shall have occurred and be con-
tinuing each Lender and each of their respective Affiliates and Approved Funds is hereby author-
ized at any time and from time to time, to the fullest extent permitted by applicable law, to set off
and apply any and all deposits (general or special, time or demand, provisional or final, in what-
ever currency) at any time held and other obligations (in whatever currency) at any time owing
by such Lender or any such Affiliate to or for the credit or the account of the Borrower or any
other Loan Party against any and all of the obligations of the Borrower or such Loan Party now
or hereafter existing under this Agreement or any other Loan Document to such Lender, irrespec-
tive of whether or not such Lender shall have made any demand under this Agreement or any
other Loan Document and although such obligations of the Borrower or such Loan Party may be
contingent or unmatured or are owed to a branch or office of such Lender different from the
branch or office holding such deposit or obligated on such indebtedness. The rights of each
Lender and their respective Affiliates under this Section 11.08 are in addition to other rights and
remedies (including other rights of setoff) that such Lender or their respective Affiliates may
have. Each Lender agrees to notify the Borrower and the Administrative Agent promptly after
any such setoff and application, provided that the failure to give such notice shall not affect the
validity of such setoff and application.

Section 11.09 Interest Rate Limitation. Notwithstanding anything to the contrary con-
tained in any Loan Document, the interest paid or agreed to be paid under the Loan Documents
shall not exceed the maximum rate of non-usurious interest permitted by applicable Law (the
“Maximum Rate”), If the Administrative Agent or any Lender shall receive interest in an
amount that exceeds the Maximum Rate, the excess interest shall be applied to the principal of
the Loans or, if it exceeds such unpaid principal, refunded to the Borrower. In determining
whether the interest contracted for, charged, or received by the Administrative Agent or a Lender
exceeds the Maximum Rate, such Person may, to the extent permitted by applicable Law, (a)
characterize any payment that is not principal as an expense, fee, or premium rather than interest,
(b) exclude voluntary prepayments and the effects thereof, and (c) amortize, prorate, allocate,

22505703. 11. BUSINESS 106
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 114 of 121

and spread in equal or unequal parts the total amount of interest throughout the contemplated
term of the Obligations hereunder.

Section 11.10 Counterparts: Integration; Effectiveness. This Agreement may be execut-
ed in counterparts (and by different parties hereto in different counterparts), each of which shall
constitute an original, but all of which when taken together shall constitute a single contract.
This Agreement and the other Loan Documents constitute the entire contract among the parties
relating to the subject matter hereof and supersede any and all previous agreements and under-
standings, oral or written, relating to the subject matter hereof. Except as provided in Section
4.01, this Agreement shall become effective when it shall have been executed by the Administra-
tive Agent and when the Administrative Agent shall have received counterparts hereof that,
when taken together, bear the signatures of each of the other parties hereto. Delivery of an exe-
cuted counterpart of a signature page of this Agreement by telecopy or other electronic imaging
means shall be effective as delivery of a manually executed counterpart of this Agreement.

Section 11.11 Survival of Representations and Warranties. All representations and war-
ranties made hereunder and in any other Loan Document or other document delivered pursuant
hereto or thereto or in connection herewith or therewith shall survive the execution and delivery
hereof and thereof. Such representations and warranties have been or will be relied upon by the
Administrative Agent and each Lender, regardless of any investigation made by the Administra-
tive Agent or any Lender or on their behalf and notwithstanding that the Administrative Agent or
any Lender may have had notice or knowledge of any Default at the time of any Credit Exten-
sion, and shall continue in full force and effect as long as any Loan or any other Obligation here-
under shall remain unpaid or unsatisfied.

Section 11.12 Severability. If any provision of this Agreement or the other Loan Docu-
ments is held to be illegal, invalid or unenforceable, (a) the legality, validity and enforceability of
the remaining provisions of this Agreement and the other Loan Documents shall not be affected
or impaired thereby and (b) the parties shall endeavor in good faith negotiations to replace the
illegal, invalid or unenforceable provisions with valid provisions the economic effect of which
comes as close as possible to that of the illegal, invalid or unenforceable provisions. The invalid-
ity of a provision in a particular jurisdiction shal] not invalidate or render unenforceable such
provision in any other jurisdiction.

Section 11.13 Replacement of Lenders. If any Lender requests compensation under Sec-
tion 3.04, or if the Borrower is required to pay any Indemnified Taxes or is required to pay any
additional amount with respect to Indemnified Taxes to any Lender or any Governmental Au-
thority for the account of any Lender pursuant to Section 3.01, if any Lender is a Defaulting
Lender or if any other circumstance exists hereunder that gives the Borrower the right to replace
a Lender as a party hereto, then the Borrower may, at its sole expense and effort, upon notice to
such Lender and the Administrative Agent, require such Lender to assign and delegate, without
recourse (in accordance with and subject to the restrictions contained in, and consents required
by, Section 11.06), all of its interests, rights and obligations under this Agreement and the related
Loan Documents to an assignee that shall assume such obligations (which assignee may be an-
other Lender, if a Lender accepts such assignment), provided that:

22505703.11, BUSINESS 107
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 115 of 121

(a) the Borrower shall have paid to the Administrative Agent the assignment fee
specified in Section 11,06(b);

(b) such Lender shall have received payment of an amount equal to the outstanding
principal of its Loans, accrued interest thereon, accrued fees and all other amounts payable to it
hereunder and under the other Loan Documents (including any amounts under Section 3.05)
from the assignee (to the extent of such outstanding principal and accrued interest and fees) or
the Borrower (in the case of all other amounts);

(c) in the case of any such assignment resulting from a claim for compensation under
Section 3.04 or payments required to be made pursuant to Section 3.01, such assignment will re-
sult in a reduction in such compensation or payments thereafter; and

(d) such assignment does not conflict with applicable Laws.

A Lender shall not be required to make any such assignment or delegation if, prior there-
to, as a result of a waiver by such Lender or otherwise, the circumstances entitling the Borrower
to require such assignment and delegation cease to apply.

Section 11.14 Governing Law; Jurisdiction; Etc.

(a) GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK AND
THE BANKRUPTCY CODE.

(b) SUBMISSION TO JURISDICTION, THE BORROWER AND EACH OTHER
LOAN PARTY IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND
ITS PROPERTY, TO THE NONEXCLUSIVE JURISDICTION OF THE BANKRUPTCY
COURT, OR IF THE BANKRUPTCY COURT DOES NOT HAVE OR DOES NOT EXER-
CISE JURISDICTION, THE COURTS OF THE STATE OF NEW YORK SITTING IN NEW
YORK COUNTY AND OF THE UNITED STATES DISTRICT COURT OF THE SOUTHERN
DISTRICT, AND ANY APPELLATE COURT FROM ANY THEREOF, IN ANY ACTION OR
PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTH-
ER LOAN DOCUMENT, OR FOR RECOGNITION OR ENFORCEMENT OF ANY JUDG-
MENT, AND EACH OF THE PARTIES HERETO IRREVOCABLY AND UNCONDITION-
ALLY AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PRO-
CEEDING MAY BE HEARD AND DETERMINED IN SUCH COURTS OR, TO THE FULL-
EST EXTENT PERMITTED BY APPLICABLE LAW, IN SUCH FEDERAL COURT. EACH
OF THE PARTIES HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH AC-
TION OR PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTH-
ER JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER PRO-
VIDED BY LAW. NOTHING IN THIS AGREEMENT OR IN ANY OTHER LOAN DOCU-
MENT SHALL AFFECT ANY RIGHT THAT THE ADMINISTRATIVE AGENT OR ANY
LENDER MAY OTHERWISE HAVE TO BRING ANY ACTION OR PROCEEDING RELAT-
ING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT AGAINST THE BOR-
ROWER OR ANY OTHER LOAN PARTY OR ITS PROPERTIES IN THE COURTS OF ANY
JURISDICTION.

22505703.11. BUSINESS 108
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 116 of 121

(c) WAIVER OF VENUE. THE BORROWER AND EACH OTHER LOAN PAR-
TY IRREVOCABLY AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HERE-
AFTER HAVE TO THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARIS-
ING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCU-
MENT IN ANY COURTS REFERRED TO IN PARAGRAPH (B) OF THIS SECTION 11.14.
EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULL-
EST EXTENT PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVEN-
IENT FORUM TO THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY
SUCH COURTS.

(d) SERVICE OF PROCESS. EACH PARTY HERETO IRREVOCABLY CON-
SENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 11.02. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY
PARTY HERETO TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY AP-
PLICABLE LAW

 

Section 11.15 Waiver of Jury Trial. EACH PARTY HERETO HEREBY IRREVOCA-

BLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECT-
LY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY
OTHER LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR AT-
TORNEY OF ANY OTHER PERSON HAS REPRESENTED, EXPRESSLY OR OTHER-
WISE, THAT SUCH OTHER PERSON WOULD NOT, IN THE EVENT OF LITIGATION,
SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT
AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS,
THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 11.15.

Section 11.16 No Advisory or Fiduciary Responsibility. In connection with all aspects
of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), each Loan Party acknowledges
and agrees, and acknowledges its Affiliates’ understanding, that: (1) (A) the arranging and other
services regarding this Agreement provided by the Administrative Agent are arm’s-length com-
mercial transactions between the Borrower, Holdings and their respective Affiliates, on the one
hand, and the Administrative Agent, on the other hand, (B) each Loan Party has consulted its
own legal, accounting, regulatory and tax advisors to the extent it has deemed appropriate, and
(C) each Loan Party is capable of evaluating, and understands and accepts, the terms, risks and
conditions of the transactions contemplated hereby and by the other Loan Documents; (ii) (A)
the Administrative Agent and each Lender is and has been acting solely as a principal and, ex-
cept as expressly agreed in writing by the relevant parties, has not been, is not, and will not be
acting as an advisor, agent or fiduciary for any Loan Party or any of its Affihates, or any other
Person and (B) none of the Administrative Agent or the Lenders has any obligation to the Loan
Parties or any of their respective Affiliates with respect to the transactions contemplated hereby

22505703.11. BUSINESS 109
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 117 of 121

except those obligations expressly set forth herein and in the other Loan Documents; and (iii) the
Administrative Agent and the Lenders and their respective Affiliates may be engaged in a broad
range of transactions that involve interests that differ from those of the Loan Parties and their
respective Affiliates, and none of the Administrative Agent or the Lenders has any obligation to
disclose any of such interests to the Loan Parties or any of their respective Affiliates. To the
fullest extent permitted by law, each of the Loan Parties hereby waives and releases any claims
that it may have against the Administrative Agent the Lenders with respect to any breach or al-
leged breach of agency or fiduciary duty in connection with any aspect of any transaction con-
templated hereby.

Section 11.17 Electronic Execution of Assignments and Certain Other Documents. The
words “execution,” “signed,” “signature,” and words of like import in any Assignment and As-

sumption or in any amendment or other modification hereof (including waivers and consents)
shall be deemed to include electronic signatures or the keeping of records in electronic form,
each of which shall be of the same legal effect, validity or enforceability as a manually executed
signature or the use of a paper-based recordkeeping system, as the case may be, to the extent and
as provided for in any applicable law, including the Federal Electronic Signatures in Global and
National Commerce Act, the New York State Electronic Signatures and Records Act, or any oth-
er similar state laws based on the Uniform Electronic Transactions Act.

Section 11.18 USA PATRIOT Act. Each Lender that is subject to the Act (as hereinafter
defined) and the Administrative Agent (for itself and not on behalf of any Lender) hereby noti-
fies the Borrower that pursuant to the requirements of the USA PATRIOT Act (Title II] of Pub.
L. 107-56 (signed into law October 26, 2001)) (the “Act”), it is required to obtain, verify and
record information that identifies each Loan Party, which information includes the name and ad-
dress of each Loan Party and other information that will allow such Lender or the Administrative
Agent, as applicable, to identify each Loan Party in accordance with the Act. The Borrower
shall, promptly following a request by the Administrative Agent or any Lender, provide all doc-
umentation and other information that the Administrative Agent or such Lender requests in order
to comply with its ongoing obligations under applicable “know your customer” an anti-money
laundering rules and regulations, including the Act.

 

Section 11.19 Conflicts. In the event of any conflict between the terms and conditions of
the Loan Documents and of the DIP Orders, the provisions of the DIP Orders shall govern and
control. -

Section 11.20 Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, ar-
rangement or understanding among any such parties, each party hereto acknowledges that any
liability of any EEA Financial Institution arising under any Loan Document, to the extent such
liability is unsecured, may be subject to the Write-Down and Conversion Powers and agrees and
consents to, and acknowledges and agrees to be bound by:

(a) the application of any Write-Down and Conversion Powers to any such liabilities

arising hereunder which may be payable to it by any party hereto that is an EEA Financial Insti-
tution; and

22505703.11.BUSINESS 110
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 118 of 121

(b) the effects of any Bail-In Action on any such liability, including, if applicable:
{i) a reduction in full or in part or cancellation of any such liability,

(ii) a conversion of all, or a portion of, such liability into shares or other in-
struments of ownership in such EEA Financial Institution, its parent undertaking, or a
bridge institution that may be issued to it or otherwise conferred on it, and that such
shares or other instruments of ownership will be accepted by it in lieu of any rights with
respect to any such liability under this Agreement or any other Loan Document; or .

(iii) the variation of the terms of such liability in connection with the exercise
of the Write-Down and Conversion Powers.

22505703.11. BUSINESS 111
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 119 of 121

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly exe-
cuted as of the date first above written.

LOGAN’S ROADHOUSE, INC.

By:

 

Name:
Title:

LRJ HOLDINGS, INC.

By:

 

Name:
Title:

LOGAN’S ROADHOUSE OF KANSAS, INC.

By:

 

Name:
Title:

LOGAN’S ROADHOUSE OF TEXAS, INC.

 

 

 

By:

Name:

Title:
ROADHOUSE PARENT INC.
By:

Name:

Title:
ROADHOUSE MIDCO INC,
By:

Name:

Title:

[SIGNATURE PAGE TO DEBTOR-IN-POSSESSION CREDIT AGREEMENT]
CH\1787607.23
22505703.11.BUSINESS
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 120 of 121

ROADHOUSE INTERMEDIATE INC.

 

 

By:

Name:

Title:
ROADHOUSE HOLDING INC.
By:

Name:

Title:

[SIGNATURE PAGE TO DEBTOR-IN-POSSESSION CREDIT AGREEMENT]
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22505703.1] BUSINESS
Case 16-11819-BLS Doc 60-1 Filed 08/09/16 Page 121 of 121

CORTLAND CAPITAL MARKET SERVICES
LLC,
as Administrative Agent

By:

 

Name:
Title:

[SIGNATURE PAGE TO DEBTOR-IN-POSSESSION CREDIT AGREEMENT]
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22505703.11. BUSINESS
